                                                                   1


 1                      UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
 2                       SOUTHERN DIVISION at LONDON
                                    - - -
 3
     AMANDA HOSKINS and JONATHAN   :   Docket No. 17-CV-84-REW
 4   TAYLOR,                       :
                                   :   London, Kentucky
 5                     Plaintiffs, :
                                   :   Monday, March 16, 2022
 6   Versus                        :   8:30 A.M.
                                   :
 7                                 :     EXCERPTED TRANSCRIPT OF
     JASON YORK, Individually,     :    TESTIMONY OF JASON YORK
 8                                 :             DAY 1
                       Defendant. :
 9
                                    - - -
10                    TRANSCRIPT OF TRIAL TESTIMONY OF
                              JASON YORK DAY 1
11                  BEFORE THE HONORABLE ROBERT E. WIER
                     UNITED STATES DISTRICT COURT JUDGE
12                                  - - -
     APPEARANCES:
13
     On Behalf of the Plaintiff:
14                          JON LOEVY, Attorney at Law
                            ELLIOT SLOSAR, Attorney at Law
15                          AMY ROBINSON STAPLES, Attorney at Law
                            MARGARET ELIZABETH CAMPBELL,
16                          Attorney at Law
                            Loevy & Loevy
17                          311 North Aberdeen, 3rd Floor
                            Chicago, Illinois 60607
18   On Behalf of the Defendant:
                            DERRICK T. WRIGHT, Attorney at Law
19                          LYNDOL SCOTT MILLER, Attorney at Law
                            Sturgill, Turner, Barker & Moloney PLLC
20                          333 West Vine Street, Suite 1500
                            Lexington, Kentucky 40507
21   Court Reporter:        KATHLEEN E. MALONEY, RMR, FCRR
                            Official Court Reporter
22                          310 South Main Street
                            Room 370
23                          London, Kentucky 47041
                            kathleen_maloney@kyed.uscourts.gov
24
          Proceedings recorded by mechanical stenography;
25   transcript produced by computer.
                                                                    2


 1                     INDEX
     PLAINTIFF'S WITNESSES
 2

 3   JASON YORK....................................... page 3

 4

 5
                                       - - -
 6
     PLAINTIFF'S EXHIBITS
 7
     Exhibit   Description                    Identified Admitted
 8   5 (45)    Sketch                                   39
     72A       Jesse Lawson interview                   67
 9   2         Michael Simpson interview                90
               Alibi note                               154
10             Citation                                 163
               William Lester/wireless number           183
11
                               - - -
12
     DEFENDANT'S EXHIBITS
13
     Exhibit   Description                    Identified Admitted
14   2E        Stephanie Williams' interview.           57

15

16

17

18

19

20

21

22

23

24

25
                J. YORK - Direct Examination                                        3


            1                       *     *    *    *    *

            2        [Excerpted testimony of Jason York.]

01:32:18    3                   JASON YORK, DEFENDANT, DULY SWORN

01:32:18    4             THE COURT:    Council, one issue.

            5        (Sidebar conference.)

01:32:20    6             THE COURT:     This examination will be as if on cross.

01:32:23    7   I assume you want that.

01:32:24    8             MR. LOEVY:    Oh, yeah.

01:32:25    9             THE COURT:    Any objection to that?

01:32:28   10             MR. MILLER:    None, Your Honor.

01:32:29   11             THE COURT:    Sir, good afternoon.   Do try to speak

01:32:32   12   toward that mic so we can all hear you during your testimony

01:32:33   13   here.   Begin by stating your name and spelling your last name.

01:32:36   14             THE WITNESS:    Jason York, Y-o-r-k.

01:32:40   15   BY MR. LOEVY:

01:32:41   16   Q.   What do you do for a living?

01:32:42   17   A.   I'm retired.

01:32:43   18   Q.   What was your former position?

01:32:45   19   A.   I worked for the Kentucky State Police.

01:32:47   20   Q.   How long were you there?

01:32:48   21   A.   21 years.

01:32:49   22   Q.   And how long were you a detective?

01:32:51   23   A.   Approximately five, six years.

01:32:57   24   Q.   All right.    Let's talk about the job of a detective.

01:33:01   25   Solve crimes, correct?
                J. YORK - Direct Examination                                     4


01:33:02    1   A.   Yes, sir.

01:33:02    2   Q.   And that includes murder?

01:33:04    3   A.   Yes, sir.

01:33:05    4   Q.   What years did you investigate murders?

01:33:10    5   A.   I started being a detective approximately late 2008, 2009

01:33:17    6   until when I promoted in 2015.

01:33:20    7   Q.   All right.   So 2008, 2009, did you jump right into

01:33:23    8   murders or start with smaller crimes?

01:33:25    9   A.   It was smaller -- first couple years or -- no.    Well,

01:33:31   10   this particular case we are here on was actually my first one,

01:33:34   11   but before that, I had worked on a couple cold-case murders

01:33:38   12   and other complaints, you know, like sex abuse and various

01:33:43   13   complaints like that.

01:33:44   14   Q.   All right.   This was your first murder case?

01:33:46   15   A.   Yes.

01:33:48   16   Q.   All right.   Let's talk about what it means to solve a

01:33:52   17   case.   You are supposed to get to the truth, right?

01:33:54   18   A.   Yes.

01:33:54   19   Q.   Catch the person who committed the crime, right?

01:33:57   20   A.   Yes.

01:33:58   21   Q.   Not just prove a case against your suspects.    You would

01:34:01   22   agree with that, right?

01:34:03   23   A.   Yes.

01:34:03   24   Q.   Let's, for a minute, tell the jury about police reports.

01:34:08   25   Is that an important tool in a police investigation?
                J. YORK - Direct Examination                                         5


01:34:11    1   A.   Yes.

01:34:12    2   Q.   Tell the jury why and how you create police reports.

01:34:15    3   A.   We create police reports to document what we found out.

01:34:21    4        And what was the second part?        I'm sorry.

01:34:23    5   Q.   That's all right.

01:34:24    6               MR. LOEVY:   I'll ask another question, if that's okay

01:34:27    7   with you.

01:34:28    8   A.   Okay.    I don't care if I answer it.

01:34:30    9               MR. LOEVY:   I'm asking the judge.

01:34:31   10               THE COURT:   The question was why and how you create

01:34:35   11   police reports.

01:34:37   12               THE WITNESS:   Okay.   How.   So when I first started

01:34:38   13   the state police, everything was handwritten.          Then, you know,

01:34:41   14   over the next decade, we went to documenting stuff on

01:34:47   15   computer.    And I think, around this time, we had a computer

01:34:51   16   software where we would go in, when we had time, at a computer

01:34:55   17   and type it out, and then we would transmit it.

01:35:00   18   BY MR. LOEVY:

01:35:01   19   Q.   Would you take notes?

01:35:01   20   A.   At times.

01:35:04   21   Q.   Okay.    That's an important part of a police detective's

01:35:07   22   arsenal; would you agree?

01:35:09   23   A.   Yes.

01:35:09   24   Q.   In a murder case, you don't know if it's going to be over

01:35:12   25   in a day, a week, a year, or a decade, right?
                J. YORK - Direct Examination                                     6


01:35:16    1   A.   That's correct.

01:35:16    2   Q.   And you don't know, at the beginning, what information is

01:35:19    3   going to be important until things play out, right?

01:35:22    4   A.   That is correct.

01:35:23    5   Q.   So you -- as a detective, you try to memorialize all the

01:35:27    6   information and then sort out later what turns out important.

01:35:30    7        Would you agree with that characterization?

01:35:32    8   A.   Could you define that moralize?   I'm not sure how you're

01:35:35    9   referring to that.

01:35:35   10   Q.   What I mean by "memorialize" is write down.   You are

01:35:39   11   supposed to gather information and put it on paper, right?

01:35:42   12   A.   Yes.

01:35:42   13   Q.   And that's important for multiple reasons, correct?

01:35:46   14   A.   Yes.

01:35:46   15   Q.   For example, if someone is later accused of a crime they

01:35:50   16   have a right to all the information in the investigation,

           17   right?

01:35:54   18   A.   That is correct.

01:35:54   19   Q.   They have a constitutional right not just to the

01:35:58   20   information that points at them, but they also have a right to

01:36:01   21   information that might prove their innocence, right?

01:36:03   22   A.   That is correct.

01:36:04   23   Q.   So as you are gathering information, you understand

01:36:08   24   you're obligated not just to record on paper the stuff that

01:36:12   25   points at your suspects, but you are also supposed to record,
                J. YORK - Direct Examination                                    7


01:36:14    1   on paper, the stuff that might help show their innocence,

            2   right?

01:36:18    3   A.   That is correct.

01:36:19    4   Q.   And then not only are you supposed to write it on paper,

01:36:21    5   but then you understand that those reports get turned over to

01:36:24    6   the criminal justice system, right?

01:36:27    7   A.   Yes.

01:36:27    8   Q.   And then the prosecutor decides what to do with all that

01:36:31    9   information, right?

01:36:32   10   A.   Yes.

01:36:32   11   Q.   Would it be fair to say that the Commonwealth attorney

01:36:35   12   trusts you, the homicide detective, to make sure that all the

01:36:39   13   information is memorialized and all of it is transmitted to

01:36:42   14   the criminal justice system?

01:36:50   15   A.   Can you repeat the question?

01:36:51   16   Q.   Sure.   You're the detective.   You know, you're the guy on

01:36:54   17   the front lines talking to the witnesses, right?

01:36:54   18   A.   Yes.

01:36:54   19   Q.   You are gathering the evidence, right?

01:36:56   20   A.   Yes.

01:36:56   21   Q.   And then it becomes your solemn responsibility to

01:36:59   22   transmit all of the evidence, in paper form, summarized to the

01:37:05   23   Commonwealth, right?

01:37:06   24   A.   Can I explain that because I -- I feel like this is a

01:37:10   25   leading question?
                J. YORK - Direct Examination                                        8


01:37:10    1              THE COURT:   Well, he's entitled to lead you --

01:37:12    2              THE WITNESS:   Okay.

01:37:12    3              THE COURT:   -- on cross -- on this type of

01:37:14    4   examination.

01:37:16    5        So answer the question first, and then you can explain.

01:37:18    6              THE WITNESS:   Okay.   Yes.   My follow-up to that is,

01:37:22    7   like, my reports are transmitted -- they are transmitted to

01:37:29    8   post and are kept there, and then -- I'm sorry -- the

01:37:35    9   attorneys would get those files from post, not necessarily me.

01:37:39   10   I just wanted to clarify that.

01:37:40   11   BY MR. LOEVY:

01:37:41   12   Q.   All right.   I think what you are clarifying is you are

01:37:42   13   saying you are not part of the investigative step of moving

01:37:45   14   the reports to the Commonwealth.     Is that what you mean?   Like

01:37:49   15   the administrative staff, I should say.      Is that what you are

01:37:51   16   saying?

01:37:51   17   A.   Not all the time.    I'm not saying there's not been

01:37:54   18   times where I -- there's obviously been times where I have

01:37:56   19   given stuff to the Commonwealth attorneys, but that's not my

01:38:00   20   sole responsibility of the complete case file.      I would not

01:38:03   21   have done that.   I would not have done that.     I just want to

01:38:07   22   clarify.

01:38:07   23   Q.   And just to be clear -- I don't want to get on a tangent

01:38:08   24   here, but doesn't the lead detective take responsibility for

01:38:11   25   gathering the documents?
                J. YORK - Direct Examination                                      9


01:38:12    1   A.   Yes, and transmitting them to post.

01:38:17    2   Q.   Okay.   Let's talk about the Mills investigation.   You

01:38:19    3   were the lead investigator on the Mills homicide, right?

01:38:24    4   A.   For part of the time.

01:38:25    5   Q.   And certainly when it started, for example, right?

01:38:27    6   A.   Yes.

01:38:28    7   Q.   For, what, a couple years?

01:38:29    8   A.   From 2010 until I promoted to sergeant, and I believe

01:38:34    9   that was like November of 2015.

01:38:37   10   Q.   Okay.   So let's talk about the very beginning, what you

01:38:42   11   knew about the crime.    Tell the jury who the victim was and

01:38:45   12   how old she was.

01:38:45   13   A.   The victim's name was Katherine Mills.    Obviously, that's

01:38:51   14   been two decades ago.    I'm sorry.   I don't remember her age.

01:38:53   15   Q.   Approximately?

01:38:54   16   A.   70s, late 60s.

01:38:59   17   Q.   All right.    And in fairness, it has been a long time.

01:39:01   18   You reviewed the file to prepare for your testimony, right?

01:39:03   19   A.   I have looked over it, yes.

01:39:05   20   Q.   All right.    Have you looked over it sort of carefully

01:39:07   21   before you testified today?

01:39:08   22   A.   No.    Not today, I haven't looked over it, no.

01:39:11   23   Q.   Okay.    But before you testified today --

01:39:13   24   A.   I have reviewed it.

01:39:13   25   Q.   In preparing for the trial --
                J. YORK - Direct Examination                                      10


01:39:15    1               THE COURT:   Just one at a time.

01:39:16    2   BY MR. LOEVY:

01:39:17    3   Q.   In the preparing for the trial, you carefully reviewed

01:39:19    4   the paper record?

01:39:19    5   A.   I have reviewed it, yes.

01:39:22    6   Q.   All right.    Do you remember where she lived, what address

01:39:24    7   it was?

01:39:24    8   A.   I don't remember the address.     She lived up the road

01:39:30    9   fork.   The community of Stinking Creek.

01:39:31   10   Q.   Did she live with anybody?

01:39:32   11   A.   She lived by herself.

01:39:34   12   Q.   And what time and day was the body discovered?

01:39:35   13   A.   It was December 20th, 2010.     Approximately in the later

01:39:43   14   afternoon or early evening.     A UPS man -- I don't know the

01:39:51   15   exact time -- but found her in late afternoon.

01:39:56   16   Q.   And she had some pretty gruesome-looking injuries, right?

01:40:02   17   A.   Just so we are clear, you want me to explain the entire

01:40:06   18   crime scene?    I was just trying to answer your question,

01:40:09   19   specifically.

01:40:10   20   Q.   Yeah, I'm going question by question.     We'll get there.

           21   A.   Okay.

01:40:12   22   Q.   Yeah, so she had some pretty gruesome injuries, right?

01:40:15   23   A.   Yes.

01:40:15   24   Q.   She looked like she had been pretty violently attacked?

01:40:18   25   A.   I'm not going to describe it as violently, but she had
                J. YORK - Direct Examination                                      11


01:40:27    1   severe injuries to her head.

01:40:30    2   Q.   And a lot of blood?

01:40:32    3   A.   Yes.   There was a lot of blood on the ground.    It looked

01:40:34    4   like -- well --

01:40:36    5   Q.   And on her body, right?   Instead of showing the crime

01:40:41    6   scene photos, would you agree with me they show a very bloody

01:40:45    7   woman?

01:40:45    8   A.   Yes, yes.

01:40:46    9   Q.   All right.   Where did the blows strike her?

01:40:48   10   A.   She had two injuries to her head.   I didn't find out

01:40:56   11   later, until after the autopsy, she also had some broken ribs

01:41:01   12   and I believe contusions to the hand.

01:41:05   13   Q.   All right.   When had she last been seen alive?

01:41:15   14   A.   I don't remember the last person or the date that she was

01:41:17   15   seen alive as far as like the day before 20 -- December the

01:41:25   16   20th.    I knew that she had been talking on the phone on the

01:41:32   17   19th.

01:41:32   18   Q.   So she was alive on the 19th, but nobody has admitting to

01:41:36   19   having seen her alive on the 20th, right?

01:41:38   20   A.   That is correct.

01:41:40   21   Q.   All right.   What -- were you able to make a time of

01:41:41   22   death?

01:41:42   23   A.   Oh, throughout the investigation.   So when we first got

01:41:47   24   there --

01:41:48   25   Q.   And let me focus on when you first got there.     I didn't
                J. YORK - Direct Examination                                        12


01:41:51    1   mean to interrupt you, but I'm asking, when you first got

01:41:53    2   there, before you knew anything else, were you able to

01:41:55    3   determine the time of death?

01:41:56    4        We'll talk about the investigation all afternoon, sir,

01:41:58    5   but were you able to determine at the beginning?

01:42:00    6   A.   I'm confused.

            7   Q.   Okay.

01:42:02    8   A.   You have asked me what I feel like -- the way I was able

01:42:07    9   to determine the time of death or when it happened.       I'm

01:42:10   10   trying to articulate that.

01:42:13   11   Q.   All right.    May I ask a tighter question?

01:42:14   12               THE COURT:   Let me reset it.

           13               MR. LOEVY:   Okay.

01:42:16   14               THE COURT:   You asked were you able to determine time

01:42:18   15   of death?

01:42:19   16               MR. LOEVY:   Yeah.

01:42:20   17               THE COURT:   I want him to answer that.

01:42:23   18               THE WITNESS:   Okay.   First.   I'll say not exactly,

01:42:27   19   but through the initial course of the investigation, we were

01:42:30   20   able to determine, for example, when we went into the

01:42:34   21   residence and, for example, she had dishes in the sink and she

01:42:40   22   also had -- her oven was on and there was food on.       Here's

01:42:47   23   something that is very important, too.       We soon found out that

01:42:51   24   she had no indoor plumbing, and so there was an outbuilding

01:42:58   25   out behind her house where there was a -- where she went to
                J. YORK - Direct Examination                                       13


01:43:01    1   the bathroom, but through the night, she would have a -- like

01:43:06    2   a pan or, you know, a bucket that she would use the bathroom.

01:43:11    3   You know, if you understand what I'm talking about.

01:43:13    4        So through the course of the investigation, you are given

01:43:17    5   the fact that -- what I described, and her son said the first

01:43:21    6   thing she always done, when she got up, was empty the pan.         I

01:43:27    7   mean, the container where she used the bathroom in.       It was

01:43:32    8   empty.

01:43:32    9        He also said that she would never leave dirty dishes in

01:43:40   10   the sink.    And so that was there.   Her breakfast food was

01:43:46   11   there.   On top of that --

01:43:50   12               THE COURT:   Mr. York, if you determined the time of

01:43:52   13   death, that's what the question is.     Did you?

01:43:55   14               THE WITNESS:   We determined it was in the morning.

01:43:57   15               THE COURT:   Okay.

01:43:58   16   BY MR. LOEVY:

01:43:58   17   Q.   And that was -- at the time, was a hypothesis, right?

01:44:04   18   A.   That is correct.

01:44:04   19   Q.   All right.    Now, do you know what time you were notified

01:44:07   20   of the homicide?

01:44:08   21   A.   It was in the later evening on the 20th.

01:44:11   22   Q.   All right.    If we could show you page 300 of the

01:44:14   23   investigative file.

01:44:16   24               MR. LOEVY:   All the investigative file is in

01:44:18   25   evidence, Your Honor, so may I publish this page?
                J. YORK - Direct Examination                                         14


01:44:21    1             THE COURT:    Is that stipulated that all of Exhibit 1

01:44:23    2   is in?

01:44:25    3             MR. MILLER:    Yes, Your Honor.

01:44:25    4             THE COURT:    Okay.    So it's --

01:44:28    5             MR. MILLER:    Just the reference.    If he can refer to

01:44:30    6   the Bates numbers.

01:44:32    7             MR. LOEVY:    The Bates here is KSP 1000.     It's page

01:44:37    8   300 of Exhibit 1.

            9             THE COURT:    The state will put it up for you.

01:44:41   10             MR. LOEVY:    Put it on this one, I guess.

01:44:43   11             THE COURT:    And let me just make sure we are on the

01:44:44   12   same page on this.     Let's talk for just a second.

           13       (Sidebar conference.)

01:44:54   14             THE COURT:    Okay.    So I just want to be clear.    So

01:45:02   15   Exhibit 1 has been referred to all the way through by specific

01:45:05   16   pages.   Everyone is stipulating that should be considered in

01:45:10   17   evidence in its entirety.       That's your position?

01:45:12   18             MR. LOEVY:    Yes, sir.

01:45:13   19             THE COURT:    Do you agree?

01:45:13   20             MR. MILLER:    Yes, Your Honor.

01:45:14   21             THE COURT:    Okay.    And is this highlight in the

01:45:19   22   original, or is that a lawyer highlight?       I just want to be

01:45:22   23   clear with the jury.

01:45:23   24             MR. LOEVY:    That is a lawyer highlight, Your Honor.

01:45:28   25   It's a lawyer highlight.
                J. YORK - Direct Examination                                         15


01:45:29    1       When I prepared the exam, I put the lawyer highlights on

01:45:32    2   it before trial started.

01:45:35    3       Can I clarify for the jury that that was not on the

01:45:37    4   original?

01:45:38    5               THE COURT:    Yes.    Every time I'm going to want to

01:45:41    6   clarify that.

01:45:42    7               MR. LOEVY:    Got it.    Thank you.

01:45:43    8               THE COURT:    But the one in the record does not have a

01:45:45    9   highlight, correct?

           10               MR. LOEVY:    Correct.

           11               THE COURT:    Okay.   Did you get that?

           12               MR. LOEVY:    Yes.

01:45:46   13               MR. MILLER:   Yes.    The only caveat is they have got

01:45:48   14   one file and we've got another, so I can't track along with

01:45:51   15   him on which ones he's referring to.        We need to find a

01:45:56   16   consistent manner throughout on how we are going to refer to

01:46:00   17   them.

01:46:00   18               THE COURT:    Let's try -- well, if we are using

01:46:03   19   Exhibit 1, then it will be Exhibit 1 page numbers.

01:46:05   20               MR. LOEVY:    Yeah.

01:46:06   21               THE COURT:    Do you have that as well?

01:46:08   22               MR. MILLER:   Well, there's a page number, there's a

01:46:10   23   Bates number from KSP, and then there's plaintiffs' Bates

01:46:13   24   number.   So I think we just need to be consistent with what we

01:46:15   25   are going to --
                J. YORK - Direct Examination                                      16


01:46:15    1            THE COURT:    What should it be?

01:46:16    2            MR. LOEVY:    I would like to use the plaintiffs' page

01:46:18    3   number because that's not --

01:46:19    4            THE COURT:    Okay.   Plaintiffs' page number.

01:46:21    5            MR. MILLER:   I don't have plaintiffs' --

01:46:22    6            THE COURT:    You didn't get the plaintiffs' exhibits?

01:46:24    7            MR. MILLER:   I don't have it here with me, like

01:46:27    8   sitting here.

01:46:27    9            THE COURT:    Okay.   Let's use Bates.   Bates should be

01:46:29   10   universal.   Let's use Bates numbers.   Okay.

01:46:32   11        (Sidebar conference concluded.)

01:46:43   12   BY MR. LOEVY:

01:46:43   13   Q.   Can you identify what is on the screen, sir?

01:46:43   14   A.   It's a supplement.

01:46:45   15   Q.   All right.

01:46:45   16            MR. LOEVY:    We move -- oh, it's -- we can move this?

01:46:47   17            THE COURT:    Are you guys seeing it?    Okay.   It can be

01:46:50   18   displayed.

01:46:56   19            The highlight on there is a lawyer highlight that's

01:46:59   20   not in the document.   So just be advised of that.    Go ahead,

01:47:02   21   Mr. Loevy.

01:47:03   22   BY MR. LOEVY:

01:47:03   23   Q.   All right.   This is an example of a police report you

01:47:07   24   created, correct?

01:47:07   25   A.   Yes, sir.
                J. YORK - Direct Examination                                          17


01:47:08    1   Q.     And it's full of text that you typed, right?

01:47:11    2   A.     Yes.

01:47:11    3   Q.     And did you transmit the information from your notes into

01:47:14    4   the report?

01:47:15    5   A.     Not all that's contained.    I would say probably some,

01:47:20    6   yes.

01:47:20    7   Q.     Sure.   And then you're a detailed report writer.      Would

01:47:25    8   you agree with me?

01:47:26    9   A.     Excuse me?

01:47:27   10   Q.     You're a detailed report writer.    Would you agree with

01:47:29   11   me?

01:47:30   12   A.     I'm not going to agree with that.    I mean, I try to be.

01:47:33   13   Q.     All right.   And that's how you know -- if you have to

01:47:34   14   testify, say 12 years later, you'll know exactly what time you

01:47:37   15   got dispatched, right?

01:47:41   16   A.     Yes.    This is what this typical supplement is for.

01:47:45   17   Q.     And you'll know who dispatched you, and you won't have to

01:47:48   18   rely on your memory, right?

01:47:50   19   A.     That is correct.

01:47:50   20   Q.     In fact, as a police officer, you are aware that it's not

01:47:53   21   uncommon that you get called to testify about events that

01:47:57   22   happened a long time ago, right?

01:48:00   23   A.     That is true.

01:48:00   24   Q.     So that's why it's very important to make a careful,

01:48:05   25   documented record, right?
                J. YORK - Direct Examination                                    18


01:48:06    1   A.   Yes.

01:48:07    2   Q.   And this report continues on to the second page with more

01:48:10    3   information, correct?

01:48:12    4   A.   Yes.

01:48:12    5   Q.   And, in fact, it's got a third page, too, doesn't it?

01:48:17    6   A.   I did not see no third page.

01:48:24    7   Q.   All right.   You were not the first law enforcement

01:48:26    8   officer who responded to the scene of the Mills murder,

            9   correct?

01:48:30   10   A.   That is correct.

01:48:31   11   Q.   And you know, from the records you kept, who got there

01:48:33   12   before you?

01:48:35   13   A.   Yes.

01:48:36   14   Q.   Who was that?

01:48:37   15   A.   There was a Trooper Shane Jacobs and I believe Trooper

01:48:47   16   Jason Bunch was already there.   I think Sergeant Jeremy Lee

01:48:51   17   was already there.   There was various Knox County coroners --

01:48:55   18   I don't know if you consider that law enforcement -- there as

01:48:59   19   well.

01:48:59   20   Q.   Now, you are not going from memory.   You reviewed the

01:49:02   21   reports, and that's what refreshed you?

01:49:05   22   A.   I don't have the report in front of me.   I'm going from

01:49:08   23   my memory.

01:49:08   24   Q.   Are you going from your memory of that day or your memory

01:49:10   25   from having reviewed reports to prepare your testimony?
                J. YORK - Direct Examination                                       19


01:49:12    1   A.   To be fair, I would say a combination of both.

01:49:17    2   Q.   All right.     What were your interactions with these other

01:49:20    3   law enforcement about the Lawsons and the crime lab?         What did

01:49:22    4   you learn?

01:49:23    5   A.   Could you say that again?

01:49:24    6   Q.   Did you learn anything about the interaction with the

01:49:26    7   Lawson family, Jesse and Jennifer?

01:49:28    8   A.   Yes.    Yes.   Yes.   Sorry.

01:49:33    9        So Jennifer and Jesse was there at the scene prior to my

01:49:38   10   arrival.    One of the troopers made initial contact with them.

01:49:44   11   And I don't know how far --

01:49:48   12   Q.   Well, you heard Jesse testify in court, right?

01:49:51   13   A.   Yes.

01:49:53   14   Q.   All right.     He described how he had come up and

01:49:55   15   discovered the victim's body.       Is that generally what you

01:49:58   16   learned about what Jesse was describing up to the point when

01:50:01   17   he found the body?

01:50:03   18   A.   I was understanding that the UPS man was always the one

01:50:09   19   that found her first, not Jesse, if that's what your

01:50:12   20   insinuating.

01:50:13   21   Q.   All right.     I didn't mean to imply that.   I think the UPS

01:50:16   22   guy found her first.       I think Jesse agreed with that.   But

01:50:19   23   other than that, you heard Jesse.       You have reason to dispute

01:50:23   24   that's what happened, right?

01:50:24   25   A.   I don't dispute the fact that him and Jennifer was there
                J. YORK - Direct Examination                                    20


01:50:27    1   shortly after the UPS man.

01:50:31    2   Q.   Sounds like as a homicide detective, you are going to be

01:50:33    3   very careful about not assuming anything.    Is that the way you

01:50:36    4   approach these things?

01:50:37    5   A.   I try to.

01:50:38    6   Q.   All right.   You understood that the crime was financial,

01:50:40    7   the motive was financial, was your understanding?

01:50:42    8   A.   Not initially, we didn't, but if you want me to

01:50:51    9   elaborate, I'll explain how we came to that conclusion.

01:50:54   10   Q.   Please do.

01:50:54   11   A.   All right.   So, like I said, when I first arrived at the

01:50:58   12   scene, number one, there was people everywhere.    I'll go ahead

01:51:03   13   and tell you right now the scene was contaminated.     There was

01:51:06   14   people all --

01:51:06   15             MR. LOEVY:   We are talking about financially, Your

01:51:08   16   Honor.   The question was about financial.

01:51:10   17             THE COURT:   Well, he's trying to describe how he came

01:51:13   18   to that conclusion; so go ahead and --

01:51:15   19             THE WITNESS:   And I apologize.

01:51:17   20        Just repeat that question again because I'm not trying to

01:51:19   21   take up extra time or anything.

01:51:21   22   BY MR. LOEVY:

01:51:21   23   Q.   Sure.   So here's the question.

01:51:22   24   A.   Okay.

01:51:23   25   Q.   In your investigation you determined, I believe that
                J. YORK - Direct Examination                                    21


01:51:25    1   someone robbed her and that's why the murder happened, right?

01:51:28    2   A.   Yes.    Okay.   So --

01:51:29    3   Q.   So what were the clues for that?

01:51:31    4   A.   Okay.   So one of the -- when we got there, obviously,

01:51:38    5   Ms. Mills is laying in the backyard or in the rear of the

01:51:45    6   residence.    And she appears to have gray sweats on and her --

01:51:53    7   you know, grandma, she's laying there.

01:51:54    8        So -- and I hate to leave out any detail.

01:51:57    9   Q.   We are just talking about the money part.

01:51:58   10   A.   I'm going to try to get straight to the money.   So one of

01:52:03   11   the things that I initially observed when I walked in the

01:52:08   12   house was on the floor there was a purse and there was some

01:52:12   13   money there.    Obviously, that's strange.

01:52:16   14        And you know one of the first things that you would, you

01:52:19   15   know, consider on that, when you first walk, in her purse is

01:52:23   16   on the floor, and there's money there.   All right?   So I'm

01:52:26   17   trying to take, you know, what I observed and how I came to

01:52:29   18   what he's asking.

01:52:32   19        Here's an important part.   The house was an older house,

01:52:36   20   and it had a bunch of trinkets inside.   So I don't know what's

01:52:41   21   going on.    I can tell you I seen a purse and money there.    But

01:52:44   22   I noticed, when I walked through the house, if I would step,

01:52:50   23   stuff would rattle, which led me to believe, if there was, you

01:52:54   24   know, something -- some type of assault or anything like that

01:52:57   25   happened, it didn't happen there because there would be signs
                J. YORK - Direct Examination                                    22


01:53:01    1   of it, of stuff falling off.

01:53:04    2       As I walked into the next bedroom, if my memory serves me

01:53:11    3   correct, there was even a gun.   Here's what I did see -- I

01:53:13    4   didn't see no, like, you know, on a typical burglary, there

01:53:16    5   was no draws pulled out, there was nothing ransacked or

01:53:19    6   anything like that.   And then we have that money.

01:53:24    7       Well, as the investigation continues, given all that,

01:53:32    8   that we didn't -- you know, we didn't know what happened at

01:53:35    9   first, I talked to the family, and I come to find out that

01:53:39   10   over the past few months that Ms. Mills had sold some timber,

01:53:45   11   you know, sell timber.   She wanted, you know, number one, to

01:53:48   12   put like a bathroom in her house, but I found out that she,

01:53:53   13   you know, probably made somewhere over $20,000 in cash.   She

01:53:59   14   was -- y'all understand this if you got older people.   They

01:54:02   15   didn't trust banks, and she was on a fixed income.   So she

01:54:07   16   didn't put all the money that she got from selling timber into

01:54:12   17   her bank account.   Okay?

01:54:16   18       And I think that amount was -- after talking to her

01:54:20   19   daughter, Diane, we figured out somewhere in the neighborhood

01:54:24   20   of over $12,000 that she had kept at her house and she kept in

01:54:30   21   her purse.

01:54:32   22       And so at that point we started to feel -- because, like

01:54:36   23   I said, her purse was hanging in the kitchen area, and the

01:54:40   24   only thing that was disturbed in that entire house or -- was,

01:54:46   25   you know, her purse laying on the floor and that part -- the
                J. YORK - Direct Examination                                      23


01:54:52    1   overwhelming majority of the money that she had.

01:54:55    2        And I will say this:     Another thing we found out is like

01:54:58    3   for, I believe, Jennifer, which is Jesse's wife, had

01:55:03    4   determined or even the week prior to that took her to the

01:55:07    5   store and confirmed to us that the money was still there.

01:55:14    6        Another important thing is that the -- they had been done

01:55:21    7   logging at her place going on over three weeks, going on to a

01:55:27    8   month, and I thought that was important as well.      I hope that

01:55:31    9   answers your question.

01:55:32   10   Q.   Well, let's try it again with leading.      You had reason to

01:55:35   11   believe she had recently sold some timber, right?

01:55:38   12   A.   Yes, through the family.

01:55:40   13   Q.   All right.    These are more yes-no questions.    Okay?

01:55:42   14               THE COURT:   Well, he can answer.   Let him answer.

01:55:44   15               MR. LOEVY:   All right.

01:55:44   16   BY MR. LOEVY:

01:55:45   17   Q.   You did learn that she had sold some timber, correct?

01:55:47   18   A.   Yes, we learned through the family.

01:55:48   19   Q.   All right.    And then you learned she had cleared more

01:55:50   20   than $20,000, right?

01:55:53   21   A.   Yes.

01:55:53   22   Q.   And you learned that she only put less than half of that

01:55:57   23   in the bank?

01:55:58   24   A.   I'm not -- say that again, please.

01:56:05   25   Q.   She was supposed to have about 12,000 on her, but when
                J. YORK - Direct Examination                                      24


01:56:08    1   you found the purse, the purse was empty, and there was a few

01:56:11    2   bills, but most of the money was gone, right?

01:56:14    3   A.   Yeah, but before I agree with you, you said something

01:56:17    4   about half in the bank or something like that.

01:56:18    5   Q.   Let's not get into fractions.    There was a lot of money

01:56:20    6   missing that was supposed to be in her purse, right?

01:56:23    7   A.   That is true.

01:56:24    8   Q.   All right.   So you decided that, you know what, I bet

01:56:26    9   this motive here was financial?

01:56:28   10   A.   That -- that is correct.

01:56:29   11   Q.   Now, there was also a clue at the scene in the form of

01:56:36   12   these bills that were on the ground, right?

01:56:40   13   A.   A clue?    I mean, that's part of the scene and part of the

01:56:45   14   evidence.   I mean, obviously -- excuse me?

01:56:48   15   BY MR. LOEVY:

01:56:49   16   Q.   No, I'm sorry.   You can continue.

01:56:52   17   A.   You know, we think it's motivated by the money,

01:56:58   18   obviously, because she's missing money, but yet there's a

01:57:02   19   purse and money there.

01:57:03   20   Q.   All right.   Let's take a look at what you found at the

01:57:07   21   scene.   1C.   This is 1C.   It's one of the photographs of the

01:57:11   22   crime scene.    Can you see that on your screen, sir?   Can

01:57:18   23   you --

01:57:18   24   A.   Yes.

01:57:19   25   Q.   All right.   Can you identify that that's what you saw on
                J. YORK - Direct Examination                                        25


01:57:22    1   the floor of the crime scene?

01:57:25    2   A.   It appears to be.

01:57:26    3   Q.   All right.

01:57:27    4            MR. LOEVY:     Permission to publish.

01:57:29    5            THE COURT:     You may.    This is all part of 1, right?

            6            MR. LOEVY:     Yes.

01:57:33    7            THE COURT:     Anything in 1 you can publish because

01:57:35    8   it's already in evidence.

01:57:37    9   BY MR. LOEVY:

01:57:37   10   Q.   All right.   This shows, does it not, the victim's empty

01:57:41   11   purse and some $100 bills lying next to it, right?

01:57:48   12   A.   I'm going to agree.       I just know what I can see --

           13   Q.   All right.   Let's --

01:57:52   14   A.   -- but I'm going to agree.

01:57:53   15   Q.   Let's do a close-up.       1D, which is the next picture,

01:57:58   16   which has got a little closer, it looks like some hundred

01:58:03   17   dollars bills by the purse, right?

01:58:05   18   A.   I'm old, but I'm just going to say I'm assuming this is

01:58:07   19   an accurate representation of it, yes.

01:58:10   20   Q.   All right.   If these photos came from the crime scene

01:58:13   21   investigative file, you guys documented it with pictures,

           22   right?

01:58:17   23   A.   That is correct.    We did take pictures at the scene.

01:58:20   24   Q.   And you believed, in your memory, that it looked like the

01:58:22   25   money had been arranged on the floor, right?
                J. YORK - Direct Examination                                      26


01:58:27    1   A.   I felt like it was left there.

01:58:30    2   Q.   All right.   And your theory was always that the killer

01:58:34    3   touched those bills and left them there, right?

01:58:37    4   A.   My theory?   No.    That was a possibility because -- and

01:58:42    5   can I explain myself on that?

01:58:45    6             MR. LOEVY:    May I ask a yes-no question, Your Honor?

01:58:47    7             THE COURT:    Answer yes or no, and then I'll let you

01:58:50    8   explain it within reason.

01:58:51    9             THE WITNESS:    Ask your question again, please.

01:58:53   10   BY MR. LOEVY:

01:58:54   11   Q.   All right.   It was your -- it looked to you like those --

01:58:57   12   those bills were touched by the killer, correct?

01:59:00   13   A.   I feel like you're putting words in my mouth.

01:59:03   14        Yes, potentially it could be.

01:59:03   15   Q.   Well, it's a question.

01:59:04   16   A.   Potentially it could be touched by the killer.

01:59:06   17   Q.   I mean, it's either potentially touched by the killer or

01:59:09   18   they were potentially not touched by the killer, but wasn't it

01:59:12   19   true that it was your theory that they were touched by the

01:59:15   20   killer?

01:59:15   21   A.   They could have been.

01:59:16   22   Q.   All right.   Do you remember giving a deposition in this

01:59:19   23   matter, sir?

01:59:20   24   A.   Um-hum.

01:59:20   25   Q.   And this is on February 13, 2018.    Do you remember giving
                J. YORK - Direct Examination                                         27


01:59:24    1   that deposition?

01:59:25    2   A.     In 2013?

01:59:30    3   Q.     '18, sir.

01:59:32    4   A.     Yes.

01:59:32    5   Q.     All right.    Can we please display page 139, line 19,

01:59:37    6   through 140, line 4.

01:59:48    7          (Video clip played in open court.)

02:00:02    8   BY MR. LOEVY:

02:00:03    9   Q.     All right.    That was your testimony under oath, right,

           10   sir?

02:00:05   11   A.     Yes.    Can I explain?

02:00:07   12   Q.     Well, first question was:      That was your testimony under

02:00:11   13   oath, right?

02:00:11   14   A.     Absolutely, absolutely.

02:00:13   15   Q.     All right.    Isn't it true that when you testified under

02:00:14   16   oath that you believed the killers put the bills on the floor.

02:00:18   17   You didn't know that we knew that there was a fingerprint

02:00:21   18   match on the bills?

02:00:22   19   A.     Let me explain myself.      Right now I thought we were still

02:00:30   20   talking about the initial investigation at the time of this

02:00:34   21   photograph.       You're talking about something that happened --

02:00:36   22                 THE COURT:   Okay.   Just hang on.   Ask a question.

02:00:39   23   BY MR. LOEVY:

02:00:40   24   Q.     All right.    In the course of your investigation, you

02:00:42   25   developed a theory that the killer took $12,000 and placed
                J. YORK - Direct Examination                                   28


02:00:48    1   five $100 on the bill -- on the ground to try to throw off the

02:00:52    2   detectives, try to throw you off, think it wasn't financial,

            3   correct?

02:00:57    4   A.   That statement is correct.

02:00:58    5   Q.   All right.   So it was your theory of the case that the

02:01:00    6   killer placed that money on the ground?

02:01:03    7   A.   Yes.

02:01:04    8   Q.   All right.   So it was always your theory of the case that

02:01:07    9   the killer's fingerprints would be on that money, correct?

02:01:12   10   A.   Ideally we would hope so.

02:01:13   11   Q.   All right.   What did you decide to do with the $500

02:01:17   12   bills?   Did you inventory them?

02:01:20   13   A.   We photographed them, and then we packaged them up as

02:01:26   14   evidence, sent them to the post, and, at a later time, we sent

02:01:30   15   them to AFIS.

02:01:37   16   Q.   All right.   And it was your belief that some day,

02:01:39   17   hopefully, a fingerprint on those bills would lead you to the

02:01:42   18   killer, right?

02:01:43   19   A.   Yes.

02:01:44   20   Q.   And then fast-forwarding -- and I'm going to jump way out

02:01:47   21   of order.   But one day you sent Amanda and Jonathan and

02:01:54   22   Lester's prints to AFIS and said check and see if they match,

02:01:57   23   right?

02:01:57   24   A.   Yes.

02:01:58   25   Q.   And AFIS said no match?
                J. YORK - Direct Examination                                     29


02:02:00    1   A.   That is correct.

02:02:00    2   Q.   But you knew there was a print, right?

02:02:03    3   A.   No.    Yes.   I -- yes.

02:02:05    4   Q.   You just didn't know whose it was?

02:02:08    5   A.   That is an accurate statement.

02:02:11    6   Q.   And the match didn't come back to a Mr. John Whitehead

02:02:17    7   until after you had already charged the plaintiffs, right?

02:02:21    8   A.   That is correct.

02:02:23    9   Q.   Now, the blood evidence at the scene was gathered, too,

02:02:29   10   by the forensics people?

02:02:32   11   A.   No.    We had no forensic or CSI team or anything of the

02:02:36   12   nature.     That was done by detectives at the scene.

02:02:41   13   Q.   All right.     But somebody who had training gathered the

02:02:44   14   blood evidence, right?

02:02:47   15   A.   That is correct.

02:02:48   16   Q.   In fact, there's a photo with the victim's hands with

02:02:51   17   bags on them.      Is that typical at a homicide scene?

02:02:55   18   A.   Yes.

02:02:55   19   Q.   Tell the jury why, without -- succinctly, why you put a

02:03:01   20   bag on the hand of the victim.

02:03:03   21   A.   You want to define succinctly?     I don't understand that.

02:03:06   22   Q.   Let's try it again.

02:03:06   23               THE COURT:   I'll judge succinctly.

           24               THE WITNESS:   All right.

02:03:07   25               THE COURT:   Just go ahead and give your answer.
                J. YORK - Direct Examination                                         30


02:03:09    1               THE WITNESS:    Okay.   On why the bags --

02:03:11    2               THE COURT:   A brief explanation.

02:03:13    3               THE WITNESS:    The easiest and quickest way I know to

02:03:16    4   explain to you, you want to preserve if there's potentially,

02:03:19    5   like in a fight, you know, if there's any scratching or

02:03:22    6   clawing, potentially skin, from the, possibly, perpetrator

02:03:28    7   getting underneath there.       So you want to put the paper bag to

02:03:35    8   prevent any contamination or anything like that.         You know,

02:03:37    9   like she was outside, you know, running, along those lines.

02:03:40   10   BY MR. LOEVY:

02:03:40   11   Q.   So that the DNA from under the fingerprints not

02:03:45   12   uncommonly can lead to the killer, right, because if there's a

02:03:49   13   struggle, the killer's DNA can get caught underneath the

02:03:56   14   fingerprints, right?

02:03:58   15   A.   That is correct.

02:03:58   16   Q.   All right.    And, of course, none of the plaintiff's DNA

02:04:01   17   was under her fingernails, correct?

02:04:04   18   A.   No, there wasn't.

02:04:06   19   Q.   All right.    Let's talk about Mr. Crump.     A few days later

02:04:09   20   there was neighborhood canvass conducted, correct?

02:04:13   21   A.   You want to be more specific?

02:04:16   22   Q.   I'll try to be.       In the early days of the

02:04:19   23   investigation -- she's killed on the 20th.       Was there a

02:04:23   24   canvass looking for witnesses?

02:04:23   25   A.   Yes.    There was more than one, but, yes.
                J. YORK - Direct Examination                                     31


02:04:26    1   Q.   And at least one was done at your direction, right?

02:04:31    2   A.   That is correct.

02:04:31    3   Q.   And that canvass identified a critical eyewitness, right?

02:04:37    4   A.   Yes.

02:04:37    5   Q.   He had seen someone at the victim's home on the day she

02:04:42    6   was murdered, right?

02:04:44    7   A.   Yes, and that went ahead to confirm what we talked about

02:04:49    8   earlier, that it was at the time that -- what he's talking

02:04:50    9   about is Mr. Crump --

02:04:52   10               MR. LOEVY:   Your Honor, I move to --

02:04:52   11               THE COURT:   Mr. York?

           12               THE WITNESS:   Yes.

02:04:53   13               THE COURT:   Yes or no is fine on that one.   Go ahead.

02:04:56   14               MR. LOEVY:   Thank you.

02:04:56   15   BY MR. LOEVY:

02:04:57   16   Q.   And the eyewitness had seen the person present in the

02:05:00   17   morning at the victim's home, right?

02:05:03   18   A.   That is correct.

02:05:03   19   Q.   And that fit your theory of the case at the time?

02:05:06   20   A.   Yes, sir.

02:05:07   21   Q.   And this Mr. Crump, he was new to the area, right?

02:05:12   22   A.   Yes.

02:05:12   23   Q.   He lived not far from the victim, down the road a bit?

02:05:16   24   A.   I do not remember.

02:05:19   25   Q.   All right.    But you do remember what Mr. Crump saw,
                J. YORK - Direct Examination                                         32


02:05:23    1   right?

02:05:23    2         Without asking you, do you remember what Crump saw?

02:05:26    3   A.    Can you be more specific because I --

02:05:32    4   Q.    That's fair.    Maybe it wasn't clear.

02:05:34    5         I meant yes, no, but he saw one person, right?

02:05:39    6   A.    My understanding, he saw one coming around the house.         I

02:05:43    7   just wanted to make sure that we are clear on that.

02:05:45    8   Q.    It was a male, right?

02:05:46    9   A.    Yes.    Yes.   One male coming around from the corner of the

02:05:50   10   house where the body was lying.

02:05:51   11   Q.    And wearing facial hair, right?

02:05:54   12   A.    I believe so, yes.

02:05:55   13   Q.    And driving a blue car was the other clue, right?

02:05:58   14   A.    There was a blue car.       I think he described a female in

02:06:02   15   it.

02:06:02   16   Q.    Oh, well, let's take a look and see what he described.

02:06:06   17   This is Plaintiffs' Exhibit 16, which is the report that's

02:06:08   18   also in the investigative file.

02:06:11   19         This is Mr. Cornet's report, right, sir?

02:06:15   20                MR. LOEVY:   We'd ask permission to publish it.

02:06:17   21                THE COURT:   It's in already, right, Mr. Loevy?

02:06:20   22                MR. LOEVY:   Yes, sir.

02:06:21   23                THE COURT:   Okay.   Of course, it can be published.

02:06:23   24   BY MR. LOEVY:

02:06:23   25   Q.    Did you speak to Mr. Crump on -- on or about the day of
                J. YORK - Direct Examination                                     33


02:06:29    1   the murder?     That's the question.   Did you speak to Mr. Crump

02:06:33    2   on or about the day of the murder?

02:06:35    3   A.     No, not on the day of the murder.

02:06:37    4   Q.     Okay.   So you came to understand that Mr. Cornett did,

02:06:41    5   right?

02:06:41    6   A.     I thought it was at the neighborhood canvass that we were

02:06:45    7   talking about, which was two days later.

02:06:47    8   Q.     You came to understand that Mr. Cornett talked to Crump

02:06:53    9   two days later?

02:06:53   10   A.     That is correct.

02:06:54   11   Q.     All right.   And you were in court when Mr. Cornett

02:06:57   12   described talking to Mr. Crump, correct?

02:07:00   13   A.     That is correct.

02:07:00   14   Q.     And Mr. Cornett, in his report and in his testimony,

02:07:05   15   said, look, I asked this guy what he saw.     He said he saw a

02:07:09   16   man.    And that's what he wrote in his report, right?

02:07:11   17   A.     That's what he said.

02:07:12   18   Q.     And there is no report anywhere that you've ever seen

02:07:17   19   that says Crump saw a woman in the car.     We agree about that,

02:07:22   20   too, right?

02:07:24   21   A.     Which file are you talking about?

02:07:27   22   Q.     Focus on the question, if you could, sir, please.

02:07:29   23   A.     Repeat it again.

02:07:30   24   Q.     There's no police report you've ever seen, ever, that

02:07:34   25   says anything about Crump seeing a woman in a car, correct?
                J. YORK - Direct Examination                                         34


02:07:37    1   A.   That is correct.

02:07:42    2   Q.   All right.    Is this what -- did you review Mr. Cornett's

02:07:51    3   report?

02:07:51    4   A.   Yes, I did.

02:07:52    5   Q.   Now, you talk to Crump yourself, right?

02:07:55    6   A.   Yes.

02:07:57    7   Q.   And where were you and who were you with?

02:07:59    8   A.   Detective Josh Bunch.

02:08:05    9   Q.   And Mr. Crump told you the exact same thing he told

02:08:10   10   Cornett, didn't he?

02:08:11   11   A.   No, that's not true.

02:08:12   12   Q.   You created a report, right?       That's the question.   You

02:08:20   13   created a report, right?

02:08:21   14   A.   Yes.

02:08:21   15   Q.   All right.    I'd like to show Plaintiffs' Exhibit 5, which

02:08:24   16   is also part of the investigative file.       I guess this is in

02:08:27   17   evidence then, Your Honor.

02:08:30   18               MR. MILLER:   What's the Bates?

02:08:32   19               MR. LOEVY:    It is Bates 272.

02:08:36   20               THE COURT:    Do you agree that's in 1?   Do you agree?

02:08:40   21               MR. MILLER:   (Nodding head.)

02:08:41   22               THE COURT:    Hang on.   So that's -- it's part of 1, so

02:08:45   23   you can display something that's part of 1.

02:08:48   24               MR. LOEVY:    Yes.   Although, Your Honor, the identical

02:08:51   25   document is marked separately but it's part of 1.       What page
                J. YORK - Direct Examination                                        35


02:08:54    1   is it in 1?

02:08:57    2               THE COURT:    Go ahead, Mr. Miller.

02:09:02    3               MR. MILLER:    No, I was going to say 272; so I'm

02:09:05    4   wrong.   But that's the Bates.

02:09:07    5               MR. LOEVY:    Well, it's also Plaintiffs' Exhibit 5.

02:09:09    6               THE COURT:    I'm just trying to help the jury track

02:09:11    7   because this is all -- a lot of this is in one exhibit.         I

02:09:15    8   want them to be able to know.       Somebody have it on the

02:09:17    9   plaintiffs' side?

           10               MS. EK:    Page 19.

02:09:22   11               THE COURT:    Page 19, Exhibit 1.     Thank you.

           12   BY MR. LOEVY:

02:09:24   13   Q.   Can you see that on the screen, sir?

02:09:25   14   A.   Yes.

02:09:26   15   Q.   All right.       There's some blue markings, and I want to be

02:09:28   16   clear; I made those lines there.

02:09:30   17               THE COURT:    Is that up for the jury?    Okay.

02:09:32   18   BY MR. LOEVY:

02:09:32   19   Q.   All right.       This is a report you created on February 2nd,

02:09:35   20   2011, right?

02:09:36   21   A.   Yes.

02:09:36   22   Q.   And that's you, Jason York?

02:09:38   23   A.   Yep.

02:09:38   24   Q.   You typed it?

02:09:41   25   A.   Yes, I did.
                J. YORK - Direct Examination                                      36


02:09:41    1   Q.   And this is a summary of your interview of Crump, right?

02:09:47    2   A.   This is a summary of the reason why I went there.

02:09:52    3   Q.   Okay.

02:09:52    4   A.   Can I explain that?

02:09:53    5   Q.   Well, we'll take it one question at a time if Your Honor

02:09:57    6   will permit that.

02:09:57    7               THE COURT:   Go ahead.

02:09:58    8   BY MR. LOEVY:

02:09:59    9   Q.   All right.    It says, "This unit, along with Detective

02:10:01   10   Bunch, interviewed Crump."     Do you see that?

02:10:06   11   A.   Yes.

02:10:06   12   Q.   And "this unit" is you, right?

02:10:09   13   A.   Yes, sir.

02:10:09   14   Q.   And it says, "Crump gave a recorded statement to Cornett

02:10:13   15   concerning Mills," right?

02:10:14   16   A.   Yes.

02:10:14   17   Q.   "He stated he saw a blue card at Mills's residence in the

02:10:17   18   morning.     She was robbed and found dead.   He also stated he

02:10:20   19   saw a white male coming from the corner of Katherine's

02:10:23   20   residence where she was later found dead.      He described a male

02:10:27   21   as having a hood on his head and wearing a hunting jacket.

02:10:30   22   Cameo pattern was similar" to a sketch -- I'm sorry --

02:10:34   23   "similar to a popular hunting cameo pattern called mossy oak."

02:10:38   24   And then you had Bunch do a sketch with Crump of the male,

           25   correct?
                J. YORK - Direct Examination                                        37


02:10:45    1   A.   That is correct.

02:10:47    2   Q.   All right.    You created this report describing what Crump

02:10:54    3   told you, correct, sir?

02:10:59    4   A.   When --

02:11:00    5               THE COURT:   That's a yes or no.

02:11:04    6               THE WITNESS:   Yes.

02:11:05    7               MR. LOEVY:   All right.

02:11:06    8               THE COURT:   Now, do you have an explanation to add?

02:11:09    9               THE WITNESS:   Absolutely.

02:11:09   10               THE COURT:   Okay.

02:11:10   11               THE WITNESS:   And so I went there because Detective

02:11:15   12   Josh Bunch is an artist.     We did not have no provisional

02:11:23   13   sketch artist on the CSI team.        So my sole purpose on this was

02:11:28   14   to go for Josh Bunch to create a potential, you know, sketch

02:11:33   15   of the artist.

02:11:34   16        I did not go there with the intention of taking another

02:11:38   17   statement.

02:11:39   18        I was under the understanding and impression, at the

02:11:43   19   time, that Detective Cornett had already done that.        And so

02:11:46   20   when I made this supplement, why I was there, and I believe

02:11:50   21   that Mr. Crump said that in a deposition, exactly what I said

02:11:55   22   before --

02:11:55   23               MR. LOEVY:   Objection.

02:11:56   24               THE COURT:   Don't relate what another witness said.

02:11:58   25               THE WITNESS:   Yes, sir.     I apologize.
                J. YORK - Direct Examination                                      38


02:12:00    1        Can I say what he said to me?

02:12:03    2            THE COURT:     No.

            3            THE WITNESS:    Okay.

02:12:04    4            THE COURT:     All right.    Let's cut it off there.

02:12:06    5   You've explained it.    Go ahead.

02:12:08    6   BY MR. LOEVY:

02:12:09    7   Q.   You did take Crump to get a sketch, right?

02:12:12    8   A.   Say that again.

02:12:12    9   Q.   You took Crump in early February to sketch the person he

02:12:16   10   saw, right?

02:12:17   11   A.   That's not true.    I took Bunch.

02:12:20   12   Q.   Well, Crump was the guy who saw the witness, right?

02:12:25   13   A.   You said that I took Crump to go do a sketch.      Me and

02:12:28   14   Bunch went to Mr. Crump's house to do a sketch.

02:12:32   15   Q.   Okay.    Then I misunderstood.    But the idea was the two of

02:12:35   16   you talked to Mr. Crump and then take him to see a sketch

02:12:39   17   artist to create a picture of what he saw, right?

02:12:42   18   A.   No, that's not accurate.

02:12:43   19   Q.   All right.    Showing you Plaintiff's Exhibit 45, can

02:12:49   20   you -- and this is also in the investigative file as -- do you

02:12:54   21   have the number of the sketch?

02:12:57   22            MR. MILLER:     KSP 368.    I don't have the page numbers.

02:13:02   23            MR. LOEVY:     It's Plaintiff's 45.    I was using

02:13:05   24   plaintiffs' exhibits.    I'll use the plaintiffs' exhibits.      If

02:13:05   25   it's okay, I would like to use plaintiffs' exhibits.
                J. YORK - Direct Examination                                       39


02:13:10    1               THE COURT:   Well, okay.    That's -- do you agree this

02:13:16    2   is part of Exhibit 1?

02:13:17    3               MR. LOEVY:   Yes.

02:13:18    4               THE COURT:   Okay.    And you want to admit it

02:13:20    5   separately as Exhibit 5 [sic]?

02:13:21    6               MR. LOEVY:   Yes.

02:13:21    7               THE COURT:   Okay.    I'll do that for -- I'm not going

02:13:24    8   to do it for a thousand pages.

            9               MR. LOEVY:   Right.

02:13:26   10               THE COURT:   So as long as it's not unduly

02:13:28   11   duplicative.    So that will be admitted.

02:13:32   12               MR. LOEVY:   All right.

02:13:33   13        (Plaintiffs' Exhibit No. 5 was received in evidence.)

02:13:33   14   BY MR. LOEVY:

02:13:33   15   Q.   If you can publish, Mr. Crump -- I'm sorry.       Mr. York,

02:13:37   16   tell the jury what Mr. Crump -- what this is.

02:13:40   17   A.   Yes.    This is a sketch that Detective Bunch did.      We did

02:13:44   18   not take him to see another sketch artist, as you said

02:13:48   19   earlier, and that's where I think the confusion is.

           20   Q.   All right.

02:13:51   21   A.   Detective Bunch is the one that done the sketch.        I just

02:13:54   22   want to clarify that to you all.

02:13:57   23   Q.   Okay.    Thank you.

02:13:58   24        So, in other words, Crump sort of describing to Bunch,

02:14:01   25   Hey, I think he had a nose, he had some eyes, facial hair; and
                J. YORK - Direct Examination                                      40


02:14:05    1   Bunch is sketching?

02:14:06    2   A.   Yes.    At Mr. Crump's residence.     We never did take

02:14:11    3   Mr. Crump.

02:14:13    4   Q.   All right.    So you were present the whole time?

02:14:15    5   A.   That is correct.

02:14:16    6   Q.   All right.    As a homicide detective, I realize you were

02:14:19    7   sort of new to this, but you can't be sure that this is going

02:14:22    8   to exactly look like the killer, right?

02:14:24    9   A.   That is fair to say, yes.

02:14:27   10   Q.   In fact, this is happening more than a month after,

02:14:29   11   right?

02:14:29   12   A.   I don't know the exact date, but I'm not going to argue

02:14:33   13   with you on that.

02:14:34   14   Q.   February 2nd to December 20th, right?

02:14:37   15   A.   Uh-huh.

02:14:37   16   Q.   But this is what Crump described, and this is what got

02:14:42   17   sketched, right?

02:14:43   18   A.   Yes.

02:14:54   19               THE COURT:   We are close to a break, Mr. Loevy?

02:14:54   20               MR. LOEVY:   We are, Your Honor.    This would be a good

02:14:57   21   place for a break.

02:14:57   22               THE COURT:   Okay.    This going to get us to our first

02:15:00   23   break of the afternoon.        Why don't we take about 15 minutes at

02:15:03   24   this point.    Under my same admonitions, I'll excuse the jury

02:15:06   25   at this time.     Thank you.
                J. YORK - Direct Examination                                         41


            1              THE BAILIFF:    All rise for the jury.

            2          (Jury exits.)

02:15:39    3              THE COURT:    All right.   Thank you.   Everybody can be

02:15:40    4   seated.    You can step down if you want to, Mr. York.       Thank

            5   you.

02:15:44    6          The jury is outside the courtroom.    We'll take a

02:15:47    7   15-minute break.

02:15:48    8          Do you want to play that proffer before we break?

02:15:51    9              MR. LOEVY:    I do.

02:15:52   10              THE COURT:    Let's go ahead and play that.

02:15:53   11              MR. LOEVY:    And one more piece of context before we

02:15:55   12   play it, Your Honor.

02:15:56   13              THE COURT:    Um-hum.

02:15:57   14              MR. LOEVY:    This tape was not intended to be

02:15:59   15   disclosed.    My understanding was, in the middle of this murder

02:16:02   16   trial, somebody testified about a tape.      Everybody said, What

02:16:05   17   tape?    And then they had to go get the tape.      And the tape was

02:16:09   18   belatedly disclosed.      So this was never intended to be

02:16:12   19   disclosed or wasn't disclosed.

02:16:13   20              THE COURT:    What trial was it in?

02:16:14   21              MR. LOEVY:    William Anderson trial.

02:16:16   22              MR. SLOSAR:    Yes, Your Honor.   It's in the William

02:16:18   23   Anderson trial.    And, in fact, there's another parallel.      One

02:16:20   24   of the defendants that we flew here, that was dismissed,

02:16:25   25   Jackie Pickrell, now Jackie Joseph, she was the supervisor on
                J. YORK - Direct Examination                                         42


02:16:29    1   periods of this investigation.         She was also the supervisor of

02:16:32    2   Defendant York in the Anderson case.

02:16:36    3       She was on the stand and was asked, Oh, well, what about

02:16:39    4   the interview of Dave Fox?         And she said, Which one,

02:16:43    5   basically.    And it was like, What are you talking about,

02:16:45    6   "which one?"    We only got one interview.       She said, No, there

02:16:50    7   were two.    They should both be recorded.

02:16:52    8       They stopped the death penalty trial to go back to get

02:16:55    9   the tape, and that tape showed what we are about to proffer

02:17:02   10   here.

02:17:02   11       (Audio clip played in open court.)

02:17:18   12               MR. LOEVY:    That's the wrong clip.    I apologize, Your

02:17:21   13   Honor.   It's the one that you --

02:17:24   14               We are going to play it at a different time, Your

02:17:27   15   Honor.   I'm sorry.      That's the middle of it.    It backs up.

02:17:29   16   Can we pull the one that got e-mailed to me?

02:17:31   17               THE COURT:    Okay.    We'll take our break at this

02:17:33   18   point.

02:17:33   19               MR. LOEVY:    Sorry.

02:17:34   20               THE COURT:    Anything for the defense?

02:17:36   21               MR. MILLER:    I'll try to coordinate.

02:17:37   22       Are we going to go by Bates numbers for the --

02:17:40   23               THE COURT:    It would be really nice to have a

02:17:43   24   convention, right?       It's going to help the jury, when they

02:17:45   25   want to look at things, to know where to go to see it.        So I
                J. YORK - Direct Examination                                      43


02:17:49    1   would encourage you to have a convention on it.

02:17:51    2       But we'll take our break at this point.      Thank you.

            3            THE BAILIFF:     All rise.

02:30:18    4       (Recess taken from 2:17 P.M. until 2:30 P.M.)

02:30:54    5            THE COURT:   We're back on the record with the jury

02:30:22    6   outside the courtroom.

02:30:23    7       Do you have your clip ready to play?

02:30:25    8            MR. LOEVY:   We do have it properly teed up.    Sorry

02:30:30    9   about that, Your Honor.

02:30:33   10       (Audio clip played in open court.)

02:31:51   11            MR. LOEVY:   So what we would suggest by that proffer

02:31:53   12   is, if the door is open, you know, motions in limine rulings

02:31:55   13   are provisional by definition.     We would ask the Court to be

02:32:00   14   mindful, if the door gets open, to play that as impeachment.

02:32:03   15            THE COURT:   Well, okay.     I've dealt with it twice.   I

02:32:06   16   think this is the third time I'm hearing about it.     Obviously,

02:32:08   17   things can change in the course of examination.     If that

02:32:12   18   occurs, I'll consider it.

02:32:14   19            MR. LOEVY:   Thank you.

02:32:15   20            THE COURT:   But the rulings are in place at this

02:32:17   21   time.

02:32:17   22            MR. LOEVY:   Fair enough.    And, Your Honor, I have a

02:32:19   23   quick question about your procedure.

02:32:20   24            THE COURT:   All right.

02:32:21   25            MR. LOEVY:   I use an easel sometimes so that I can
                J. YORK - Direct Examination                                      44


02:32:25    1   make like a report.    Like if I say like, list your suspects,

02:32:28    2   and I write it.    Instead of using the easel, I would rather

02:32:31    3   use the ELMO, if that's okay.    So I would say suspects, and he

02:32:35    4   would list them.    Do you have any objection to him --

02:32:35    5            THE COURT:    You mean you're going to ask him, as he

02:32:39    6   gives you a name, you're going to write it down?

02:32:41    7            MR. LOEVY:    That's right.

02:32:42    8            THE COURT:    Okay.   Any objection to that?

02:32:43    9            MR. MILLER:    No.

02:32:44   10            MR. LOEVY:    All right.   We're ready, Your Honor.

02:32:46   11            THE COURT:    Anything else, Mr. Miller?   Okay.   You

02:32:46   12   can come onto the witness stand.    Thank you.

02:33:00   13        (Witness resumes witness stand.)

02:33:00   14            THE COURT:    All right.   Let's bring them in.

02:33:38   15        (Jury present.)

02:33:39   16            THE COURT:    The jury is back in the courtroom after

02:33:40   17   the break.   I appreciate your patience and attention

02:33:47   18   throughout the day to this point.

02:33:48   19        We are going to continue with Mr. York's testimony, and

02:33:51   20   you are, of course, still under oath, sir.    You understand

02:33:53   21   that?

02:33:53   22        Mr. Loevy.

02:33:54   23   BY MR. LOEVY:

02:33:55   24   Q.   All right.    Over the course of this investigation, you

02:33:57   25   investigated it for a long time, correct?
                J. YORK - Direct Examination                                    45


02:33:59    1   A.   Yes.

02:33:59    2   Q.   All right.   Let's make a list, if you would, of all the

02:34:04    3   people you considered suspects -- as possible suspects -- in

02:34:08    4   the murder.

02:34:08    5        Who were some of the people you considered?

02:34:10    6   A.   Mike Simpson.

02:34:16    7   Q.   All right.   I'll keep writing.   You keep telling me.

02:34:21    8   A.   Obviously, Amanda Hoskins, Jonathan Taylor, William

02:34:32    9   Lester.

02:34:32   10   Q.   Any other suspects?

02:34:34   11   A.   Kayla Mills.

02:34:39   12   Q.   Others?

02:34:40   13   A.   Allen Helton.

02:34:51   14        Off the top of my -- I can't think of anything other --

02:34:54   15   Q.   All right.   We can revisit.   If you can think of any more

02:34:56   16   as the trial goes, you let me know, and I'll add it.    Okay?

02:34:59   17   A.   Yes, sir.

02:34:59   18   Q.   All right.   The next category I want to ask you about is

02:35:03   19   anybody that you threatened.   And by threatened, I mean you

02:35:05   20   said to someone, I'm going to put charges on you, I'm going to

02:35:09   21   get you convicted, I'm going to do this unless you tell me

02:35:12   22   what I want to hear.   Did you threaten anybody with criminal

02:35:15   23   charges?

02:35:15   24   A.   I threatened people with criminal charges --

02:35:21   25   Q.   I will write it down.   Tell me who.
                J. YORK - Direct Examination                                       46


02:35:23    1             THE COURT:    Go ahead and give your answer.

02:35:25    2             THE WITNESS:    All right.   Can you state that again

02:35:27    3   because there was something that you said that I thought

02:35:31    4   wasn't accurate -- go ahead.    State your question again,

02:35:34    5   please.

02:35:34    6   BY MR. LOEVY:

02:35:34    7   Q.   There were some people in this investigation, you said,

02:35:37    8   If you can't tell me who did it, I'm going to charge you,

02:35:41    9   right?

02:35:44   10   A.   Those words possibly came out of my mouth.      I charge -- I

02:35:51   11   would threaten them if they were -- if it was found out that

02:35:55   12   they were part of this crime, yes.      That is correct.

02:35:58   13   Q.   All right.   Did you tell any witnesses you were going to

02:36:00   14   put them in jail unless they cooperated and gave you

02:36:04   15   information?    Any witness at all?    I'll write down the name.

02:36:08   16   A.   I threatened them if they didn't tell me what I

02:36:12   17   understood to be the truth.

02:36:14   18   Q.   That's what I'm talking about.      So tell me the names.

02:36:17   19   I'll write them down.

02:36:18   20   A.   I don't remember any of them.      Obviously we talked about

02:36:23   21   Kayla Mills.

02:36:23   22   Q.   Does she belong on the list?      Kayla?

02:36:26   23   A.   I'm sorry.   I thought she was already on that list.

02:36:29   24   Q.   This is threatened.    This is a new list we're making.

02:36:32   25   People that you said you're going to be in big trouble unless
                J. YORK - Direct Examination                                        47


02:36:35    1   you cooperate.    Should Kayla Mills be on this list?

02:36:38    2   A.   Yes, sir.

02:36:39    3   Q.   All right.    Anybody else besides Kayla?     It doesn't have

02:36:42    4   to be a memory test.       I'll show you a list of some of the

02:36:47    5   suspects, and you tell me if any of them jar your memory.        Not

02:36:49    6   suspects.    Some of the witnesses.      Christy Branson, Joe King,

02:36:53    7   Helton, and Wilson?

02:36:55    8   A.   Helton.

02:36:56    9   Q.   Allen Helton?       All right.   Who else?

02:36:59   10   A.   Can you put that list back up there?

02:37:02   11   Q.   I will.

02:37:06   12   A.   Is that -- you just got two names?

02:37:08   13   Q.   I'm sorry, 11.       By the way, this is not the whole

02:37:11   14   universe.    This is just the witnesses that we got statements

02:37:14   15   from.

02:37:15   16   A.   All right.    Okay.    That's what I remember.   At least

02:37:33   17   those.

02:37:33   18   Q.   All right.    How about witnesses that you made -- offered

02:37:36   19   deals:   I'll help you with something if you give me

02:37:41   20   information?

02:37:42   21               MR. MILLER:    Your Honor, I'm going to object.

02:37:44   22               THE COURT:    What's the objection?

02:37:46   23               MR. MILLER:    He's coining the phrase, and then he's

02:37:52   24   providing the definition that he's going to try to use

02:37:54   25   throughout the trial, which is going to be prejudicial when
                J. YORK - Direct Examination                                      48


02:37:55    1   he's coined the phrase that way, and that's not what any of

02:37:59    2   this is.

02:37:59    3               THE COURT:   He doesn't have to agree with his

02:38:03    4   characterization.    So go ahead and re-ask it, Mr. Loevy, if

02:38:07    5   you would.

02:38:07    6   BY MR. LOEVY:

02:38:07    7   Q.   Did you make any deals with any witnesses?

02:38:09    8   A.   The only deals I remember making -- and I don't know.       I

02:38:12    9   can't remember each one of them or specifically is, in fact,

02:38:15   10   if they told the truth and did not kill Katherine, then they

02:38:22   11   would not get in trouble.

02:38:23   12   Q.   All right.    So is there any witness you made a deal:

02:38:25   13   I'll help you on a criminal charge, I'll help you get out of

02:38:28   14   trouble, I'll help you.     I'll give you have a benefit.

02:38:31   15        That's what I mean by a deal.     Do you understand what I

02:38:34   16   mean?

02:38:34   17   A.   Yes.    I can't make deals.   What I would say is, if you

02:38:37   18   cooperate, then I would mention it to the Commonwealth

02:38:41   19   attorney or the judge.

02:38:55   20   Q.   All right.    What witnesses did you do that for?   Offer

02:38:55   21   them help?

02:38:55   22   A.   If you want to go through them one by one.

02:38:55   23   Q.   Yeah, any of them.     If you could just tell me any witness

02:38:55   24   that comes to mind on this list or any other that you made a

02:39:02   25   deal with.
                J. YORK - Direct Examination                                     49


02:39:02    1   A.   Well, Kayla.    Did you want me to explain that one or just

02:39:05    2   list the names?

02:39:05    3   Q.   Well, just list the names, and we'll talk about each in

02:39:10    4   detail.

02:39:10    5   A.   Wait a minute.    Put the list back up, please.

02:39:12    6   Q.   Sure.

02:39:16    7   A.   Helton.   But I want to clarify.   It wasn't in regards to

02:39:27    8   this particular case.

02:39:28    9   Q.   You offered him help on a different case?     That's what

02:39:31   10   you mean?

02:39:32   11   A.   I think we are on the same line.    Not helping out of this

02:39:36   12   case that we're going -- we're doing right now.

02:39:39   13   Q.   He helped you solve this case, and you helped him on a

02:39:42   14   different case.     That would be Helton, right?

02:39:44   15   A.   That is an accurate statement.

02:39:46   16   Q.   All right.   That's what I mean by deals when I say deals.

02:39:48   17   So it sounds like Helton belongs on this list.     Who else

02:39:53   18   should be on this list?

02:39:53   19   A.   Put the list back up, please.

02:39:55   20   Q.   Sure.   Again, this list or any other.

02:39:57   21   A.   For example -- well, as far as me helping them out of a

02:40:09   22   criminal case, is that your exact question?

02:40:12   23   Q.   That could be a deal, sure.

02:40:14   24   A.   I mean, I'm asking you.

02:40:16   25   Q.   The definition I'm giving to you is:     If you said to a
                J. YORK - Direct Examination                                       50


02:40:18    1   witness, I'll give you a benefit if you help me.       Did you make

02:40:22    2   any deals?

02:40:23    3   A.   Again, I just want to clarify "deals."      I would say -- I

02:40:28    4   would say something to the Commonwealth attorney, but I

02:40:35    5   believe the -- I said this is memory.       Did you -- either Beach

02:40:39    6   or Wilson, the one that's from Summerset.       I can't remember

02:40:43    7   off the top of my head which one's from Summerset.       Do you

02:40:46    8   know?

02:40:46    9   Q.   Tell me, is the guy who wanted to be moved closer to his

02:40:49   10   home?

02:40:49   11   A.   Yes.

02:40:49   12   Q.   And you promised him if he --

02:40:51   13   A.   No, I did not promise him.       I said I would mention it.

02:40:55   14   Q.   All right.    This was a witness many years after the

02:40:57   15   crime, right?

02:40:59   16   A.   Yes.    We talked to him, yes.

02:41:02   17   Q.   And it's after the case collapsed, right?

02:41:05   18               MR. MILLER:   Object.

02:41:06   19   BY MR. LOEVY:

02:41:07   20   Q.   After the charges were dismissed, right?

02:41:09   21   A.   No.

02:41:09   22   Q.   Well, it was right at the end when the prosecutor said,

02:41:11   23   We can't -- the prosecutor told you, at some point, we can't

02:41:14   24   go forward, right?

02:41:16   25   A.   I remember, if this is the one I'm thinking of, it's --
                J. YORK - Direct Examination                                    51


02:41:23    1   it was during -- it was after, but actually the Commonwealth

02:41:27    2   attorney was there present in; so that wasn't an end result to

02:41:32    3   that.   The charges, if that makes sense, what I'm trying to

02:41:36    4   explain.

02:41:36    5   Q.   We'll confirm it later, but it was either Beach or

02:41:39    6   someone else.

02:41:39    7        Beach is the guy who wanted --

02:41:41    8   A.   Whoever which one is from Summerset.

02:41:43    9   Q.   Okay.   Summerset.   Anybody else get a deal?

02:41:47   10   A.   Amber Simpson.

02:41:56   11   Q.   You said you'd help her brother if she helped you?

02:42:01   12   A.   I said I would mention it to the Commonwealth attorney.

02:42:05   13   Q.   All right.   Anybody else get a deal?   We'll talk about

02:42:09   14   these later.    But anybody else?

02:42:10   15   A.   Put your list back up, please.

02:42:12   16   Q.   Sure.

02:42:18   17   A.   Not that I remember.

02:42:24   18   Q.   Okay.

02:42:24   19        Now, going back to your murder investigation, would it be

02:42:28   20   fair to say that one of your earliest suspects was Mike Mills?

02:42:34   21   A.   That is correct.

02:42:37   22   Q.   He was the victim's grandson?

02:42:40   23   A.   Yes.

02:42:40   24   Q.   And there were, at least, some reasons to suspect that he

02:42:44   25   might have had something to do with the crime, right?
                J. YORK - Direct Examination                                      52


02:42:47    1   A.   Initially, yes.

02:42:48    2   Q.   He had shown up at the scene of the murder, right?

02:42:51    3   A.   Yes.

02:42:54    4   Q.   And one -- somebody told you -- was it Jesse Lawson --

02:42:58    5   that, you know what, this guy has stolen from grandma?

02:43:01    6   Somebody told you that?

02:43:02    7   A.   I don't remember which one, but it came from his own

02:43:05    8   family that he had stolen some money off of her before.

02:43:10    9   Q.   And that's someone who's a suspect, right, someone who

02:43:16   10   had previously robbed the grandma?

02:43:19   11   A.   Yes.

02:43:19   12   Q.   And, in fact, when you did a little digging, you learned

02:43:22   13   that he knew that she had this money from the timber, right?

02:43:27   14   A.   Yes.

02:43:27   15   Q.   And he gave a non-plausible explanation for why his

02:43:32   16   prints might be on the money, didn't he?

02:43:34   17   A.   I don't remember.

02:43:34   18   Q.   Do you remember him saying, in those interviews, that

02:43:37   19   Hey, I helped grandma count the money?

02:43:40   20   A.   Well, he said that.

02:43:43   21   Q.   All right.   Did you -- there was some other reasons.   He

02:43:47   22   knew about the timber, right?

02:43:48   23   A.   Yes.

02:43:48   24   Q.   And he told you an important lie, didn't he?

02:43:57   25   A.   I don't remember exactly what you're talking about.     Do
                J. YORK - Direct Examination                                       53


02:44:01    1   you want to clarify that?

02:44:02    2   Q.   Sure.    I'm going to show you page 303 of Plaintiffs'

02:44:06    3   Exhibit 1 which is Bates -- this doesn't have a Bates on it,

02:44:11    4   but this is page 303 of the investigative file.

02:44:16    5               MR. MILLER:   It's Bates 556, KSP 556.

02:44:22    6               MR. LOEVY:    Thank you.

02:44:24    7   BY MR. LOEVY:

02:44:24    8   Q.   All right.    You see in the yellow lines -- as always,

02:44:27    9   were made by me.    They weren't on the originals, right, sir?

02:44:31   10   A.   I'm reading it, if you give me a second.        Can you get it

02:44:34   11   smaller?

02:44:34   12   Q.   How is that?

02:44:35   13   A.   Okay.

02:44:36   14               MR. LOEVY:    Your Honor, may we publish this to the

02:44:38   15   jury?

02:44:39   16               THE COURT:    You may.

02:44:52   17   BY MR. LOEVY:

02:44:52   18   Q.   This is your report, right?       This is your report?

02:44:52   19   A.   You want to scroll down?        Yes, I generated that.

02:44:52   20   Q.   It looks like you generated it the day after the murder,

02:44:56   21   right?

02:44:56   22   A.   Yes.    Can you scroll back up?

02:44:59   23   Q.   Sure.

02:45:13   24   A.   So what was your question again?

02:45:15   25   Q.   My first question is:      This is your report, including a
                J. YORK - Direct Examination                                       54


02:45:18    1   lot of details, right?

02:45:20    2   A.   Yes.

02:45:21    3   Q.   All right.    My next question is:   Isn't it true that

02:45:23    4   Mills and his girlfriend gave you different times as to when

02:45:27    5   he was last at his grandmother's?

02:45:29    6   A.   That's what it says here, yes.

02:45:30    7   Q.   Do you remember that?

02:45:31    8   A.   No.    What I remember -- and I'm not saying -- what I

02:45:37    9   remember, the different times was Michael Mason, not Michael

02:45:43   10   Mills, gave me different times.      That's what I remember.

02:45:47   11   Q.   In other words, you interviewed a couple of his buddies,

02:45:52   12   Mason and a woman named, I think, Stephanie Williams?

02:45:55   13   A.   That sounds correct.

02:45:57   14   Q.   And you were getting different stories from people,

           15   right?

02:46:00   16   A.   Yes.    That is true.   Can I elaborate?

02:46:04   17   Q.   Explain.    Sure.

02:46:05   18   A.   Yes, sir.    So Michael Mills was the grandson.     We had

02:46:10   19   information that he had stolen off her before in the past.        We

02:46:14   20   acted upon that.    We talked to him and see where he was at

02:46:20   21   throughout the day.      He gave us a statement that he had been

02:46:25   22   moving all day, and Tiffany told us -- I think it was Tiffany

02:46:30   23   Eaton.     I'm 90 percent sure on the name.     His girlfriend.

02:46:36   24   They had been moving with a couple friends.       So we went to the

02:46:39   25   residence where he was in Corbin -- this is after we left the
                J. YORK - Direct Examination                                   55


02:46:43    1   scene -- just quickly observed what appears to be moving.     And

02:46:47    2   then we went to another residence in Laurel County, and this

02:46:50    3   is approximately the next day.   I mean, when I say, "next

02:46:53    4   day," just after midnight, to a residence where he actually

02:46:57    5   had been moving to.   And, you know, we observed what appeared

02:47:00    6   to be him moving.   And, you know, we didn't see no, like,

02:47:06    7   evidence of him having a large sum of money spinning and while

02:47:11    8   we were there, we took statements from Michael Mason and his

02:47:15    9   girlfriend, I think he said her name was.   And Michael Mason,

02:47:20   10   we asked him did -- When is the last time that Michael had

02:47:27   11   been at his grandmother's?

02:47:29   12        And -- and Mr. -- pronunciation -- Mr. Mason said that he

02:47:36   13   had been with Michael for like several weeks which was

02:47:38   14   inaccurate because Mr. Mills and I -- I thought Mrs. -- his

02:47:45   15   girlfriend had told us he had been there the week before.

02:47:49   16   Q.   All right.   So that doesn't make him a murderer, does it?

02:47:52   17   A.   No.

02:47:53   18   Q.   But different people were giving you different accounts

02:47:56   19   of when Michael Mills had seen his grandmother, correct?

02:47:59   20   A.   Yes, and I followed up with Mr. Mason and told him that

02:48:03   21   that was inaccurate because that's -- I mean, even Michael

02:48:06   22   Mills said that was not correct, and his explanation to me, as

02:48:10   23   you can imagine, police showing up, he said, you know, police

02:48:14   24   made him scared, and he was afraid and said he wasn't

02:48:19   25   thinking.   That was the explanation he gave to us.   Along
                J. YORK - Direct Examination                                    56


02:48:23    1   those lines.

02:48:23    2   Q.   So he basically said he lied because he had been afraid?

02:48:26    3   A.   He said the police made him nervous, if I remember

02:48:29    4   correctly.

02:48:30    5   Q.   All right.   How do you know he wasn't telling the truth

02:48:32    6   and Mike Mills was lying?

02:48:33    7   A.   Again, it's a case of common sense.   If Mr. Mason is

02:48:45    8   saying that Michael had not been to his grandmother's in

02:48:48    9   several weeks but Mr. Mills is saying, no, that's not true, I

02:48:53   10   had been to my grandmothers -- so, to me, common sense would

02:48:57   11   explain that, you know, if the person that we're trying to

02:48:59   12   investigate at the time or look into is saying that he -- no,

02:49:03   13   I've been there in the last, you know, week or two and this

02:49:06   14   guy is saying, no, he's not been there in five weeks, who

02:49:09   15   would you -- that's, you know, common sense.

02:49:10   16   Q.   All right.   One of his alibi witnesses, Stephanie

02:49:14   17   Williams, was somewhat unable to account for the whereabouts

02:49:18   18   that day, correct?

02:49:21   19   A.   I can't remember.   I'm not arguing with you.

02:49:24   20   Q.   Well, let's take a look at Defendant's 2E.   This is a

02:49:27   21   transcript with my yellow markings of this recording.     It

02:49:31   22   looks like --

02:49:32   23            MR. LOEVY:   And may we publish this, Your Honor?     2E?

02:49:35   24   We move this into evidence.

02:49:38   25            THE COURT:   Any objection?
                J. YORK - Direct Examination                                         57


02:49:39    1               MR. MILLER:   That's not part of the case file; so I'm

02:49:42    2   not sure what he's looking at.       A transcript of what?

02:49:46    3               MR. LOEVY:    Stephanie Williams' interview.

02:49:48    4   Defendant's Exhibit 2.

02:49:49    5               MR. MILLER:   No objections.

02:49:50    6               THE COURT:    Okay.   How long is that?

02:49:52    7               MR. LOEVY:    I'm not going to play it.   I'm just going

02:49:54    8   to show him.

02:49:55    9        The exhibit itself is about six pages, four pages.

02:49:59   10               THE COURT:    Okay.   That'll be admitted.   It may be

02:50:01   11   displayed.

02:50:01   12        (Defense Exhibit No. 2E was received in evidence.)

02:50:01   13   BY MR. LOEVY:

02:50:02   14   Q.   All right.    It looks like, does it not, sir, that you're

02:50:04   15   interviewing her at 1:20 in the morning on the night of the

02:50:08   16   murder.     It's now carried into the 21st, but we're late after

02:50:11   17   the murder, right?

02:50:13   18   A.   Yes.

02:50:13   19   Q.   All right.    You asked her, you know, all four of you were

02:50:15   20   here, we wake up, did you go over to granny's house, and the

02:50:18   21   part I want to focus you on is when she said, "We went to

02:50:21   22   Speedway and honestly can't remember if we went to the other

02:50:24   23   stores.     I'm pretty sure that we didn't."    Do you see that?

02:50:28   24   A.   I see what you're saying.

02:50:28   25   Q.   Okay.    Now, here's my question:     As a homicide detective,
                J. YORK - Direct Examination                                    58


02:50:32    1   if someone can't remember exactly what's the stores they went

02:50:34    2   to, that doesn't make them a murderer, right?

02:50:36    3   A.   That is correct.

02:50:36    4   Q.   And this is the day of the murder she can't remember what

02:50:41    5   stores, right?

02:50:41    6   A.   That's according, to that report I read, yes.

02:50:45    7   Q.   All right.   Did you hold that same standard when you

02:50:47    8   talked to other witnesses:     If they can't remember exactly

02:50:49    9   where they were, that doesn't make them guilty?

02:50:52   10   A.   I don't remember.     If you want to get more specific.

02:50:56   11   Q.   Like, for example, when you talked to the plaintiffs

02:50:58   12   months later, if they couldn't remember exactly if they went

02:51:01   13   to the Walgreen's before the doctor, et cetera, et cetera, did

02:51:03   14   you say, Well, you know, people don't always remember

02:51:05   15   meaningless things?     Did you use that same reasoning?

02:51:08   16   A.   I don't remember saying those to the plaintiffs.

02:51:12   17   Q.   All right.   There is no police report that Mike Mills'

02:51:16   18   alibi checked out.     Would you agree on that?

02:51:20   19   A.   Say that again.

02:51:21   20   Q.   Have you ever seen a police report that you checked out

02:51:23   21   Mike Mill's alibi and it checked out?

02:51:26   22   A.   I believe there is.     I think I read it earlier this

02:51:31   23   morning.

02:51:32   24   Q.   All right.   Sorry.   I didn't mean to interrupt you.

02:51:35   25   Sorry.   If you weren't finished, please do.
                J. YORK - Direct Examination                                         59


02:51:37    1   A.   I'm finished with what I'm saying.

02:51:39    2   Q.   Okay.    All right.    Jesse Lawson, at his interview, said,

02:51:42    3   The family has been trying to get a hold of Michael and they

02:51:45    4   can't.

02:51:46    5        That was part of your investigative information, right?

02:51:49    6   A.   Yes, but should we not go back to what you just said?

02:51:53    7   You said that was there no police report that would indicate

02:51:57    8   Mr. Mills' alibi.     Am I understanding that correctly?

02:52:02    9   Q.   No.     I was asking if there was --

02:52:04   10               THE COURT:    Hang on.   Hang on.   You asked if there

02:52:06   11   was such a report.       He answered.   You kind of talked over each

02:52:10   12   other.     I think he's talking about his answer to that

02:52:12   13   question, right?

02:52:13   14               THE WITNESS:    Yes, that's what I -- yes.

02:52:15   15               THE COURT:    And are you saying there was or was not

02:52:17   16   a -- is or is not a report?

02:52:19   17               THE WITNESS:    I'm saying there is a report --

02:52:21   18               MR. LOEVY:    Okay.

02:52:22   19               THE WITNESS:    -- that talks about Mr. Mills' alibi,

02:52:27   20   however you want to call it.

02:52:28   21   BY MR. LOEVY:

02:52:29   22   Q.   Okay.    All right.    Was Mr. Mills a suspect?

02:52:32   23   A.   Yes.

02:52:33   24   Q.   Was there probable cause to arrest him?

02:52:34   25   A.   No.
                J. YORK - Direct Examination                                       60


02:52:39    1   Q.   Is this the report you're talking about about Mr. Mills'

02:52:44    2   alibi?     This is KSP 294.     It's part of the investigative file.

02:52:49    3   It's Plaintiffs' 18.     Is this the report you're talking about?

02:52:57    4   A.   Who done this report?

02:52:59    5   Q.   This looks like a Eubanks report.

02:53:02    6   A.   No.    This is not the one I'm talking about.

02:53:05    7   Q.   Do you know why this report was created on 3-31-2012, you

02:53:09    8   know, a year and a half after the murder, documenting what

02:53:12    9   happened on 12-21-2010?

02:53:16   10   A.   No, I don't remember why Trooper Eubanks did it on that

02:53:21   11   particular day.

02:53:22   12   Q.   All right.

02:53:22   13               MR. LOEVY:   We ask permission to publish, Your Honor.

02:53:26   14   It's part of the file.

02:53:27   15               THE COURT:   It's within Exhibit 1, no?

02:53:29   16               MR. LOEVY:   Yes.

02:53:29   17               THE COURT:   Yeah, you may.

02:53:30   18               MR. LOEVY:   All right.    And these are my yellows.

02:53:32   19   Not on the original.

02:53:33   20   BY MR. LOEVY:

02:53:34   21   Q.   Was it protocol at the KSP to go back to an interview

02:53:37   22   that happened on -- right after the murder and not create a

02:53:40   23   report until 3-31-12?     Is that usual or unusual?

02:53:45   24   A.   That is unusual.

02:53:47   25   Q.   Did you ever backdate your reports like that?       "Backdate"
                J. YORK - Direct Examination                                   61


02:53:51    1   is probably a loaded word.    Did you ever, after the fact,

02:53:54    2   create reports from things that happened many months or weeks

02:53:58    3   before?

02:53:58    4   A.   Yes.    There were times, I think even throughout this

02:54:04    5   case, you know, that, you know, I would supplement or generate

02:54:07    6   a report on something that happened, you know, weeks before.

02:54:12    7   Q.   And you would -- you would still -- I take it you were

02:54:15    8   keeping notes then?

02:54:16    9   A.   I mean, if you want to be more specific.   I mean, on

02:54:21   10   some, yes.

02:54:21   11   Q.   I'm not a homicide detective, but I suspect you had a

02:54:24   12   notebook where you were writing down developments in the case,

02:54:27   13   weren't you?

02:54:28   14   A.   I don't remember using a notebook then, no.

02:54:30   15   Q.   Were you trained that, as you are doing your

02:54:33   16   investigation, you should write things down, take notes, keep

02:54:36   17   track of what people said?

02:54:37   18   A.   Yes.

02:54:38   19   Q.   And did you do that?

02:54:40   20   A.   Sometimes I did.    Sometimes -- you know, like I said,

02:54:46   21   specific --

02:54:47   22   Q.   Where did you keep them?

02:54:49   23   A.   Usually in my office.

02:54:53   24   Q.   And where did you keep them in your office?

02:54:56   25   A.   I don't remember.
                J. YORK - Direct Examination                                     62


02:54:59    1   Q.    All right.   And then Mike Mills --

02:55:04    2              MR. LOEVY:   And then, Your Honor, this is another

02:55:06    3   summary exhibit, but instead of writing it, I already printed

02:55:09    4   it.   I'd ask questions about this for the witness.    I'd ask

02:55:13    5   permission for that.

02:55:14    6              THE COURT:   Just to the witness.

02:55:15    7   BY MR. LOEVY:

02:55:16    8   Q.    You would agree that Mike Mills was a suspect because he

02:55:19    9   had arguments with the victim, too, correct?     You learned that

02:55:22   10   as well?

02:55:22   11   A.    Is it inappropriate that I ask about the report that I'm

02:55:26   12   talking about as alibi because I feel like they need to hear

           13   it?

02:55:33   14   Q.    Not alibi.   Arguments.

02:55:35   15              THE COURT:   You're talking about two different

           16   things.

           17              MR. LOEVY:   Yeah.

02:55:36   18              THE COURT:   Your lawyers are going to get to ask you

02:55:38   19   questions, and they can go back to that area if needed.

02:55:41   20              MR. LOEVY:   That's all right.   I moved on to a

02:55:42   21   different thing.

           22              THE COURT:   Yeah.

           23   BY MR. LOEVY:

02:55:43   24   Q.    You learned, through the investigation, that the grandson

02:55:45   25   and the grandma got into arguments, correct?
                J. YORK - Direct Examination                                       63


02:55:48    1   A.   That is correct.

02:55:49    2   Q.   And you learned about the stolen money, and you covered

02:55:52    3   that, right?

02:55:53    4   A.   Yes.

02:55:53    5   Q.   This said, "lied," but somebody was lying about whether

02:55:57    6   he had been living with the victim, right?

02:55:59    7   A.   Yes.    And, you know, if you'll -- the supplement that I'm

02:56:02    8   talking about goes over that.

02:56:04    9   Q.   Right.

02:56:05   10               MR. LOEVY:    And, Your Honor, I think the confusion is

02:56:06   11   this is not a police report.      I didn't mean to mislead

02:56:10   12   anybody.

02:56:11   13        Can I publish this?

02:56:14   14               MR. MILLER:   No.

           15               THE COURT:    No.

02:56:15   16               MR. MILLER:   I meant object.   Sorry, Your Honor.

02:56:17   17   BY MR. LOEVY:

02:56:18   18   Q.   All right.    Let's talk about Jesse Lawson.    You were in

02:56:20   19   court when he testified, correct?

02:56:21   20   A.   That is correct.

02:56:21   21   Q.   Did you remember him?

02:56:22   22   A.   Yes.

02:56:25   23   Q.   Okay.    Would you agree that, in a homicide investigation,

02:56:27   24   witnesses should be treated different than suspects?

02:56:32   25   A.   Yes, that is a fair statement.
                J. YORK - Direct Examination                                    64


02:56:34    1   Q.   A suspect is someone you have a suspicion might be

02:56:37    2   involved, right?

02:56:38    3   A.   Yes, that is correct.

02:56:40    4   Q.   Whereas, a witness is just a person who might have

02:56:43    5   information about the murder, right?

02:56:45    6   A.   Yes.   That's a general and broad statement, yes.

02:56:48    7   Q.   All right.    You treat those two differently in your

02:56:52    8   investigation.    Would you agree with me?

02:56:53    9   A.   It depends on the circumstances.    I can't say in a broad

02:56:57   10   sense.

02:56:59   11   Q.   All right.    Well, did you generally treat suspects and

02:57:01   12   witnesses the same?

02:57:02   13   A.   It would depend.    Case by case.

02:57:06   14   Q.   All right.    Would you agree that, if someone is just a

02:57:08   15   witness, you shouldn't threaten them?

02:57:18   16   A.   Again, I feel like this is a trick question, but I'm

02:57:20   17   going to say yes.

02:57:21   18   Q.   All right.    You heard Mr. Lawson describe that he's a

02:57:27   19   member of the victim's family, right?

02:57:28   20   A.   Yes.

02:57:29   21   Q.   And he had lost a loved one?

02:57:30   22   A.   Excuse me?

02:57:31   23   Q.   He had lost a loved one.    He had lost someone in his

02:57:35   24   family?

02:57:35   25   A.   You're referring to Ms. Mills?
                J. YORK - Direct Examination                                          65


02:57:37    1   Q.   Yes.

02:57:37    2   A.   Yes, sir.

02:57:37    3   Q.   And he told you and the other officers what he knew,

            4   right?

02:57:41    5   A.   That is a very general, broad statement over time.

02:57:46    6   Q.   All right.    You heard him describe the pressure he says

02:57:50    7   you put on him.    Was that true?

02:57:52    8   A.   Yes.    I heard him say that, yes.

02:57:55    9   Q.   Okay.    Good point.   But was it -- what he described, do

02:57:58   10   you agree that it was an accurate description?

02:57:59   11   A.   No.

02:57:59   12   Q.   What he described, would that have been proper?

02:58:02   13   A.   Which part?

02:58:05   14   Q.   All right.    How about using physical -- touching him,

02:58:07   15   physically, as a witness?       Would that have been proper?

02:58:10   16   A.   I did not physically touch that boy.

02:58:14   17   Q.   All right.    If we could -- do you remember admitting that

02:58:16   18   you did slam him?

02:58:17   19   A.   I never admitted to slamming Jesse Lawson.

02:58:21   20               MR. LOEVY:   All right.    If we could play 72A.   This

02:58:24   21   is from the same tape.      Hold on.   So this is 72, I believe

02:58:29   22   part of Jesse's transcript tape that has already been played.

02:58:32   23   This is a different clip.       72A.

02:58:35   24               THE COURT:   Of the interview --

           25               MR. LOEVY:   Yes.
                J. YORK - Direct Examination                                         66


02:58:36    1               THE COURT:    -- with Jesse Lawson?

02:58:38    2               MR. LOEVY:    Correct.

02:58:39    3               THE COURT:    Any objection?

02:58:40    4               MR. MILLER:    Is he going to play it --

02:58:42    5               MR. LOEVY:    Clip.

02:58:42    6               MR. MILLER:    Okay.    No.

02:58:44    7               THE COURT:    That can be -- that can be played.

02:58:46    8               MR. LOEVY:    That's got visual, too.     This is from, I

02:58:51    9   think, the -- well, you'll set the context.          So we need the --

02:58:55   10               THE COURT:    Hang on.   Is this -- is this in evidence?

02:58:59   11               MR. LOEVY:    This, yeah --

02:59:01   12               MR. SLOSAR:   We did the --

02:59:02   13               MR. LOEVY:    No, we did the Helton one.      We didn't do

02:59:06   14   Lawson.    If it's not in evidence, we're moving it into

02:59:09   15   evidence.

02:59:10   16               THE COURT:    Okay.    Any objection to that?

02:59:10   17               MR. MILLER:    Is this the polygraph?     Is that what

           18   we're --

02:59:12   19               MR. LOEVY:    Yes.

02:59:12   20               MR. MILLER:   Understand what -- no.

02:59:13   21               THE COURT:    Okay.    So this can be admitted?

02:59:16   22               MR. MILLER:    Yes, Your Honor.

02:59:16   23               THE COURT:    Okay.    I'll admit 72A.

02:59:18   24               MR. LOEVY:    That's the clip.

02:59:21   25               MR. SLOSAR:   Is it B or A?    A.   It's A.
                J. YORK - Direct Examination                                         67


02:59:28    1               THE COURT:   Okay.    I'll admit 72A.   It can be

02:59:31    2   displayed to the jury.

02:59:32    3        (Plaintiffs' Exhibit No. 72A was received in evidence.)

02:59:47    4   BY MR. LOEVY:

02:59:47    5   Q.   All right.    Did you -- is that you on the tape?

02:59:50    6   A.   Yes, it is.

02:59:50    7   Q.   He says you slammed him, right?

02:59:54    8   A.   Yes.

02:59:54    9   Q.   And then you said, I'll do it again, time and time again,

           10   didn't you?

02:59:58   11   A.   I'll say this again.        I did not ever slam Jesse Lawson,

03:00:03   12   pick him up or slam him to the ground.

03:00:05   13   Q.   All right.    But -- not to the ground, but you might have

03:00:07   14   slammed him?

03:00:09   15   A.   I'll say this again.        I never physically slammed Jesse

03:00:13   16   Lawson.     I don't know how else clear I can be.

03:00:17   17   Q.   All right.    Did you take him for the polygraph?

03:00:20   18   A.   Yes, I was -- took him to -- yes, that is true.

03:00:26   19   Q.   All right.    Why was he a suspect, or was he a suspect or

03:00:29   20   a witness?

03:00:30   21   A.   See, when we started this, Jesse and Allen, both,

03:00:37   22   continually would give us bits of information, and it got to

03:00:43   23   the point they started, like, telling on one another and

03:00:48   24   giving us bits and pieces of information, and we took them

03:00:53   25   both to a polygraph.
                J. YORK - Direct Examination                                     68


03:00:56    1   Q.   All right, sir.    If I just heard you correctly, you're

03:00:59    2   saying Jesse and Allen started telling on each other?     That's

03:01:02    3   what you just said, right?

03:01:03    4   A.   You can hear that in the polygraph.

03:01:05    5   Q.   So why didn't you tell the prosecutor that Allen was

03:01:08    6   saying Jesse was involved?

03:01:11    7   A.   They were -- that's my mistake.    Okay?   When I say that,

03:01:19    8   they was not saying that each other one killed, but they was

03:01:23    9   saying, like, for example -- I'll give you an example because

03:01:29   10   I feel like he's trying to put words in my mouth.

03:01:30   11        After -- after Ms. Mills died, that Jesse was going

03:01:37   12   around to drug dealers and had plenty of money when he

03:01:42   13   shouldn't have.     That's an example I can give you.

03:01:44   14   Q.   All right.    Why didn't you memorialize any of that?

03:01:47   15   A.   If that's not written down, you know, that is absolutely

03:01:53   16   on me, and that should be written down, and that's my mistake,

03:01:56   17   and I own it.     But I did not fabricate anything.

03:01:58   18   Q.   All right.    But you do own that there is no reports

03:02:02   19   explaining why Jesse was a suspect, right?

03:02:05   20   A.   I think what you are just playing did.

03:02:08   21   Q.   Well, that's you yelling at him.    But there's no report

03:02:12   22   that says, I have reason to believe Jesse might have been

03:02:14   23   involved because he's got money or whatever the reasons are?

03:02:18   24   It's lost to time, right?

03:02:19   25   A.   We can agree that there's -- I did not do a supplement --
                J. YORK - Direct Examination                                        69


03:02:22    1   Q.   Yeah.

03:02:23    2   A.   -- like they looked at before or that's outlined.       That

03:02:27    3   would be a fair and accurate statement.

03:02:29    4   Q.   So if you were to now remember why Jesse was a suspect at

03:02:33    5   the time, we would have to either rely on your memory or it's

03:02:36    6   gone, right?

03:02:36    7   A.   Can you say that again, please?

03:02:43    8   Q.   When Amanda and Jonathan were on trial, didn't they have

03:02:48    9   a right to know that there was a reason why Jesse might have

03:02:51   10   been guilty?     You would agree with that, right?

03:02:53   11   A.   It's my understanding that the polygraphs were available

03:02:56   12   to them.     If it wasn't, that's my bad.   I'm not saying

03:03:00   13   exactly -- but I just assumed that the polygraphs were

03:03:03   14   available to them.

03:03:03   15   Q.   The polygraphs were, sir, but the reason why Jesse Lawson

03:03:07   16   was taken down there and asked about the murder, you never

03:03:11   17   wrote that down, did you?

03:03:13   18   A.   That is correct, that I remember I didn't.

03:03:16   19   Q.   All right.    And, in fact, we have Plaintiffs' Exhibit 4,

03:03:19   20   which is KSP 270.

03:03:22   21              MR. LOEVY:    We could publish this.

03:03:24   22              THE COURT:    You may.

03:03:25   23   BY MR. LOEVY:

03:03:25   24   Q.   All it says is that you took him for a polygraph, right?

03:03:29   25              MR. MILLER:    Object.
                J. YORK - Direct Examination                                        70


03:03:30    1               THE COURT:    What's the objection?

03:03:32    2               MR. MILLER:    It's mischaracterizing.   That's not all

03:03:36    3   it says.    Ask it the right way.

03:03:39    4               THE COURT:    Mr. York can respond to the question as

03:03:42    5   he sees fit.

03:03:44    6               THE WITNESS:   Can you ask the question again, please?

03:03:46    7               MR. LOEVY:    Your Honor, may I withdraw the question?

03:03:51    8               THE COURT:    You may.

03:03:51    9   BY MR. LOEVY:

03:03:52   10   Q.   And I -- I think I owe you an apology, sir, because there

03:03:59   11   is some information in this report about Jesse Lawson.       Let me

03:04:02   12   show you.    And where we both got confused is you never made a

03:04:14   13   sup report on Jesse Lawson, right?

03:04:14   14   A.   I'm not going to speculate what was in your head or what

03:04:16   15   you was trying to get to.      I'm sorry.

03:04:20   16   Q.   I'm just asking you to agree, we both agree, that you

03:04:21   17   never made a sup report on Jesse Lawson, correct?

03:04:24   18   A.   Can you ask that question again?

03:04:26   19   Q.   You know how like for Simpson and Christy Brantly [sic]

03:04:30   20   and all the other suspects.      You made a sup case, right?

03:04:35   21   A.   A what?

03:04:35   22   Q.   Supplemental case report?

03:04:36   23   A.   Like this what we're looking at.       This is a supplement.

03:04:39   24   Q.   All right.    And down here you do talk about Jesse Lawson,

03:04:41   25   saying that he called Mike to buy a pain pill.       He stated to
                J. YORK - Direct Examination                                       71


03:04:45    1   Mike about Katherine.     Mike started to cry.    Jesse stated that

03:04:50    2   Cleo Brown told him that Simpson wanted to see Mills.       I

03:04:54    3   interviewed Jesse several times, and every time I interview

03:04:57    4   him, he gives me more information.      That's a summary of what

03:05:00    5   you've written there?

03:05:01    6   A.   Yes.

03:05:02    7   Q.   Okay.    Why didn't you write down the more information?

03:05:05    8   A.   Again, that's absolutely something that -- it should have

03:05:09    9   been written -- it should have been more written there, and

03:05:11   10   that's on me.

03:05:15   11   Q.   All right.    Did you ever check out Jesse's alibi?

03:05:18   12   A.   I don't remember Jesse's alibi ever being that he killed

03:05:28   13   or not.

03:05:28   14        What I remember is, like I said, every time we talked to

03:05:32   15   them, they would give more information.        And as this would

03:05:37   16   continue, we'd get more and more.

03:05:39   17        And so he brought up the polygraph test.       As a result of

03:05:46   18   the polygraph test, you know, they failed.       But one of the

03:05:50   19   things that later we found out is that he left out -- and this

03:05:55   20   is, you know, a possible explanation why he failed the

03:06:00   21   polygraph.

03:06:01   22   Q.   The question was about alibi.

03:06:03   23   A.   I'm sorry.

03:06:04   24               THE COURT:   Hang on.   Hang on.   Finish that thought.

03:06:05   25   And then he's going to ask the next question.
                J. YORK - Direct Examination                                        72


03:06:07    1               THE WITNESS:   Okay.   We wasn't looking as far as an

03:06:11    2   alibi where Jesse was.     But part of the polygraph was, you

03:06:16    3   know, did you have information or something pertaining to

03:06:18    4   that?   It was like three relevant questions.

03:06:21    5        But, anyway, when he failed, his explanation was, number

03:06:25    6   one, that he didn't give us information about Amanda, and I

03:06:31    7   think it was in regards to stealing a truck or something like

03:06:34    8   that, and that he had, I think, possible -- that he'd actually

03:06:41    9   heard William Lester, at some point, talked about Katherine

03:06:45   10   having money and talked about going to rob her and take the

03:06:49   11   money, tie her up or something to that effect.

03:06:52   12   BY MR. LOEVY:

03:06:53   13   Q.   Where is that coming from?      Is that in writing?

03:06:56   14   A.   The part about Amanda is on the polygraph video.

03:07:02   15   Q.   Where you are asking him?

03:07:04   16   A.   Um-hum.    And then I cannot remember if it was the

03:07:09   17   polygraph examiner or not, and then the part later about

03:07:13   18   the -- William Lester, obviously, that probably should have

03:07:20   19   been documented, but at the time William Lester, you know, has

03:07:24   20   told us he said it.

03:07:26   21   Q.   All right.    Well, I'm going to get back to the question

03:07:28   22   here.

03:07:28   23        You took Jesse Lawson to a polygraph, right?

03:07:30   24   A.   Yes.

03:07:31   25   Q.   You asked him, Did you participate in the death, did you
                J. YORK - Direct Examination                                       73


03:07:33    1   hit her, did you steal her money?      Those were the questions,

            2   right?

03:07:36    3   A.   I did not ask him.

03:07:37    4   Q.   Somebody asked him, right?

03:07:38    5   A.   Yes.

03:07:38    6   Q.   He failed all three?

03:07:40    7   A.   Well, I need to explain this.      So --

03:07:43    8   Q.   Well, he asked the questions.      The polygrapher said he

03:07:46    9   failed.     There's nothing to explain.   He failed, right?

03:07:48   10               THE COURT:   Hang on.   You asked him if he failed all

03:07:50   11   three.    That's the question.

03:07:51   12               THE WITNESS:   It's my understanding, on a polygraph,

03:07:54   13   that if you fail one question, you failed the test.

03:08:00   14        It's my understanding that Jesse's only deception was

03:08:05   15   taken from one question, if my recollection is correct, but,

03:08:11   16   like I said, it's there on the polygraph.

03:08:14   17   BY MR. LOEVY:

03:08:14   18   Q.   He failed, though?     The polygrapher said "deception

03:08:21   19   indicated," right?

03:08:22   20   A.   That is true.

03:08:24   21   Q.   All right.    So did you say, Jesse, listen, we asked you

03:08:26   22   some questions about this murder, you failed the polygraph,

03:08:28   23   what's your alibi?

03:08:28   24   A.   I don't think those exact words ever came out.      Right

03:08:32   25   after the test, the polygraph examiner came in and talked to
                J. YORK - Direct Examination                                       74


03:08:38    1   him, and I feel like the best way, you know, instead of me

03:08:42    2   trying to articulate what was said, just play the -- play it.

03:08:46    3   Q.   All right.   You took no steps to investigate his alibi,

03:08:49    4   right?

03:08:50    5   A.   Again --

03:08:52    6              THE COURT:   Just yes or no, and then you can answer.

03:08:55    7              THE WITNESS:   No.   And to explain that some more, the

03:09:00    8   way I understood polygraphing and, like I said, this would

03:09:02    9   save so much time and headache if we just played it, but

03:09:06   10   Mr. -- the way I understood it, Jesse Lawson didn't fail the

03:09:10   11   part "Did you hit Katherine in the head?"      Is it -- that you

03:09:14   12   could possibly have knowledge or something to the effect.

03:09:17   13        And so as far as looking at him, where he was at or the

03:09:21   14   alibi, I didn't -- I didn't understand that's what was

03:09:27   15   coming -- from the polygraph.

03:09:28   16   BY MR. LOEVY:

03:09:29   17   Q.   All right.   Mr. Lawson alleged you basically came over

03:09:31   18   and kicked down his door and F this and F that.      Did that

03:09:35   19   happen?

03:09:35   20   A.   No.   I never did break in his house and kick the door

03:09:39   21   down.

03:09:40   22   Q.   All right.   Did you kick on his door?

03:09:41   23   A.   I never kicked his door, no.

03:09:46   24   Q.   All right.   How about F this, F, F?     Did you do that?

03:09:49   25   A.   I did not -- I did not ever F this, F that in his house
                J. YORK - Direct Examination                                         75


03:09:57    1   in front of his kids.

03:09:57    2        Could I possibly have said that during the course of this

03:10:01    3   investigation?    Absolutely.

03:10:02    4   Q.   All right.    So you're not ruling out that sometimes you

03:10:04    5   used rough language?

03:10:05    6   A.   No, I'm not.

03:10:06    7   Q.   All right.    I'm going to show you Plaintiffs' Exhibit 1,

03:10:10    8   page 117, which is the polygraph report.       This is the Lawson

03:10:17    9   polygraph report.    This is the second page.    Page 118.

03:10:21   10               MR. LOEVY:   Permission to publish this, Your Honor.

03:10:23   11               THE COURT:   You may.

03:10:24   12   BY MR. LOEVY:

03:10:24   13   Q.   This is the report 1-21-11, Jesse Lawson.      Victim

03:10:30   14   suffered wounds, was interviewed, denied the death, and on the

03:10:36   15   next page says, it was concluded that deception was indicated

03:10:39   16   when the examinee was asking the relevant questions.         Did you

03:10:42   17   participate in any way in the death of that woman?       No.   Did

03:10:45   18   you hit that woman in the head?      No.   Did you steal any of the

03:10:48   19   missing money?    No.

03:10:50   20        All right.    So that's what the report said, right?      Let's

03:10:53   21   start with that question.       That's what the report says, right?

03:10:56   22   A.   Yes.

03:10:56   23   Q.   I think you have already testified you had a different

03:10:58   24   understanding of what that report meant, right?

03:11:00   25   A.   Yes.
                J. YORK - Direct Examination                                          76


03:11:02    1   Q.    And did you -- for that reason --

03:11:07    2   A.    That was for Jesse; is that correct?

03:11:09    3   Q.    Yes.    All right.   You did take Jesse to the station,

03:11:12    4   right?

03:11:13    5   A.    What specific date?

03:11:14    6   Q.    How about the time he was talking about in court.     He

03:11:17    7   says you came to his house, dragged him to the station.         Did

03:11:20    8   that happen?

03:11:21    9   A.    No.    If I remember correctly, he drove.    And the reason

03:11:24   10   why I say that is he stated that we tried to use him as a

03:11:29   11   confidential informant, and he actually drove his truck, his

03:11:33   12   own truck, to Cleo Brown's, if I remember correctly.       I think

03:11:37   13   so.

03:11:37   14   Q.    And we would know if we had a report, right?

03:11:40   15   A.    That's true.

03:11:41   16   Q.    So you -- he says that he became a confidential informant

03:11:45   17   later.      Is that consistent with your memory?

03:11:47   18   A.    Define later.

03:11:51   19   Q.    Well, the first encounter he claims he had with this case

03:11:53   20   is you dragging him out of his house, bringing him down to

03:11:56   21   questioning.     Do you deny that?

03:11:57   22   A.    I deny dragging him out of the house.

03:12:02   23   Q.    How many times would you say you interviewed Mr. Lawson?

03:12:08   24   A.    I can't even begin to tell you an accurate number of time

03:12:13   25   I talked to Jesse Lawson in regards to this investigation.
                J. YORK - Direct Examination                                     77


03:12:14    1   Q.   You probably should have had notes of that, right?

03:12:16    2   A.   Again, that's on me.    Absolutely, I should have had

03:12:20    3   notes, but, again, when we -- this first happened, like, we

03:12:25    4   would have family meetings, and Jesse's part of the family.

03:12:29    5   And we would meet, and at the time -- and I still -- I would

03:12:33    6   even do this today.     I wouldn't document, you know, if we had

03:12:37    7   a family meeting and there was nothing, you know, discussed

03:12:46    8   so...

03:12:47    9   Q.   All right.    Did you accuse Lawson of being a murderer?

03:12:51   10   A.   That could have came out of my mouth.    I don't remember

03:12:54   11   those specific words.

03:12:55   12   Q.   All right.    Did you give Jesse the impression that you,

03:12:57   13   the police, thought he was the murderer and, unless he gave

03:13:00   14   you something, he was going down for it?     Did you give him

03:13:03   15   that impression?

03:13:04   16   A.   I can't stipulate what Jesse thought or not.

03:13:08   17   Q.   Was it your intention to say to Jesse, Jesse, you failed

03:13:12   18   that polygraph, you're going to go down for this murder unless

03:13:15   19   you give me something?     Was that your intention?

03:13:18   20   A.   If I said anything, it would be -- if anybody -- and this

03:13:24   21   is anybody -- if they know something about a murder and not

03:13:27   22   telling us, absolutely, they could potentially be charged.

03:13:30   23   Q.   All right.    Because you agree with me there's a couple

03:13:34   24   ways you could do it.    You could say, Jesse, let's have a

03:13:36   25   conversation.     Do you know anything about it?   And he told
                J. YORK - Direct Examination                                    78


03:13:38    1   you -- he told you he didn't know anything about it, right?

03:13:41    2   A.   At which specific time?

03:13:43    3   Q.   How about the first 100 times you asked him?

03:13:45    4   A.   I don't remember as far as that.

03:13:48    5   Q.   Do you appreciate the danger, though, if you tell someone

03:13:52    6   they're going to go down for murder unless you give me

03:13:55    7   something and you won't accept no for an answer, you might end

03:13:59    8   up getting bad information?

03:14:01    9   A.   Again, if somebody has knowledge about a murderer, then

03:14:04   10   absolutely, they would get in trouble, but if nobody

03:14:08   11   participated or had knowledge, no.

03:14:12   12   Q.   All right.   Jesse described this about Cleo Brown and

03:14:14   13   wearing a wire.   There's no reports about that, correct?

03:14:21   14   A.   Actually, I'm not trying to be smart.   I think you just

03:14:23   15   read it.

03:14:24   16   Q.   About wearing a wire?

03:14:26   17   A.   No.   About Cleo Brown.

           18   Q.   Yeah.

03:14:27   19   A.   I'm sorry.   I'm sorry.

03:14:27   20   Q.   How about the part where you sent your guy in there

03:14:31   21   wearing a wire and he didn't confirm what you hoped?   That you

03:14:34   22   didn't write down, right?

03:14:36   23   A.   That initial day I don't -- probably not because he

03:14:40   24   didn't talk to her.

03:14:41   25        Now -- and I can't remember later.   There could have been
                J. YORK - Direct Examination                                     79


03:14:47    1   another time -- and I think -- I'm sure there was.     We sent

03:14:49    2   him back, and I can't remember that's documented or not.

03:14:52    3   Q.     The reason you can't remember is because you haven't seen

03:14:56    4   any reports on that, right?

03:14:57    5   A.     That's correct.

03:14:59    6   Q.     All right.   Did Jesse -- he sort of pointed his finger

03:15:02    7   over at Simpson, right?

03:15:03    8   A.     His entire -- I mean, he was one of them in his family,

03:15:12    9   yes.

03:15:12   10   Q.     And he never gave you any information that Amanda or

03:15:15   11   Jonathan were involved, correct?

03:15:18   12   A.     Who?

03:15:18   13   Q.     Jesse Lawson.

03:15:21   14   A.     Gave me information that Amanda?

03:15:24   15   Q.     Right.

03:15:25   16   A.     I want to elaborate and say that he gave us information

03:15:29   17   that Amanda possibly could be.

03:15:32   18   Q.     Because she stole the toy truck?   Is that what you mean,

           19   sir?

03:15:39   20   A.     No, not the toy truck, the real truck.

03:15:41   21   Q.     So you're saying that Jesse said she stole a truck?

03:15:44   22   A.     Uh-huh, yeah, that's the way I understood it.

03:15:46   23   Q.     Is that in a report?

03:15:47   24   A.     It's in the polygraph.

03:15:48   25   Q.     All right.   And if I'm understanding correctly, you'll
                J. YORK - Direct Examination                                     80


03:15:50    1   show me during the break, if you could -- if you could find

03:15:53    2   that.   I don't want to take the jury's time, but if I'm wrong,

03:15:56    3   you'll show me.    Okay?    Can I ask you to --

03:15:57    4               MR. MILLER:    Object.

03:15:59    5               THE COURT:    We'll deal with that off the record.

            6   Thank you.

03:16:01    7               MR. LOEVY:    All right.

03:16:01    8   BY MR. LOEVY:

03:16:02    9   Q.   You did go to talk to Mike Simpson, correct?

03:16:08   10   A.   Yes, I have talked to Mike Simpson.

03:16:09   11   Q.   All right.    And Mike Simpson was a suspect, right?

03:16:12   12   A.   Yes.

03:16:13   13   Q.   Why was Mike Simpson a suspect?

03:16:16   14   A.   Through the course of the investigation, we discovered

03:16:21   15   that there was a trip to Florida that you've all heard about,

03:16:27   16   that December the 19th, and, like I said, I'm just -- I'm not

03:16:31   17   giving the chronological order.        But, for example, Mike

03:16:35   18   Simpson was like broke on like the 19th, but the next day, he

03:16:43   19   came up with the money and went to Florida and throughout the

03:16:48   20   course of the investigation, we felt like that he,

03:16:52   21   potentially, could have been involved in that way, and as

03:16:56   22   well, another thing, because I want to make sure I tell you

03:16:58   23   everything I know, is, like, when we did the vehicle

03:17:04   24   description from -- or Michael Crump, I think during a family

03:17:10   25   meeting, if I'm remember correctly, one of the granddaughters
                J. YORK - Direct Examination                                     81


03:17:15    1   said that that sounds like Mike Simpson.

03:17:21    2        Did I answer your question?

03:17:22    3   Q.   Yeah, but I want to go back to the last part because

03:17:25    4   that's new to me.     One of the granddaughters said it sounds

03:17:30    5   like Mike Simpson?     Who is that?

03:17:30    6   A.   Oh, I thought we were talking about -- I'm sorry.       I

03:17:32    7   thought we were talking about Mike Simpson.

03:17:33    8   Q.   We are talking about Mike Simpson, but what are you

03:17:36    9   talking about?

03:17:36   10   A.   I'm talking about, during one of the family meetings, if

03:17:38   11   I remember correctly, one of the granddaughters said, That

03:17:43   12   sounds like Mike Simpson, as far as, you know, Mr. Crump.

03:17:46   13   Q.   All right.     Mike Simpson was a drug dealer, right?

03:17:50   14   A.   Yes.

03:17:50   15   Q.   He had a lengthy criminal record?

03:17:52   16   A.   Yes.

03:17:53   17   Q.   And he did rent a blue car on the day of the murder,

           18   right?

03:18:01   19   A.   I think, in the opening, the way I understood it, he said

03:18:04   20   a blue Cavalier.     I'm under the understanding that it was a

03:18:08   21   Volkswagen bug, and I think -- my memory, it's silver or light

03:18:13   22   green.

03:18:13   23   Q.   All right.     Do we have a picture of Simpson's car?

03:18:18   24        While we are looking for that -- hold off on that for a

03:18:21   25   second.     Okay?
                J. YORK - Direct Examination                                    82


03:18:22    1        Was Crump sure what kind of car it was?

03:18:24    2   A.   He -- if I remember, it was somewhere along the lines of

03:18:29    3   like a Cavalier or Pontiac Sunfire, along those lines.

03:18:33    4   Q.   All right.   So he wasn't claiming to be exactly positive

03:18:35    5   of what color.    It could have been something like that color?

03:18:38    6   Is that your memory, or was he certain?

03:18:39    7   A.   My memory, as far as he wasn't clear on the make and

03:18:45    8   model, but I thought it was -- he was sure on the blue.

03:18:49    9   Q.   All right.   And he did go to Florida on the day of the

03:18:51   10   murder, right?

03:18:53   11   A.   Yes.

03:18:53   12   Q.   And he went with Allen Helton?

03:18:55   13   A.   Yes.

03:18:56   14   Q.   And he was broke the day before and was telling somebody

03:19:00   15   he'd come into the money the next day, and sure enough he did?

03:19:03   16   A.   That is an accurate statement, yes.

03:19:05   17   Q.   All right.   As a homicide detective, you said to

03:19:08   18   yourself, wow, that's pretty powerful information, right?

03:19:12   19   A.   I can't articulate the words, but, yes, that was, you

03:19:16   20   know, something that needed to be looked at.    I can't say I

03:19:20   21   said, Oh, that's powerful.

03:19:21   22   Q.   And the purpose of the trip was to buy his pills, and

03:19:24   23   that's what he did?

03:19:25   24   A.   Yes.

03:19:26   25   Q.   And then you actually sent subpoenas to prove that he was
                J. YORK - Direct Examination                                        83


03:19:29    1   broke for his utility bills, didn't you?

03:19:32    2   A.    I don't remember subpoenas to determine that he was

03:19:38    3   broke.   Can you explain that?

03:19:40    4   Q.    Or maybe -- did you send subpoenas to his utility bills

03:19:42    5   to see if he paid them when he got back, or why did you send

03:19:47    6   subpoenas?

03:19:47    7   A.    During the course, yes.      I mean, I wanted -- well, I

03:19:50    8   don't want to jump ahead of you.       But it was determined that

03:19:54    9   Mike Simpson was involved, possibly.

03:20:14   10   Q.    All right.    Did Crump -- well, let me show you this.

03:20:14   11   This is Plaintiffs' Exhibit 27, and I'd ask you to identify

03:20:18   12   it.   You need to see more of it?

03:20:20   13   A.    Just which part do you want me to look at, sir?

03:20:22   14   Q.    Well, I just want you to see if you can identify what

03:20:25   15   this is so I can move to admit it.

03:20:26   16             MR. MILLER:     I will object to that exhibit after he

03:20:28   17   looks at it.

03:20:29   18             THE WITNESS:     Okay.   I got confused because you all

03:20:32   19   were arguing.      You asked me a question.   What's the question?

03:20:36   20   BY MR. LOEVY:

03:20:36   21   Q.    You know what this is, right?

03:20:37   22   A.    I know what it says.

03:20:38   23   Q.    Tell us what it is.

03:20:39   24   A.    It says Affidavit For Search Warrant.

03:20:42   25   Q.    Obtained by who?
                J. YORK - Direct Examination                                        84


03:20:43    1   A.   Myself.

03:20:45    2   Q.   And why did you obtain this search warrant?

03:20:48    3   A.   Could you hold it back up?

            4   Q.   Sure.

03:20:51    5   A.   I'm trying to read it.         Can you scroll up some more?

03:20:58    6   Q.   This way or this way?

03:21:00    7   A.   That -- keep going.         Hold it right there, please.

03:21:02    8   Q.   Sure.

03:21:08    9               MR. LOEVY:    Your Honor, we are going to move to admit

03:21:10   10   this evidence.

03:21:11   11               THE WITNESS:   Okay.     Can you go to the next page,

03:21:13   12   please?

           13   BY MR. LOEVY:

03:21:16   14   Q.   Sure.    These are my markings.

03:21:29   15   A.   Yes, I'm reading that, and I'm going to tell you,

03:21:33   16   obviously, that's a poor choice of words that I used.

03:21:34   17               THE COURT:    Hang on.    He's just asking about the

03:21:37   18   document.

03:21:37   19               MR. MILLER:    I'm going to object to the document,

03:21:40   20   Your Honor, before we get much further.

03:21:49   21        (Sidebar conference.)

03:21:49   22               THE COURT:    Can you hear, Mr. Loevy?

03:21:50   23               MR. LOEVY:    Yes.

03:21:51   24               THE COURT:    What's the objection?

03:21:53   25               MR. MILLER:    Your Honor, in similar fashion but not
                J. YORK - Direct Examination                                        85


03:21:55    1   under the same category is Rehberg versus Paulk, but there's

03:22:01    2   also an immunity case that says applications for arrest

03:22:06    3   warrants and/or search warrants, information placed inside

03:22:11    4   those or sworn statements, or similar to that effect, and also

03:22:13    5   carry with them the immunity that the others do.      I don't know

03:22:16    6   the exact case on point off the top of my head.

03:22:19    7            MR. LOEVY:     This is part of the investigative file.

03:22:22    8   I think I can shorten --

03:22:24    9            MR. MILLER:    It is not --

03:22:33   10            MR. SLOSAR:    Your Honor, he did four of these, which

03:22:37   11   are part of Plaintiff's 1.    If you go to 85, page 85, and it's

03:22:43   12   my understanding --

03:22:44   13            THE COURT:     Is it within Exhibit 1?

03:22:46   14            MR. MILLER:     Yes, Your Honor.

03:22:47   15            THE COURT:     Then it's in evidence.    Exhibit 1, all of

03:22:50   16   it is in evidence.

03:22:51   17            MR. MILLER:     All right.

03:22:52   18            THE COURT:     So if you find a case and you want to

03:22:55   19   make some kind of argument about it, I'll give it

03:22:59   20   consideration, but --

03:23:01   21            MR. LOEVY:     I lost the audio.

03:23:03   22            THE COURT:     I said if -- how about now?    Okay.    I

03:23:10   23   said, if you have a case and you want to cite it to me, I'll

03:23:13   24   be glad to look at it, but it's already in evidence.      The

03:23:17   25   horse is out of barn on that.    So if it's in evidence, it can
                J. YORK - Direct Examination                                        86


03:23:21    1   be published.

            2               MR. MILLER:    Thank you, Your Honor.

            3        (Sidebar conference concluded.)

03:23:24    4               MR. LOEVY:    Your Honor, we move this exhibit in

03:23:27    5   evidence.

03:23:27    6               THE COURT:    It's in evidence, so it can be published.

03:23:29    7               MR. LOEVY:    We'd like to publish it.

            8   BY MR. LOEVY:

03:23:30    9   Q.   All right.    This is an affidavit for a search warrant

03:23:32   10   created by you, correct?

03:23:33   11   A.   Yes.

03:23:33   12   Q.   You were seeking phone records, it looks like?

03:23:35   13   A.   Yes.

03:23:37   14   Q.   And you submitted an affidavit in conjunction with it,

           15   correct?

03:23:44   16   A.   Yes.    This is what we're looking at, right?

03:23:47   17   Q.   February the 4th --

03:23:49   18               THE COURT:    Hang on.   Hang on.   Are you asking or

03:23:52   19   testifying that this is what you're looking at?        It didn't

03:23:54   20   sound like a question.

03:23:55   21               THE WITNESS:   Yeah, I asked him if this is the second

03:23:57   22   part, is this what you are saying is the affidavit?

03:23:59   23   BY MR. LOEVY:

03:24:00   24   Q.   Two pages.

03:24:00   25               THE COURT:    I want him to say what the document is.
                J. YORK - Direct Examination                                       87


03:24:02    1   So the problem is you can't see the whole page.      So if you can

03:24:06    2   scroll out or zoom out.

03:24:10    3               MR. LOEVY:   Okay.

03:24:14    4               THE WITNESS:   I can't read that.

03:24:16    5               THE COURT:   A little bit too much?

03:24:18    6               THE WITNESS:   It's blurry.   But what's your question

03:24:21    7   again?   I'm sorry.

03:24:22    8   BY MR. LOEVY:

03:24:23    9   Q.   This is the affidavit that you submitted in support of

03:24:25   10   the search warrant?

03:24:26   11   A.   Yes.

03:24:27   12   Q.   All right.    Let's take a look at what you -- by the way,

03:24:32   13   the date is February 4th, about a month and a half after the

03:24:37   14   investigation had started, right?

03:24:38   15   A.   That is correct.

03:24:39   16   Q.   See if we can zoom it down so it can be readable.      Mike

03:24:50   17   Simpson gave this unit number -- I'm sorry -- gave this unit a

03:24:53   18   phone number as contact number for him.      Mr. Simpson has been

03:24:58   19   identified -- again my markings, not anybody else's.

03:25:02   20   Mr. Simpson has been identified by Mr. Crump, TK, being at

03:25:07   21   Katherine Mills' residence in the morning she was robbed and

03:25:10   22   found dead.

03:25:10   23        Also Jesse Lawson and Allen Helton, both, stated to this

03:25:14   24   unit that Mr. Simpson started crying when Jesse told him about

03:25:18   25   Katherine via telephone call Jesse made to him the day after
                J. YORK - Direct Examination                                       88


03:25:22    1   Katherine was found dead.

03:25:23    2         You wrote that in your affidavit, right?

03:25:26    3   A.    Yes.

03:25:26    4   Q.    And you swore it under oath?

03:25:27    5   A.    Yes.    Can I elaborate?

03:25:31    6                MR. LOEVY:   It's up to Your Honor, but I'm asking

03:25:33    7   questions here.

03:25:34    8                THE COURT:   What's your next question?

03:25:38    9   BY MR. LOEVY:

03:25:39   10   Q.    Can you elaborate?

03:25:43   11   A.    Honestly, the part "Mr. Simpson has been identified by

03:25:51   12   Michael Crump," that supports poor choice words.       That's on

03:25:55   13   me.   It should have been described somebody who looked like

03:25:58   14   that.   That's a mistake.

03:25:59   15   Q.    All right.    You understood it was a mistake that has

03:26:01   16   significant consequences, right?

03:26:05   17   A.    Obviously with you, yes, but at the time that was an

03:26:11   18   honest mistake.

03:26:14   19   Q.    Because Simpson had not been identified by Crump?

03:26:17   20   A.    No.    And I've stated throughout this entire case that

03:26:22   21   Mr. Crump never did positively ID somebody as for sure.

03:26:44   22   Q.    You did hear that Mr. Simpson got this phone call on the

03:26:48   23   way back to Florida, right?

03:26:49   24   A.    Yes, the one that we're -- referring to the one where

03:26:54   25   Jesse and Allen said he started crying; is that correct?
                J. YORK - Direct Examination                                         89


03:26:58    1   Q.     Yeah, and that's an unusual reaction, right?

03:27:01    2   A.     Yes.

03:27:01    3   Q.     So you decided to go talk to him?

03:27:04    4   A.     Yes.

03:27:06    5   Q.     And you caught up with him on December 24th, the day he

03:27:09    6   got back from Florida?

03:27:10    7   A.     I believe that was the date, yes, uh-huh.

03:27:15    8   Q.     And did you see the car, the -- the VW?

03:27:19    9   A.     Yes.

03:27:20   10   Q.     And did you photograph Simpson?

03:27:23   11   A.     If I remember correctly, I did.

03:27:27   12   Q.     All right.    This is Plaintiffs' Exhibit 2.     It's pages

03:27:33   13   5 -- actually maybe the -- (unintelligible) maybe it -- are

03:27:36   14   you able to pull it up?        Is it hard to document over or --

03:27:43   15                 THE COURT:    Hard to what?

03:27:44   16                 MR. LOEVY:    Can she do it on her computer?   Thank

03:27:46   17   you.

03:27:48   18   BY MR. LOEVY:

03:27:49   19   Q.     That's page 5, page 6, page 7, and page 8.       All right.

03:27:56   20   Can you identify those?

03:27:57   21   A.     That's Michael Simpson.

03:28:01   22                 MR. LOEVY:    Okay.   We move to admit those, Your

           23   Honor.

03:28:04   24                 THE COURT:    Any objection?

03:28:04   25                 MR. MILLER:   They're already admitted.
                J. YORK - Direct Examination                                          90


03:28:06    1               THE COURT:   Hang on.   They're within 1?   Okay.   But

03:28:08    2   you're moving to admit them as Exhibit 2?

03:28:13    3               MR. LOEVY:   Yes.

03:28:13    4               THE COURT:   Okay.   They are admitted.

03:28:13    5        (Plaintiffs' Exhibit No. 2 was received in evidence.)

03:28:13    6   BY MR. LOEVY:

03:28:15    7   Q.   Mr. Simpson cooperated and allowed himself to be

03:28:17    8   photographed?

03:28:17    9   A.   Yes.

03:28:18   10   Q.   And this is what you saw that day?      This is how he

03:28:24   11   appeared?    In other words, this is what Mr. Simpson looked

03:28:27   12   like?

03:28:27   13   A.   Yes.

03:28:29   14               MR. LOEVY:   All right.   Show him the next page, too,

03:28:31   15   and the next page and the next page.

           16   BY MR. LOEVY:

03:28:33   17   Q.   So it looked to you like there was some resemblance to

03:28:38   18   that sketch, right?      That's how you saw it?

03:28:40   19   A.   I think that's a fair statement, that there is possibly

03:28:43   20   some resemblance.

03:28:44   21   Q.   And when you walked up there, Simpson was wearing a

03:28:47   22   hoodie, right?

03:28:49   23   A.   I can't remember if he was wearing a hoodie when we first

03:28:52   24   arrived or not.    He could have been.    I don't remember.

03:28:55   25   Q.   Well, when you first arrived?      I mean are you drawing a
                J. YORK - Direct Examination                                    91


03:28:59    1   distinction?    Did you see Simpson wearing a hoodie?

03:29:01    2   A.   I thought you asked me when I first arrived, he was

03:29:03    3   wearing a hoodie?

03:29:04    4   Q.   Did he put one on?

03:29:05    5   A.   At some point he could have.     I mean, I just was

03:29:09    6   answering your question.     I thought that's what you asked.

03:29:11    7   Q.   Okay.    Was he's wearing a hoodie?

03:29:13    8   A.   I don't remember if he was wearing a hoodie when we first

03:29:16    9   got there.

03:29:18   10   Q.   All right.    Maybe it's in the photograph.

03:29:23   11               MR. LOEVY:   Can you show the photograph again?

           12   BY MR. LOEVY:

03:29:27   13   Q.   All right.    This does look like a thing with a hood,

03:29:31   14   right?   Would you agree?    You have it on the screen.

03:29:37   15   A.   What's the question?     I thought you was talking to

03:29:39   16   somebody else.

03:29:40   17   Q.   It looks like he's wearing a thing with a hood, right?

03:29:43   18   A.   I would agree, yes, it's a sweatshirt with a hood on it.

03:29:48   19   Q.   Okay.    That's all I was asking.     It looks like he's

03:29:50   20   holding something there, too, right?

03:29:52   21   A.   Yes.

03:29:54   22   Q.   And was he a suspect?

03:29:55   23   A.   Yes, he was.

03:29:56   24   Q.   And he did something unusual when you walked up, right?

03:30:01   25   A.   Yes.
                J. YORK - Direct Examination                                    92


03:30:02    1   Q.   He handed you a yellow sticky note, right?

03:30:06    2   A.   Yes.

03:30:06    3   Q.   And he told you, This is my alibi?

03:30:09    4   A.   That is correct.

03:30:10    5   Q.   So you hadn't told him why you were there, right?

03:30:13    6   A.   No, I had not.

03:30:15    7   Q.   And he said, you know, this is -- you found that peculiar

03:30:20    8   as a homicide detective, right?

03:30:21    9   A.   Yes.

03:30:22   10   Q.   And you said, Hey, Mike, you know, hey, how about we take

03:30:25   11   a polygraph exam, right?

03:30:26   12   A.   I don't remember if I asked him or not.

03:30:28   13   Q.   All right.   Well, he didn't take one, right?

03:30:31   14   A.   No, he did not.

03:30:32   15   Q.   Did he refuse?

03:30:33   16   A.   I don't remember.

03:30:35   17   Q.   All right.   Do you remember, at your deposition, being

03:30:37   18   asked this question?     This is on page 267, line 14.   And we'll

03:30:48   19   play at lines 14 through 18.

03:30:53   20        (Video clip played in open court.)

03:31:07   21   BY MR. LOEVY:

03:31:08   22   Q.   All right.   Was that truthful, sir?

03:31:10   23   A.   If I said it, yes.

03:31:10   24   Q.   All right.   Isn't it true you were guessing when you said

03:31:13   25   it at the dep and you're guessing now because you didn't write
                J. YORK - Direct Examination                                     93


03:31:17    1   any of this down?

03:31:17    2   A.     No, I said I didn't remember, and that's been a few years

03:31:19    3   ago.

03:31:19    4   Q.     So the deposition was in 2018.   You're saying you

03:31:22    5   remembered better then?

03:31:23    6   A.     I said, if I said it then, then when I said it, I believe

03:31:27    7   that to be a true and accurate statement and that right now I

03:31:31    8   don't remember.

03:31:31    9   Q.     All right.   Don't you think you should have written it

03:31:33   10   down, that this suspect, you asked him, Hey, will you take a

03:31:36   11   polygraph, and he said no?

03:31:37   12   A.     Absolutely, that should have been written down.

03:31:41   13   Q.     And you went to speak to Simpson's alibi witness, right?

03:31:47   14   One of -- multiple ones?

03:31:49   15   A.     Can you be specific?

03:31:51   16   Q.     How about Vernon Bennett?   Did you speak to Vernon

03:31:55   17   Bennett?

03:31:55   18   A.     Yes.

03:31:56   19   Q.     And Vernon Bennett didn't back Mike Simpson's alibi for

03:32:01   20   that murder, did he?

03:32:02   21   A.     Not that I remember, no.

03:32:04   22   Q.     And but "not that you remember" means you talked to

03:32:06   23   Vernon Bennett and he was inconsistent with Simpson on the

03:32:10   24   alibi, right?

03:32:11   25   A.     If I remember correctly, yes.
                J. YORK - Direct Examination                                        94


03:32:13    1   Q.   All right.    Why didn't you create a police report on

03:32:16    2   that, that Mike Simpson gave you an alibi witness and the guy

03:32:19    3   didn't back Simpson?       Wouldn't that have been meriting writing

03:32:23    4   down?

03:32:23    5   A.   Yes, that should have been written down, absolutely.      But

03:32:26    6   this was an ongoing investigation.

03:32:28    7   Q.   All right.    But when someone's charged with a crime, they

03:32:31    8   have a right to know that a key suspect gave you an alibi that

03:32:35    9   didn't check out?    Would you agree they had a right to that?

03:32:38   10   A.   Yes.

03:32:40   11   Q.   And you understood, at the time that you did this, that

03:32:42   12   they -- that you should have written it down?

03:32:45   13   A.   Say that again, please.

03:32:47   14   Q.   At the time you were doing this investigation, you did

03:32:51   15   understand that you were obligated to write it down?

03:32:54   16               MR. MILLER:    Object.

03:32:57   17               THE COURT:    What's the objection?

03:32:59   18               MR. MILLER:    Just the -- there's been no foundation

03:33:02   19   for that he was obligated to write it down, and the way he

03:33:06   20   said it was that he had already confirmed that it was

03:33:08   21   obligated.

03:33:10   22        If he wants to ask him, Is it obligated, I think that's a

03:33:14   23   fair question.

03:33:15   24               THE COURT:    Overruled.

03:33:15   25               THE WITNESS:    Ask your question again.
                J. YORK - Direct Examination                                     95


03:33:17    1   BY MR. LOEVY:

03:33:17    2   Q.   You understood that, as a law enforcement officer working

03:33:20    3   on murder cases, you were obligated to write down potentially

03:33:26    4   exculpatory information?     Exculpatory, meaning could help

03:33:31    5   someone prove their innocence, correct?

03:33:34    6   A.   Yes.    Exculpatory, yes.

03:33:36    7   Q.   All right.    And the fact that your lead suspect refuses

03:33:36    8   to take a polygraph, that's something that people accused had

03:33:42    9   a right to know, right?

03:33:43   10   A.   My understanding, with regards to the polygraph, that

03:33:46   11   they were not admissible in court as far as the polygraph

03:33:49   12   goes.

03:33:49   13   Q.   All right.    Was there probable cause to arrest Mike

03:33:52   14   Simpson for this murder?

03:33:55   15   A.   No.

03:33:55   16   Q.   Probable cause, very high burden, would you agree?

03:33:58   17   A.   I understand probable cause is a reasonable belief that

03:34:03   18   something occurred.

03:34:04   19   Q.   All right.    We've talked about a lot of reasons to

03:34:06   20   reasonably believe that Mike Simpson --

03:34:07   21               THE COURT:   Let me say, Mr. Loevy, the Court's going

03:34:10   22   to instruct the jury on the meaning of probable cause, and the

03:34:12   23   parties may talk about it from time to time, they may

03:34:15   24   characterize it, but I'm going to tell you what the law is on

03:34:18   25   it when it's time for you to make the decision in this case.
                J. YORK - Direct Examination                                    96


03:34:21    1        Go ahead, Mr. Loevy.

03:34:23    2   BY MR. LOEVY:

03:34:23    3   Q.   All right.   Whatever probable cause is, what you knew

03:34:25    4   about Mr. Simpson didn't clear that hurdle?

03:34:29    5   A.   I did not believe so.

03:34:32    6   Q.   All right.   Now this interview that you've talked about

03:34:35    7   in his home, that's a pretty important interview in a case,

03:34:40    8   wouldn't you agree?

03:34:41    9   A.   If I remember, there was no interview except for him

03:34:47   10   handing me the alibi note, saying, I don't know nothing.

03:34:52   11   Q.   Okay.   When you say, "If I remember," the problem is

03:34:56   12   there's no document we can look at that documents what you

03:34:59   13   talked about with Simpson, right?

03:35:01   14   A.   That's correct.

03:35:02   15   Q.   So you are saying 12 years later, I got no document, so I

03:35:08   16   don't remember talking about anything.    That's really what you

03:35:10   17   are saying, right?

03:35:13   18   A.   I don't remember him saying anything that -- in

03:35:19   19   regards -- that was relevant.   He just said he didn't know

03:35:24   20   what we were talking about.    He didn't -- you know, gave us

03:35:27   21   the alibi note.

03:35:28   22   Q.   That's your best guess at what happened, right?

03:35:31   23   A.   Yes.

03:35:32   24   Q.   Now, there should have been a sup report saying we spoke

03:35:35   25   to Mike Simpson on this day; we photographed him; he gave us a
                J. YORK - Direct Examination                                     97


03:35:38    1   sticky; you know, we asked him if he would take a polygraph;

03:35:42    2   he said no; we asked him where that -- all that should have

03:35:43    3   been written into a report, right?

03:35:45    4   A.   I have answered that and said yes.

03:35:46    5   Q.   All right.   Is it possible that that report once existed

03:35:49    6   and has gotten lost?

03:35:51    7   A.   No, I don't never remember doing that.

03:35:58    8   Q.   Did he deny killing Ms. Mills?

03:36:06    9   A.   The way I remember he didn't -- said he didn't know

03:36:08   10   nothing about it.

03:36:09   11   Q.   Is that a guess, or do you remember him saying he didn't

03:36:13   12   know anything about it?

03:36:15   13   A.   I don't remember he said them exact words, but he said he

03:36:19   14   didn't have nothing to do with it.

03:36:21   15   Q.   So it sounds like you did talk to him about the murder.

03:36:24   16        What's else did he say?

03:36:24   17   A.   No.   Again, when he handed me the alibi.   We didn't sit

03:36:28   18   down and have, you know, an interview statement like you've

03:36:32   19   seen here before.   He handed me the alibi note and said, I

03:36:35   20   don't know what you're talking about or didn't have nothing to

03:36:37   21   do with it.

03:36:38   22   Q.   All right --

03:36:39   23   A.   And that's, you know, again, like he said, suspicious,

03:36:42   24   but we didn't have a conversation or anything like that.

03:36:45   25   Q.   All right.   But he wanted to talk about his alibi, right?
                J. YORK - Direct Examination                                        98


03:36:49    1   He wanted tell you, here's my alibi.       What was that all about?

03:36:51    2   A.    He didn't want to talk about it.      He handed it to me.

03:36:54    3   That's what was on the note.

03:36:56    4   Q.    All right.   Let's take a look at that note.        That is

03:36:58    5   Exhibit No -- do you have the exhibit number?        Here it is.

03:37:07    6   It's Plaintiffs' Exhibit 51, the second page.        You can see

03:37:12    7   this up only on your screen because it's already up.          That was

03:37:17    8   it.   Can you identify this, sir?

03:37:27    9   A.    It says 10-10 -- yes.     I know what it is.

03:37:30   10   Q.    All right.   Why did it -- can you identify it so we can

03:37:34   11   admit it?

03:37:35   12   A.    It says 10-10-1058.     It's got Lisa Evans' name at the top

03:37:40   13   of it and appears to be a, you know, copy -- a Xerox copy of

03:37:45   14   the alibi note that he gave me.

           15   Q.    All right.

03:37:48   16               MR. LOEVY:    We move to admit this into evidence, Your

           17   Honor.

03:37:51   18               THE COURT:    Any objection?

03:37:53   19               MR. WRIGHT:   None, Your Honor.

03:37:54   20               THE COURT:    All right.   That's admitted.    It will be

03:37:59   21   displayed.

03:37:59   22         (Plaintiffs' Exhibit No. 51 was received in evidence.)

03:37:59   23   BY MR. LOEVY:

03:38:00   24   Q.    All right.   So if he was giving you this alibi note, it's

03:38:04   25   pretty hard to read, but there are names on it, right?
                J. YORK - Direct Examination                                       99


03:38:06    1   A.   Yes.

03:38:06    2   Q.   And you can't see it, but it's a yellow sticky that's

03:38:11    3   been photocopied away, right?

03:38:14    4   A.   Excuse me?

03:38:14    5   Q.   This looks like a white page, but would it be fair to say

03:38:17    6   that where the names are, that used to be a yellow Post-It

03:38:20    7   Note, little square?

03:38:21    8   A.   Yes.

03:38:21    9   Q.   All right.    So when he handed you this note -- thank

03:38:24   10   you -- did he explain to you why this was his alibi?

03:38:27   11   A.   He said somebody had told him, when he was gone, that we

03:38:32   12   were looking at him in connection with Katherine Mills's

03:38:37   13   murder.

03:38:37   14   Q.   So you did have a conversation with him?

03:38:40   15   A.   Again, it wasn't -- I wasn't asking a series of

03:38:49   16   questions.    He volunteered and told me all this.

03:38:52   17   Q.   Showing you Plaintiffs' Exhibit 6 and 3, these are Bates

03:38:58   18   No. 273 and 268.

03:39:00   19               MR. LOEVY:   This is part of the investigative file,

03:39:03   20   Your Honor, on the document camera.

           21   BY MR. LOEVY:

03:39:05   22   Q.   I'm going to show you two interviews that you

03:39:07   23   memorialized with Amanda Hoskins.     When you knew -- wanted to

03:39:11   24   write a police report, you knew how to write a police report,

03:39:15   25   right?
                J. YORK - Direct Examination                                     100


03:39:15    1               MR. LOEVY:   And if we could publish these?   Are they

03:39:18    2   published?

03:39:18    3               THE COURT:   If they're part of 1, they are admitted

03:39:21    4   and so can be published.

03:39:23    5   BY MR. LOEVY:

03:39:24    6   Q.   Showing you to a second report.     This is Plaintiffs'

03:39:26    7   Exhibit 3.     Same interview.   You wrote two police reports.

03:39:30    8   Multiple pages each, right?

03:39:32    9   A.   Yes.

03:39:32   10   Q.   So, when you had a suspect, it was your protocol to write

03:39:36   11   down what they told you, correct?

03:39:40   12   A.   Yes, that is correct.

03:39:41   13   Q.   And isn't it true you did have a Mike Simpson police

03:39:44   14   report?     When you decided you were going to go after these

03:39:48   15   two, that police report disappeared?

03:39:50   16   A.   That is not true whatsoever.

03:39:52   17   Q.   You made a police report of Mike Mills's girlfriend; you

03:39:57   18   made a police report of the Walgreen's manager for Amanda's

03:40:03   19   prescriptions, didn't you?

03:40:03   20   A.   Yes.

03:40:05   21   Q.   You made a -- you made a police report checking if Amanda

03:40:09   22   picked up her prescriptions that day, but you didn't make a

03:40:11   23   police report of your interview of Allen Helton or Mike

03:40:15   24   Simpson?

03:40:15   25   A.   You have said two names there.     Can you -- let's go back.
                J. YORK - Direct Examination                                       101


03:40:21    1   You want to ask me about Mike Simpson, or are you trying to

03:40:24    2   put both of them in there?

03:40:26    3   Q.   Well, let's just talk about the Walgreen's one, for

03:40:28    4   example.   Once you decided that you were going to try to

03:40:31    5   prosecute Amanda for this, you went and saw if she did pick up

03:40:34    6   her prescription that day, and you checked with Walgreen's,

03:40:37    7   and then you made a police report, right?

03:40:40    8   A.   That is correct.

03:40:42    9   Q.   All right.   Let's --

03:40:42   10              MR. LOEVY:   When are we going until the next break,

           11   Your Honor?

03:40:45   12              THE COURT:   We're about there.

03:40:46   13              MR. LOEVY:   This would be an okay place to stop.

03:40:48   14              THE COURT:   Okay.   All right.   We'll take about 15

03:40:50   15   minutes at this point.

03:40:52   16        The jury will be under the same admonition -- admonitions

03:40:56   17   they've been under.     And so I'll excuse the jury now for 15

03:40:59   18   minutes.

03:41:00   19              THE BAILIFF:    All rise for the jury.

03:41:27   20        (Jury exits.)

03:41:27   21              THE COURT:   Thank you.   Step down, sir.   All right,

03:41:29   22   the jury has exited.      Everybody can be seated.

03:41:33   23        All right.   We'll break until about five till.     Anything

03:41:40   24   to take up, Mr. Loevy?

03:41:41   25              MR. LOEVY:   Not from the plaintiff.
                J. YORK - Direct Examination                                        102


03:41:43    1               MR. MILLER:    None, Your Honor.

03:41:44    2               THE COURT:    Okay.   We'll be in break until then.

03:41:46    3   Thank you.

03:55:47    4               THE BAILIFF:    All rise.

            5        (Recess taken from 3:41 P.M. until 3:55 P.M.; jury

03:55:47    6   present.)

03:55:47    7               THE COURT:    Thank you.    We are back on the record

03:55:49    8   with all parties and counsel present.        Mr. York's on the

03:55:56    9   witness stand, still under oath.        The jury's returned.

03:56:00   10        We're going to knock off at 5:00 today partly because you

03:56:03   11   guys have put in a couple of long, hard days.        I appreciate

03:56:06   12   that.    So I want to break a little bit early.      And I think

03:56:09   13   we've got some Jaguar fans in the building who are probably

03:56:14   14   headed to Lexington for a big game tonight so I want to make

03:56:18   15   sure those folks can get out on the road and make it to that

03:56:21   16   event.   So we'll quit at 5:00 today.       Be advised.   All right,

03:56:25   17   Mr. Loevy.

03:56:26   18               MR. LOEVY:    Thank you, Your Honor.

03:56:28   19   BY MR. LOEVY:

03:56:29   20   Q.   I wanted to return to the things we talked about,

03:56:31   21   threatening with charges.

03:56:33   22        We should add Jesse Lawson to this list, based on your

03:56:36   23   testimony, right?

03:56:37   24        You did tell Jesse you thought he did it and that he was

03:56:42   25   in trouble unless he cooperated, right?
                J. YORK - Direct Examination                                   103


03:56:44    1   A.   I'm not going to agree with those exact words, but he

03:56:48    2   probably was threatened to be charged if he had any

03:56:52    3   involvement in the case.

03:56:54    4   Q.   All right.    No, let's talk about Allen Helton.   When did

03:56:59    5   you first cross paths with Allen Helton in the investigation?

03:57:02    6   A.   It was at the very beginning of it, when we found out

03:57:09    7   about Mike Simpson and Allen going to Florida.

03:57:13    8   Q.   All right.    And he was a suspect.   Tell the jury why

03:57:17    9   Allen Helton was a -- well, was he a suspect or a witness?

03:57:20   10   A.   At first I think it would be a fair and accurate

03:57:26   11   statement that he was a suspect at the first.

03:57:28   12   Q.   Tell the jury why Allen Helton was a suspect in this

03:57:32   13   murder.

03:57:32   14   A.   Well, I think, number one, he was, you know, with Mike

03:57:40   15   Simpson.     We knew that he had a criminal history, and I

03:57:45   16   believe, at some point -- I don't remember exactly when --

03:57:49   17   that somebody said that they might have seen him in the yard

03:57:55   18   or something to the effect.

03:57:58   19   Q.   Helton or Simpson?

03:58:00   20   A.   I think it was Helton.

03:58:04   21   Q.   Okay.    Who said they saw Helton in the yard at the

03:58:08   22   victim's home?

03:58:09   23   A.   I think that was who we was talking about earlier, Cleo

03:58:13   24   Brown.

03:58:13   25   Q.   But I think his testimony was, if I understood it,
                J. YORK - Direct Examination                                        104


03:58:15    1   Lawson.      You wanted Lawson to wear a wire to try to catch

03:58:19    2   somebody saying that Helton was in the yard?

03:58:23    3   A.    I'm understanding, at some point, that -- that we're

03:58:27    4   talking about the same incident.

03:58:28    5   Q.    All right.    Did you threaten to charge Helton with the

03:58:32    6   murder of Katherine Mills?

03:58:33    7   A.    Again, the words probably come out of my mouth if -- you

03:58:38    8   know, if he had anything to do with it and was responsible for

03:58:41    9   it.

03:58:43   10   Q.    All right.    What's the first date you interviewed him?

03:58:45   11   We don't know that date, do we?

03:58:51   12   A.    No.

03:58:51   13   Q.    We should.

03:58:52   14   A.    I don't remember the date.

03:58:53   15   Q.    And we should know it because you should have written it

03:58:55   16   down, right?

03:58:57   17   A.    Yes.

03:59:00   18   Q.    All right.    Mr. Helton.   You were in court when he

03:59:02   19   described you pulled him over for a traffic stop.      Did you

03:59:06   20   pull him over for a traffic stop?

03:59:08   21   A.    Are you referring to the January --

03:59:11   22   Q.    January 4th, 2011, did you pull him over?

03:59:13   23   A.    I think Sheriff Pickard initiated the initial stop.       I

03:59:19   24   can't remember.

03:59:19   25   Q.    This was for a seatbelt violation?     The initial stop?
                J. YORK - Direct Examination                                      105


03:59:23    1   A.     I believe that's what was -- that was one of the charges.

03:59:26    2   Q.     And after he got pulled over for the seatbelt, you

03:59:32    3   guys -- and I say that, "you guys" -- you and others charged

03:59:37    4   with him for driving while stoned?

03:59:40    5   A.     That would be a fair and accurate statement.

03:59:42    6   Q.     Now, were you just out there enforcing the seatbelt laws

03:59:46    7   that day, or were you like, let's go get Allen for the

03:59:49    8   investigation?

03:59:49    9   A.     Well, this is at the beginning of the investigation.     I

03:59:52   10   don't know exactly what we were doing.      I wasn't up there

03:59:55   11   writing seatbelt tickets.      But that might have been used to

04:00:01   12   pull him over if Sheriff Pickard recognized him, but we were

04:00:04   13   actively investigating Ms. Mills's --

04:00:10   14   Q.     All right.   So, in other words, you could have done one

04:00:13   15   of two things.      You could have said, Hey, Mr. Helton, we would

04:00:14   16   like you to come down and talk to us, or you could see him

04:00:18   17   driving and pull him over for a seatbelt and charge him with

04:00:20   18   DUI.    You could have done one of those two things, right?

04:00:23   19   A.     No.   I could not have, and I'll explain.   If we pull

04:00:27   20   somebody over for a seatbelt violation and -- they believe to

04:00:35   21   be under the influence, I just can't tell them to drive on

04:00:38   22   with that suspicion of them operating a vehicle under the

04:00:43   23   influence.

04:00:43   24   Q.     You wrote the citation on January 4th, charging him with

04:00:48   25   DUI, right?
                J. YORK - Direct Examination                                      106


04:00:50    1   A.   Yes.

04:00:51    2   Q.   All right.     And then you did bring him down and talk to

04:00:53    3   him, right?

04:00:54    4   A.   Yes.

04:00:59    5   Q.   Now, did you decide you wanted to polygraph Helton before

04:01:03    6   you found out he was DUI or after?

04:01:06    7   A.   I don't -- I don't remember exactly when I decided that.

04:01:11    8   Q.   Well, would it have been before or after you pulled him

04:01:14    9   over?   I mean, did --

04:01:15   10   A.   I thought I answered that.     I don't remember.

04:01:17   11   Q.   All right.     Let's try to narrow it down.   Did you pull

04:01:20   12   him over for DUI because you wanted to polygraph him?

04:01:24   13   A.   No.    No.

04:01:25   14   Q.   Now, it does look like --

04:01:32   15               MR. LOEVY:   And, Your Honor, this is Plaintiffs'

04:01:34   16   Exhibit 183.      This is -- can you identify this, Mr. York, your

04:01:40   17   signature at the bottom?

04:01:42   18   A.   It's the Kentucky -- I'm sorry.

04:01:45   19   Q.   Can you identify this?

04:01:46   20   A.   That's a citation.

04:01:48   21   Q.   This is the citation you wrote to Helton on January the

04:01:54   22   4th that we've been talking about, right?     Signed by you?

04:01:59   23   A.   Yes.

           24   Q.   Okay.

04:02:01   25               MR. LOEVY:   We move to admit this into evidence, Your
                J. YORK - Direct Examination                                       107


04:02:04    1   Honor.

04:02:04    2               THE COURT:    Any objection?

04:02:05    3               MR. MILLER:   None, Your Honor.

04:02:06    4               THE COURT:    It will be admitted.

04:02:08    5        (Plaintiffs' Exhibit No. 183 was received in evidence.)

04:02:08    6               MR. LOEVY:    And if we could publish it, it does say

04:02:11    7   no seatbelt.

04:02:12    8               THE COURT:    Yes, you may publish it.

04:02:17    9               MR. LOEVY:    Okay.

04:02:19   10   BY MR. LOEVY:

04:02:19   11   Q.   We are reading it here.        You see this here?

04:02:22   12   A.   Which part did you want me to read?

04:02:25   13   Q.   Subject was not wearing a seatbelt.         Subject failed.   Can

04:02:28   14   you read it?    What does it say?

04:02:31   15   A.   I need my glasses.      One leg standing, walk and turn.

04:02:37   16   Subject advised this -- I think it says -- it says, Subject

04:02:47   17   was not wearing a seatbelt; subject failed the one-leg

04:02:51   18   standing, walk, and turn.         Subject advised this unit -- I

04:03:00   19   can't read that word.      Takes pain pills, Roxicet, also Xanax.

04:03:04   20   And other drugs.    Subject also advises unit -- I can't read

04:03:11   21   that.

04:03:12   22   Q.   All right.    That's good enough, if it's okay with you.

04:03:14   23   1-4-2011, right?    January 4th?

04:03:17   24   A.   Yes.

04:03:18   25   Q.   All right.    I'm going to show you what's already in
                J. YORK - Direct Examination                                     108


04:03:20    1   evidence, page 116 of the file.    This is the polygraph report,

04:03:24    2   correct?

04:03:25    3   A.   Yes.

04:03:27    4   Q.   And this actually shows that you made the date of the

04:03:29    5   request the day before you caught him for the seatbelt, right?

04:03:33    6   A.   That's what it says, yes.

04:03:36    7   Q.   All right.    Does that refresh your recollection?   That

04:03:38    8   you decided to polygraph him, then you saw him driving, and

04:03:40    9   you pulled him over and gave him a DUI?

04:03:44   10   A.   Restate the question, please.

04:03:46   11   Q.   Does that refresh your recollection that you decided to

04:03:49   12   polygraph him before the traffic arrest?

04:03:53   13   A.   I would agree that the date of the request is on

04:03:57   14   January the 3rd, the day prior to the DUI stop.

04:04:01   15   Q.   All right.    So you pull him over the DUI mand you bring

04:04:04   16   him into the room, right?

04:04:06   17   A.   Yes.

04:04:09   18   Q.   And you interrogated him with Mr. Mefford?

04:04:13   19   A.   Yes.

04:04:14   20   Q.   And you had him sign, what I think we've seen in court

04:04:16   21   already, a Miranda rights waiver?    You had him sign it?

04:04:20   22   A.   I think Detective Mefford was looking the part, but, yes.

04:04:25   23   Q.   All right.    So in other words, he has the right to remain

04:04:28   24   silent, he has the right to an attorney, and he acknowledged

04:04:30   25   that in writing?
                J. YORK - Direct Examination                                    109


04:04:31    1   A.   Yes.

04:04:31    2   Q.   Okay.   And you told him, We need you to help us with the

04:04:36    3   murder, right?

04:04:36    4   A.   Excuse me?

04:04:36    5   Q.   You told him, We need you to help us with this murder,

            6   right?

04:04:40    7   A.   That is possibly what I said at one point.

04:04:43    8   Q.   He said, I'd like to help you, but I don't know who

04:04:46    9   killed her, right?

04:04:47   10   A.   Do what?

04:04:47   11   Q.   He said he didn't know?

04:04:49   12   A.   I'm not going -- I don't remember him saying them exact

04:04:52   13   words.   He could have.   I mean, he told me so much over the

04:04:55   14   course of time, I can't remember exactly when he said what.

04:04:59   15   Q.   All right.   And that "so much," would you have written it

04:05:00   16   in your notes?

04:05:03   17   A.   If -- you're talking about when he was being recorded?

04:05:07   18   Q.   No, I'm talking about what you just said, "He told me so

04:05:11   19   much."   Would you have written it in your notes?

04:05:14   20   A.   Possibly.

04:05:15   21   Q.   Okay.   What happened to those notes?

04:05:18   22   A.   I don't remember.

04:05:21   23   Q.   When did they stop existing?

04:05:23   24   A.   I don't remember.

04:05:25   25   Q.   Was it before Amanda and Jonathan got prosecuted?
                J. YORK - Direct Examination                                           110


04:05:31    1   A.   I already answered that.     I said I don't remember.

04:05:33    2   Q.   Well, I'm asking more specifically, sir.      Did those notes

04:05:36    3   get destroyed before -- or lost or whatever they want --

04:05:40    4              MR. MILLER:    Objection.

04:05:40    5              THE COURT:    What's the objection?

04:05:42    6              MR. MILLER:    Mischaracterization of "They got

04:05:46    7   destroyed."    He said "They got destroyed," and then that's not

04:05:49    8   anything in the testimony.

04:05:52    9              MR. LOEVY:    I can withdraw and try again, Your Honor.

04:05:54   10              THE COURT:    Okay.

04:05:55   11   BY MR. LOEVY:

04:05:55   12   Q.   Did they get lost?

04:05:58   13   A.   I don't recall what notes that you're referring to.           I

04:06:04   14   don't remember the notes from that specific interview.

04:06:06   15   Q.   All right.   Any of your notes, sir.     They're all gone,

04:06:09   16   aren't they?

04:06:09   17   A.   No.   I thought I turned some -- all of them that I had in

04:06:14   18   my possession at the time over when I was asked for it.

04:06:16   19   Q.   What are you talking about?       How many pages?   I'm not

04:06:19   20   sure what you mean.      Can you help me understand?

04:06:22   21   A.   If I remember correctly, back when the criminal case was

04:06:26   22   going on, they asked for our field notes, and I turned in what

04:06:29   23   I had over.

04:06:30   24   Q.   How many pages was it?

04:06:31   25   A.   I don't remember.
                J. YORK - Direct Examination                                      111


04:06:32    1   Q.     More than one?

04:06:33    2   A.     Sir, I said I don't remember.

04:06:37    3   Q.     All right.   So what happened to the rest of your field

04:06:39    4   notes?

04:06:39    5   A.     That's all that I know that I have.

04:06:42    6   Q.     So any notes you've had you've disclosed?

04:06:45    7   A.     Yes.

04:06:47    8   Q.     Okay.   Where are the originals?

04:06:49    9   A.     I'm assuming they're with whoever we gave them to.

04:06:55   10   Q.     You would have given over copies of your field notes,

04:06:58   11   wouldn't you have, sir?

04:07:00   12   A.     I thought they -- I don't remember if I gave copies or

04:07:04   13   not.    It's been so long ago.

04:07:06   14   Q.     Wouldn't that have been your practice, though, on a

04:07:09   15   criminal case?      Make copies of your reports, make copies of

04:07:13   16   your notes, and hand over the copies?

04:07:15   17   A.     Again, this was my first case, and I do not remember.

04:07:18   18   Q.     You were involved in more than one criminal case, weren't

04:07:20   19   you, sir?

04:07:20   20   A.     Yes.

04:07:20   21   Q.     And your practice was, like all of your fellow

04:07:24   22   detectives, was it not, make copies of the notes, retain the

04:07:28   23   originals, right?

04:07:29   24   A.     Of the field notes, no, that was not a common practice.

04:07:32   25   Q.     To turn over originals?
                J. YORK - Direct Examination                                  112


04:07:34    1   A.   I've answered.   You said make copies, and I said, no, I

04:07:39    2   didn't, like, write something down and make copies in place of

04:07:43    3   them.

04:07:43    4   Q.   All right.   I don't want to get too bogged down.

04:07:46    5        Are you saying you gave your original notes to Jackie

04:07:50    6   Steele in the Commonwealth?

04:07:51    7   A.   I don't remember.   I gave them what I had, I thought.

04:07:53    8   It's been many years ago.

04:07:55    9   Q.   Let's get back to -- I'm sorry.    Let's get back to

04:07:58   10   Mr. Helton.

04:07:59   11        We don't have a police report from your January 4th

04:08:02   12   interview with Mr. Helton, correct?

04:08:04   13   A.   There's no supplements, correct.

04:08:06   14   Q.   And so we don't know how long this interview lasted?

04:08:09   15   A.   No.

04:08:10   16   Q.   We don't know what was said?

04:08:16   17   A.   No.   There's some parts of it recorded.

04:08:17   18   Q.   That's actually after you talked to him for a while, then

04:08:20   19   you took him and recorded the polygraph, right?

04:08:22   20   A.   I don't remember if it was before or after.

04:08:25   21   Q.   Well --

04:08:26   22   A.   Well, like I said, if I believe, I think Detective

04:08:29   23   Mefford took the lead on that.   I can't remember what --

04:08:33   24   Q.   All right.   Do you defer to Mr. Helton's recollection on

04:08:36   25   how it went down?
                J. YORK - Direct Examination                                     113


04:08:36    1   A.   Can you -- what did he say?

04:08:38    2   Q.   You were in court, right?

04:08:40    3   A.   Yeah.    I don't remember exactly.   Be specific, please.

04:08:42    4   Q.   Did you disagree with anything he said?

04:08:44    5   A.   Yes.    But can you --

04:08:45    6   Q.   Which part?   Anything you disagreed with?

04:08:55    7   A.   Well, number one, I actually disagreed that I told him

04:09:00    8   anything to say.

04:09:01    9   Q.   Did you offer to make his case go away?

04:09:04   10   A.   This case, no.

04:09:08   11   Q.   I'm sorry.    The DUI.

04:09:09   12   A.   I could potentially have told him I would try to help him

04:09:15   13   out if, number one, he wasn't -- killed Katherine Mills and

04:09:19   14   then he corroborated and told us what he knew because he kept

04:09:25   15   on telling us little bits and pieces.

04:09:28   16   Q.   His DUI case did go away, correct?

04:09:31   17   A.   If you are saying it did.     I don't know.   I'm not looking

04:09:35   18   at CourtNet or anything.

04:09:36   19   Q.   If you told him, if you give me information I'll make

04:09:38   20   your case go away, you have an obligation, if you told him --

04:09:41   21   and I'm not saying you did or didn't -- let's just say the

04:09:45   22   hypothetic for a minute -- you would have had to disclose that

04:09:46   23   to Jackie Steel and the Commonwealth, right?

04:09:50   24   A.   Well, no.    Jackie -- that wouldn't have been Circuit

04:09:53   25   Court case.    That would have been a district court case.    So I
                J. YORK - Direct Examination                                      114


04:09:55    1   don't know if that was David Jorgejoni (phonetic), Charlie

            2   Green Dixon --

            3        (Reporter clarification.)

04:10:04    4             THE WITNESS:     David Jorgejoni, and I couldn't even

04:10:04    5   begin to spell that for you.     And Charlie Green Dixon.

04:10:08    6   BY MR. LOEVY:

04:10:08    7   Q.   Mr. Helton also said that you found some cash in his

04:10:11    8   home.   Did that happen?

04:10:12    9   A.   Cash?   I don't remember him saying cash.    I'm sorry.

04:10:17   10   Q.   In a box.    I thought I heard him say you went into his

04:10:20   11   house and found some cash in a box and you tried to say it was

04:10:23   12   Katherine Mills's cash?

04:10:24   13   A.   I don't recollect him saying cash.

04:10:26   14   Q.   All right.   Did it happen?    What did you find?

04:10:29   15   A.   You need to restate the question again.

04:10:31   16   Q.   You heard his testimony.     You don't remember it was cash.

04:10:35   17   Do you remember him saying it was something else you found in

04:10:38   18   his house?

04:10:38   19   A.   I can't remember exactly.     If you can be more specific.

04:10:41   20   Q.   All right.   I'll just ask a specific question.

04:10:45   21        Did you go to Allen's house?

04:10:46   22        Oh, you know what, I'm confusing Allen and Jesse.      It is

04:10:49   23   confusing.

04:10:52   24        It was a computer box.     No, it was in computer boxes.     I

           25   am getting confused.
                J. YORK - Direct Examination                                     115


04:10:55    1        Allen Helton said you went into his house, and there was

04:10:58    2   computer boxes with cash, and you accused him of it?

04:11:02    3   A.   If he said that, then I absolutely disagree.

04:11:08    4   Q.   Nobody's perfect.   Here's what my understanding of what

04:11:14    5   he said is.    You went into his house; you found some computers

04:11:17    6   in boxes; and you accused him of using the cash to buy the

04:11:21    7   computers.

04:11:22    8        Is that your -- did that happen?

04:11:23    9   A.   Again, because you're -- you're confusing me.     Can you

04:11:26   10   state that again, please?

04:11:26   11   Q.   All right.   I'm sorry it got confusing.   Probably is more

04:11:30   12   my fault.

04:11:30   13   A.   People make mistakes.

04:11:32   14   Q.   Yeah, and it's more my fault than yours this time.

04:11:36   15        Mr. Helton said you went into his house and you were

04:11:39   16   looking in his closets, found some computers and accused him

04:11:43   17   of using Mills's money for that.    Did that happen?     Yes, no,

04:11:49   18   or I don't remember?

04:11:49   19   A.   I don't remember that.

04:11:50   20   Q.   Okay.    Did Helton have an alibi for the murder?

04:11:52   21   A.   I can't remember if he had a specific alibi or not.

04:12:01   22   Q.   That probably should have been written down, right?

04:12:05   23   A.   If he gave me an alibi, yes.

04:12:09   24   Q.   How about if he couldn't give you an alibi?

04:12:11   25   A.   Again, this was an ongoing investigation, and if he came
                J. YORK - Direct Examination                                  116


04:12:18    1   up to me and said, I was here, here, here, whatnot, we would

04:12:22    2   have looked at it.

04:12:24    3   Q.   All right.   But did you say, Where were you?   I want to

04:12:27    4   look at it?

04:12:27    5   A.   I can't remember if those exact words came out.

04:12:30    6   Q.   Okay.    You did spend an awful lot of time on Amanda, her

04:12:34    7   alibi, right?

04:12:35    8   A.   Yes.

04:12:36    9   Q.   You were trying to track down what time she was at the

04:12:38   10   doctor, what time she went to Walgreen's, what time she went

04:12:41   11   to McDonald's.    You put investigative time into that, right?

04:12:44   12   A.   Yes.

04:12:44   13   Q.   Did you put that kind of investigative time into finding

04:12:47   14   out where Simpson and Helton were that morning?

04:12:50   15   A.   We -- we was looking into it and we were working, you

04:12:54   16   know, at the first of it nonstop, into that -- into them.

04:13:00   17   Q.   So --

04:13:01   18   A.   But you got to understand that Allen kept giving us

04:13:05   19   information, little bit by little bit.    I mean, for example,

04:13:09   20   he said -- I mean, I think you all maybe saw a clip like.     He

04:13:14   21   said, I know Mike Simpson had part of the money, and he said,

04:13:17   22   then I feel it or I believe it.    And, I mean, it was just that

04:13:22   23   constant.

04:13:22   24   Q.   Sir, if the work was done to check out their alibis, that

04:13:27   25   should have been documented, right?
                J. YORK - Direct Examination                                  117


04:13:30    1   A.   Yes.

04:13:30    2   Q.   And it wasn't?

04:13:31    3   A.   If it's not there, no.

04:13:36    4   Q.   All right.    Were there other -- if we go to the time

04:13:41    5   period -- the murder happens in December 2010, and the time

04:13:43    6   frame gets a little confusing because everybody's throwing

04:13:46    7   around dates, but December 2010 is when the murder happens.

04:13:52    8   And then you're into January 2011.     So now you've been

04:13:58    9   investigating about a month toward the end of January, right?

04:14:00   10   A.   Yes.

04:14:02   11   Q.   All right.    Were there other suspects, beyond those we've

04:14:04   12   talked about, as of the end of January 2011?

04:14:07   13   A.   Yes.

04:14:12   14   Q.   Who were some of those in January?

04:14:14   15   A.   In January?    I think even at the end of January -- let's

04:14:20   16   just be clear.     January 31st.   Can we agree on that?

04:14:24   17   Q.   Okay.

04:14:25   18   A.   Yes.    I think even then that even Amanda was probably a

04:14:31   19   suspect at that point.

           20   Q.   Okay.

04:14:32   21   A.   By given what we were told from Michelle Edwards and the

04:14:37   22   family.

04:14:39   23   Q.   All right.    Sir, would you agree with me -- and I'll ask

04:14:40   24   it carefully -- that as of January 2011, there was nothing

04:14:45   25   suggesting she had anything to do with the murder in the file?
                J. YORK - Direct Examination                                       118


04:14:50    1   A.   That -- that -- I believe that's true, yeah.

04:14:55    2   Q.   When you say, "might have had something to do with it,"

04:14:58    3   you're saying somebody in the family said she might have

04:15:01    4   stolen something from somebody?     That's what you meant?

04:15:03    5   A.   Yes.

04:15:04    6   Q.   All right.     But you had all kinds of little arrows

04:15:07    7   pointing in a lot of directions:     People stealing, people

04:15:11    8   lying, people -- you know, but that wasn't the only clue in

04:15:13    9   the whole case, right?

04:15:14   10   A.   That would be a true statement, yes.

04:15:16   11   Q.   In fact, some people stole from grandma?

04:15:18   12   A.   Yes.    Yes.

04:15:19   13   Q.   All right.     Take a look at Plaintiffs' Exhibit 38, which

04:15:22   14   is KSP 487, also part of the investigative file.      Can you

04:15:32   15   identify this, sir?

04:15:35   16   A.   Yeah, that's the field notes we were talking about.

04:15:38   17   Q.   All right.     So this is the -- these two pages?

04:15:45   18   A.   I don't mean to interrupt you, but can you turn that

04:15:48   19   second page.    I don't think that's --

04:15:49   20   Q.   Sure.   This looks like the crime scene.    The second page

04:15:52   21   is probably the --

04:15:53   22   A.   I was going to say I don't think that's my handwriting.

04:15:56   23   Q.   Yeah.   This is -- this is a two-page exhibit.      Page 2.

04:16:01   24   Let's just keep it page 1.     This is your handwriting, right?

04:16:04   25   A.   I would agree with that.
                J. YORK - Direct Examination                                      119


04:16:06    1   Q.     All right.    Is this an example of your field notes?

04:16:08    2   A.     Yes.

04:16:10    3   Q.     Are you aware of any other examples of your field notes

04:16:13    4   in this file?

04:16:14    5   A.     No.    If you'll show them to me, I'll look at them.

04:16:17    6   Q.     All right.    You have the original of the file here.

04:16:23    7                 MR. LOEVY:   May I approach, Your Honor?

04:16:25    8                 THE COURT:   You may.

04:16:34    9          Jackie, can you clear those green dots off or the witness

04:16:39   10   needs to do that?      Somebody has maybe touched the monitor.

04:16:43   11   Thank you.

04:16:43   12   BY MR. LOEVY:

04:16:43   13   Q.     Rather than make you -- if you want to flip through it

04:16:45   14   fast, you can.      I'm not going to make you look through every

04:16:47   15   page.    I would like you to focus on this page.     All right,

04:16:50   16   sir?

           17   A.     Okay.

04:16:50   18   Q.     This page is your notes file.     It says, Persons of

04:16:52   19   interests and area drug dealers, right?

04:16:55   20   A.     Yes.

04:16:56   21   Q.     Since it's your handwriting, can you just quickly take

04:16:58   22   off the nine area drug dealer names?

04:17:01   23   A.     Please say that again?

04:17:02   24   Q.     Can you read the names there, one through nine?

04:17:05   25   A.     Ernie Hammons, Wendell Smith, Randy Burnett, Gillis
                J. YORK - Direct Examination                                    120


04:17:13    1   Mills, Pete Mills, Randy Marriott, Allen Helton, Dickey

04:17:20    2   Messer, Bob Smith.

04:17:22    3          Then on the next side of it, it's got Hell's Creek.    Then

04:17:25    4   it drops down and it says Briers Creek, Broughton Hollow.       Do

04:17:31    5   you want me to read that side?

04:17:31    6   Q.     I think we'll stop there for a minute.

04:17:33    7          So these are people to be investigated, right?

04:17:35    8   A.     You know what this was, obviously this is -- it's been my

04:17:40    9   experience, any time there's thefts, there's usually drugs

04:17:45   10   involved with the thefts.     And so I believe, if I remember

04:17:49   11   correctly, those names, when we did the canvass and we went to

04:17:53   12   the sawmill, I believe those names was given to us by, you

04:17:58   13   know, people that worked at the sawmill.     And the reason

04:18:01   14   behind that, you know, in my mind, if there was money taken

04:18:05   15   and drugs were involved, possibly that they went to these

04:18:11   16   dealers to buy.

04:18:12   17          Now, granted, you know, it's going to be hard to go up to

04:18:16   18   somebody and show up as a police officer and you're selling

04:18:19   19   drugs like, Hey, are you selling drugs?     You spend a whole

04:18:23   20   lot.    So, yeah.

04:18:25   21   Q.     All right.   And as a police officer, you had -- you spent

04:18:28   22   a lot of time on this file, right, tracking down leads?

04:18:32   23   A.     Yes.

04:18:33   24   Q.     All right.   And you had some persons of interest at the

04:18:35   25   bottom here.    Hank Smith, Brady Broughton, Mike Simpson, the
                J. YORK - Direct Examination                                      121


04:18:41    1   Blankenship brothers looks like they're crossed off.      Daffy

04:18:45    2   Helton, is that Allen Helton?

            3   A.   Yes, sir.

04:18:50    4   Q.   And Dustin Abner.

04:18:52    5   A.   There's a line -- and this copy is bad.    But I don't

04:18:58    6   know -- well, I'll agree with that, but there's a line drawn

04:19:01    7   underneath that.    I don't know if that was to mark that name

04:19:04    8   to start something else.

04:19:05    9   Q.   All right.    Did you take it seriously to investigate this

04:19:09   10   murder?

04:19:09   11   A.   Yes, sir.

04:19:10   12   Q.   Okay.   The first person of interest there, Hank Smith,

04:19:13   13   why was Hank Smith a person of interest in this murder?

04:19:16   14   A.   I don't remember right off.    That's probably somebody

04:19:24   15   gave me a name because, when we started this, you know, we

04:19:28   16   didn't have nothing.     So if the family told us a name, that

04:19:32   17   could have came from there.

04:19:33   18   Q.   All right.    So -- and you agree there's no reports

04:19:36   19   explaining why you thought Hank Smith was a person of

04:19:39   20   interest, right?

04:19:39   21   A.   That's correct.

04:19:40   22   Q.   All right.    And there should be a report explaining why

04:19:42   23   Hank Smith was a person of interest, right?

04:19:45   24   A.   Not necessarily.    If, you know -- it's like, for

04:19:54   25   example -- let's just use this up here, the drug dealers.      If
                J. YORK - Direct Examination                                    122


04:19:57    1   I was talking to somebody, they say, Okay, these are a list of

04:20:01    2   drug dealers that I know.    Could they possibly have any

04:20:03    3   knowledge of that?   Maybe or maybe not.    And same way with

04:20:08    4   this list.

04:20:10    5        You know, I could've been told that, but as far as having

04:20:13    6   a -- something to write down about a specific one, why they

04:20:16    7   possibly could have been, no.

04:20:19    8   Q.   All right.   But somebody at some point told you you

04:20:21    9   should be suspicious of Hank Smith, Bradley Broughton and the

04:20:27   10   Blankenship brothers, correct?    Somebody must have told you

04:20:29   11   there's a reason to suspect them?

04:20:31   12   A.   That would be a fair statement, yes.

04:20:33   13   Q.   And whatever reason there was, it's long gone, correct?

04:20:35   14   A.   Yes.

04:20:37   15   Q.   And if the Blankenship brothers were crossed off, we

04:20:42   16   don't know how they were excluded, right?

04:20:46   17   A.   That is true.

04:20:46   18   Q.   Would you agree with me that there was a lot of work on

04:20:48   19   this investigation that was off the books, off the records?

04:20:51   20   A.   What I would agree with, there is -- we've been doing a

04:20:56   21   lot of work and talking to a lot of people, and that wasn't --

04:21:01   22   not everything was documented as far as each person we talked

04:21:04   23   to and stuff like that.     I'll give you an example.   Like, if

04:21:08   24   I -- there was a street and there was, you know, a burglary

04:21:13   25   happened, if we went to a house and they didn't know anything
                J. YORK - Direct Examination                                   123


04:21:16    1   or didn't see anything, we didn't document that and so on.

04:21:23    2   Q.   All right.   But the reason that somebody thought that the

04:21:26    3   Blankenship brothers might be involved in the murder, that

04:21:29    4   would merit a report, correct?

04:21:31    5   A.   Not necessarily.   I don't remember why somebody said

04:21:34    6   that.

04:21:35    7   Q.   All right.   But as a criminal defendant accused of the

04:21:37    8   murder, they're entitled to that information, right?

04:21:42    9   A.   Say that again.

04:21:43   10   Q.   If you are accused of a crime in this country --

04:21:46   11   A.   Um-hum.

04:21:47   12   Q.   -- you're supposed to get the information that's good for

04:21:49   13   you and the information that's bad for you, right?

04:21:51   14   A.   I would agree with that.

04:21:53   15   Q.   And if you're accused of a crime and there's reason to

04:21:56   16   suspect somebody else did it, then you're entitled to get that

04:21:58   17   information, too, right?

04:22:00   18   A.   Yes.

04:22:00   19   Q.   And they have to depend on you, the police officer, to

04:22:03   20   write that down in a police report and turn it over, don't

04:22:07   21   they?

04:22:07   22   A.   Yes.   But if I thought -- if there was any legitimate

04:22:12   23   leads on these -- you know, again, I went over, well, they

04:22:16   24   could possibly be there, but if there was anything to that we

04:22:20   25   found out, that would have been investigated more and
                J. YORK - Direct Examination                                    124


04:22:24    1   obviously available to them.

04:22:26    2   Q.   All right.    Were you feeling pressure, as we got to the

04:22:29    3   end of January, to start solving the case?

04:22:32    4   A.   I don't think there's pressure.    Obviously I wanted to

04:22:41    5   give closure to the family and help them.    They lost a loved

04:22:45    6   one, and they're wanting answers.    So in that aspect, to the

04:22:49    7   family, absolutely.

04:22:49    8   Q.   All right.    So you were feeling some pressure as time

04:22:51    9   went by, I better start showing some results?

04:22:54   10   A.   No, I didn't feel that pressure.

04:22:56   11   Q.   Not that kind of pressure?

04:22:57   12   A.   No.    The pressure I'm talking about is, again, you know,

04:23:04   13   somebody -- a lady died.    There's a family that's hurting.

04:23:09   14   That's pressure.    But, you know, the investigation leads where

04:23:13   15   it leads.

04:23:14   16   Q.   All right.    So when you were feeling that pressure for

04:23:17   17   the family, you understood the family actually wanted you to

04:23:19   18   catch the right person, not just catch anybody, right?    You

04:23:21   19   understood the difference?

04:23:22   20   A.   That is a fair statement.

04:23:25   21   Q.   All right.    You came to suspect, at some point, now we're

04:23:28   22   still at the end of January, and there's nothing in the file

04:23:30   23   that suggests that Amanda or Jonathan had anything to do with

04:23:34   24   it, right?    We've already covered that except for the

04:23:37   25   stealing.    You know, you said stealing a truck or whatever,
                J. YORK - Direct Examination                                    125


04:23:40    1   whatever you said it was.   I'm talking about the murder.

04:23:42    2        There's nothing in the file that anybody is accusing

04:23:45    3   Jonathan or Amanda of being involved in the murder at the end

04:23:48    4   of January 2011, right?

04:23:50    5   A.   I don't remember when we came aware about the money, but

04:23:56    6   I think that might be a fair statement.

04:23:57    7   Q.   What money?

04:23:58    8   A.   I mean, about William Lester bragging about her having

04:24:02    9   money.   You know, like when Amanda admitted that William

04:24:06   10   Lester was bragging about money, tying her up.

04:24:08   11        At some point, you know, we found that out.    I don't

04:24:10   12   remember exactly because the first person I found that out

04:24:13   13   that William Lester was bragging was, I think, from Sheriff

04:24:23   14   Pickard and Wesley Roark.

04:24:23   15   Q.   So let's talk about that.    All right, sir?   At some

04:24:26   16   point, William Lester became a person of interest, right?

04:24:28   17   A.   Yes.

04:24:30   18   Q.   And someone named Wesley Roark told you that, Hey, I

04:24:34   19   heard Lester, you know, made a comment about I should tie up

04:24:40   20   the victim in the outhouse and steal her money, something like

04:24:43   21   that, right?

04:24:43   22   A.   That's an inaccurate statement.

04:24:45   23        He told Sheriff Pickard that.    He didn't tell me that.

04:24:48   24   Q.   Sorry, but it came to you?

04:24:51   25   A.   Through Sheriff Pickard, yes.
                J. YORK - Direct Examination                                    126


04:24:52    1   Q.   So Roark tells Pickard who tells you, Lester made a

04:24:56    2   comment about locking her up in the outhouse and stealing

04:24:59    3   money, something like that?

04:25:03    4   A.   Yes.

04:25:03    5   Q.   And that became a suspect for you, right?

04:25:05    6   A.   William Lester, yes.

04:25:05    7   Q.   He was -- he was married to the victim's daughter?

04:25:11    8   A.   I think at the time they were divorced.

04:25:13    9   Q.   Previously married.     Thank you.

04:25:14   10        So he was Jennifer Lawson's father?

04:25:17   11   A.   Yes.

04:25:18   12   Q.   All right.    And when you decided Lester was a person of

04:25:28   13   interest, you decided to investigate him, right?

04:25:31   14   A.   Yes.

04:25:33   15   Q.   You didn't create any police reports about why Lester was

04:25:36   16   a person of interest in this time period, right?

04:25:41   17   A.   I think there is police reports about William Lester.

04:25:44   18   Q.   Months later, right?

04:25:45   19   A.   I'm not going to argue with you on the date, but if

04:25:48   20   you're saying there's nothing specific, then I agree with you.

04:25:51   21   Q.   Well, let's take a look at when Lester came in the

04:25:55   22   investigation.    This is Plaintiffs' Exhibit 25.

04:26:00   23               MR. LOEVY:   And, Your Honor, this is part of the

04:26:02   24   investigative file as 335.

04:26:06   25               THE COURT:   Do you agree with that, Mr. Miller?
                J. YORK - Direct Examination                                         127


04:26:08    1             MR. MILLER:      Yes.

04:26:10    2             THE COURT:    Okay.     It's in through Exhibit 1.   Are

04:26:13    3   you wanting to make it a separate exhibit?

04:26:15    4             MR. LOEVY:    Yes, Your Honor.     Plaintiffs' 25.

04:26:16    5             THE COURT:    All right.     That'll be admitted and may

04:26:19    6   be displayed.

            7         (Plaintiffs' Exhibit No. 25 was received in evidence.)

            8   BY MR. LOEVY:

04:26:20    9   Q.    All right.   You can identify this, can you not?

04:26:22   10   A.    That's -- what I can read, it says, William Lester,

04:26:28   11   wireless phone number.

04:26:29   12   BY MR. LOEVY:

04:26:30   13   Q.    All right.   So --

04:26:31   14             MR. LOEVY:    We move to admit it, and we'll go through

04:26:34   15   it.

04:26:34   16             THE COURT:    Yeah, it's admitted.    It may be

04:26:36   17   displayed.

04:26:37   18             MR. LOEVY:    Thank you.

04:26:38   19             THE COURT:    Just be sure he has time to look at it.

04:26:41   20   You're flipping it so quickly.

04:26:42   21             MR. LOEVY:    I just wanted to identify it, Your Honor.

           22   BY MR. LOEVY:

04:26:43   23   Q.    Now, let's look at it carefully.

04:26:46   24   A.    Can you shrink it down a little bit?      It's like over the

04:26:50   25   lines, if that makes sense.
                J. YORK - Direct Examination                                    128


04:26:53    1               THE COURT:   As he's questioning you from there,

04:26:54    2   you're tending to be away from your mic.     And so if you'll

04:26:58    3   tilt it around.    There you go.   Thank you.

04:27:00    4   BY MR. LOEVY:

04:27:00    5   Q.   All right.    This is an affidavit that you created on

04:27:03    6   February 4th, correct?

04:27:05    7   A.   Yes.

04:27:06    8   Q.   And you put out the reasons why you suspected him?

04:27:09    9   A.   Can you give just a second to read it?

04:27:11   10   Q.   Take your time and tell me when you are finished.

04:27:51   11   A.   Okay.

04:27:52   12   Q.   All right.    So now, at this point now you have got

04:27:55   13   another suspect, right?

04:27:56   14   A.   Yes.

04:27:58   15   Q.   Fair to say one of many suspects, right?

04:28:01   16   A.   That would be fair, yes.

04:28:02   17   Q.   So you have to investigate them.     That's your job, right?

04:28:05   18   A.   Yes.

04:28:06   19   Q.   Now, this was a subpoena for phone records, right?

04:28:10   20   A.   Yes.

04:28:11   21   Q.   And one of the phone records that came back was Jonathan

04:28:13   22   Taylor, right?

04:28:14   23   A.   I think that I did -- I just explained.     This is just

04:28:20   24   going from William Lester's phone records.

04:28:23   25   Q.   Right.    And then you determined that Lester, on the day
                J. YORK - Direct Examination                                    129


04:28:26    1   of the murder, had talked to Jonathan Taylor?

04:28:27    2   A.   If I remember correctly, there's a number that we

04:28:30    3   suspected to be Jonathan Taylor.    I can't remember and tell

04:28:34    4   you exactly why we thought that particular number.    I can't

04:28:37    5   tell you the number off the top of my head.

04:28:40    6   Q.   All right.    So Jonathan Taylor would be someone to talk

04:28:41    7   to, right?

04:28:43    8   A.   Yes.

04:28:46    9   Q.   And if you could get Jonathan Taylor to implicate your

04:28:50   10   suspect, William Lester, that would help you solve the crime,

           11   right?

04:28:56   12   A.   If he had knowledge that William Lester did that,

04:29:00   13   absolutely.

04:29:01   14   Q.   And, of course, if William Lester had nothing to do with

04:29:04   15   the crime, then the fact that Jonathan talked to William

04:29:07   16   Lester that day, would be completely relevant, right?

04:29:10   17   A.   Say that again, please?

04:29:12   18   Q.   If Lester wasn't the murderer then Jonathan didn't do

04:29:17   19   anything wrong by talking to William Lester that day, right?

04:29:19   20   A.   I never did say that making a phone call was wrong.    You

04:29:23   21   said it, not me.

04:29:23   22   Q.   All right.    But you're trying to connect Taylor to your

04:29:26   23   suspect, Lester, right?

04:29:29   24   A.   Just by the -- these phone records?

04:29:32   25   Q.   Yeah.
                J. YORK - Direct Examination                                    130


04:29:33    1   A.   If that's what it shows, then, obviously, yes.

04:29:36    2   Q.   You had never heard of Jonathan Taylor?

04:29:41    3   A.   I don't remember exactly when I heard about him as far as

04:29:46    4   the date and time.

04:29:46    5   Q.   And you wanted some leverage on Jonathan to help you

04:29:51    6   point the finger at Lester, right?

04:29:54    7   A.   No, I think that -- no.

04:29:55    8   Q.   You were involved in the drug case that got put on

04:29:58    9   Jonathan, right?

04:29:59   10   A.   What drug case?

04:30:00   11   Q.   The case that got dismissed?

04:30:02   12   A.   On Jonathan?

04:30:04   13   Q.   Yes.

04:30:04   14   A.   No.    I don't ever remember being a part of a drug case

04:30:11   15   involving Jonathan.

04:30:11   16   Q.   Did you interrogate Jonathan in connection with that

04:30:14   17   investigation?

04:30:14   18   A.   No.

04:30:15   19   Q.   When did you interrogate Jonathan?

04:30:17   20   A.   Well, Jonathan never did give a statement, but -- can you

04:30:24   21   be specific about that drug case because I don't know what

04:30:27   22   you're talking about.

04:30:27   23   Q.   Let me ask you this way:    When did you interrogate

04:30:31   24   Jonathan Taylor?

04:30:32   25   A.   I never did interrogate Jonathan Taylor.    He never did
                J. YORK - Direct Examination                                    131


04:30:35    1   give me a statement.

04:30:36    2   Q.   All right.    So you are saying -- surely, you wanted to

04:30:38    3   talk to him, right?

04:30:39    4   A.   At one point, but I'm not -- I don't remember what day.

04:30:44    5   You are asking everything so fast.      I'm trying to keep it

04:30:47    6   clear.

04:30:47    7   Q.   I slow down.    I do tend to keep it moving fast.     I agree

04:30:52    8   with you there.     I'm going to slow it down.

04:30:54    9        At some point you decided you had a real reason to talk

04:30:57   10   to Jonathan Taylor, right?

04:30:58   11   A.   At one point in the investigation, yes, yes.

04:31:01   12   Q.   And you were hoping that Jonathan Taylor could give you

04:31:06   13   information that would help you get William Lester for this

04:31:09   14   crime?     That was your hope, right?

04:31:12   15   A.   I think that's inaccurate.    You know, was I hoping that I

04:31:17   16   would get information to solve a murder?     Absolutely.    I can't

04:31:22   17   speculate that I was hoping or nothing like that.

04:31:28   18   Q.   Okay.    And you do admit that, in this capital murder

04:31:33   19   case, you did speak to Jonathan Taylor about the crime?       Can

04:31:36   20   we agree on that?

04:31:37   21   A.   You -- and I hate to be -- he never did give a statement.

04:31:45   22   Did I say words to Jonathan?    Yes.    He never gave a statement.

04:31:49   23   Q.   Now, you are saying that because there's no report.

04:31:52   24   That's why you are saying that, right?

04:31:54   25   A.   No.    I'm saying that because he never gave a statement.
                J. YORK - Direct Examination                                  132


04:31:56    1   Q.   How do you know?

04:31:57    2   A.   Because if he would have gave a statement, you know,

04:32:02    3   being charged with murder, I would absolutely write that down.

04:32:05    4   Q.   So why didn't you try to talk to Jonathan Taylor, Hey, do

04:32:09    5   you know anything about William Lester?     I'll help you get out

04:32:13    6   of your case if you give me something on Lester?

04:32:16    7        You did do that, right?

04:32:16    8   A.   Yes, and he never did give me a statement.

04:32:18    9   Q.   All right.   And there is no report?   Whatever was said or

04:32:22   10   wasn't said that -- there is no document about it, right?

04:32:25   11   A.   I would agree with that, yes.

04:32:28   12   Q.   All right.   So when you say he didn't give a statement,

04:32:31   13   you are not saying you have checked the document and he didn't

04:32:33   14   give a statement.     You are saying I don't remember what

04:32:35   15   happened.    That's really what you are saying, right?

04:32:38   16   A.   No.    He's trying to put words in my mouth.

04:32:41   17        He never did sit down and want to give me a statement.

04:32:45   18   Q.   Where were you?

04:32:46   19   A.   When?

04:32:49   20   Q.   When he refused to talk to you?

04:32:50   21   A.   I think one time I remember -- and I don't know the exact

04:32:56   22   date.   I think he was charged with Warren's house --

04:33:00   23   Q.   The drug case?

04:33:02   24   A.   Excuse me?

04:33:02   25   Q.   The drug case?
                J. YORK - Direct Examination                                         133


04:33:04    1   A.     Again, are you trying to insinuate that I was part of

04:33:07    2   that drug case?

04:33:08    3                 THE COURT:   Just say what you know.

04:33:11    4                 THE WITNESS:   All right.   Yes.   I don't know what

04:33:13    5   it's for, but he was charged with a warrant, and I tried to

04:33:16    6   talk to him that day.        And then I think the day -- he had an

04:33:21    7   opportunity to talk the day he was -- he was already in jail,

04:33:26    8   and I think I served a warrant on him.

04:33:29    9   BY MR. LOEVY:

04:33:29   10   Q.     So you tried a couple times to talk to him, right?

04:33:32   11   A.     Yes.

04:33:33   12   Q.     Wouldn't it be relevant to your investigation if, boy, I

04:33:36   13   tried to talk to Jonathan Taylor and I said, Hey, know

04:33:39   14   anything about this murder, and he said, I'm not talking to

04:33:42   15   you?    That would have been very relevant, wouldn't it have?

04:33:44   16   A.     There's -- I did not feel like by him saying he would

04:33:49   17   refuse to talk to me that was relevant to the case.

04:33:52   18   Q.     Well, who else in the case -- you tried to talk to him

04:33:58   19   twice, and what exactly did he say?        He said --

04:34:04   20   A.     I don't remember the exact words, but he did not give me

04:34:07   21   a statement.

04:34:08   22   Q.     All right.    Is it possible 12 years ago what actually

04:34:11   23   happened was you said, Jonathan, I need to ask you about this

04:34:15   24   murder, William Lester, you know anything about it, and he

04:34:18   25   said, No, I don't know what you are talking about.         Is that
                J. YORK - Direct Examination                                     134


04:34:20    1   what happened?

04:34:20    2   A.   I don't remember the exact words.

04:34:22    3   Q.   But that might have been what happened, right?

04:34:24    4   A.   I'm not --

04:34:25    5   Q.   He didn't give you anything helpful.    You said, Hey,

04:34:28    6   Jonathan, do you anything about this murder?    He said, I don't

04:34:30    7   know what you are talking about; I can't help you.    That might

04:34:33    8   have been what happened, right?

04:34:33    9   A.   My answer is I don't remember the exact words.    I don't

04:34:37   10   know how else to say that to you.

04:34:39   11   Q.   Well, then I think we are agreeing that you can't rule

04:34:44   12   out that he said, I don't want to say a word to you about that

04:34:44   13   murder, or he said, Sir, I don't know anything about that

04:34:48   14   murder; I'm innocent; I can't help you.     He might have done

04:34:50   15   one of those two things; you can't remember which he did?

04:34:53   16   A.   I feel like we are going around in circles, but I would

04:34:57   17   agree that I can't remember exactly.

04:34:59   18   Q.   And, in fact -- I'm sorry.   If he had given a statement

04:35:02   19   to you say, I can't help you about William Lester because I

04:35:06   20   don't know anything about it, that could have been helpful to

04:35:09   21   William Lester if he tried to change his story later, right?

04:35:13   22   A.   Say that again.

04:35:14   23   Q.   Isn't it important to lock in witnesses even if they say

04:35:18   24   they don't remember or they are not involved so they can't

04:35:20   25   change it later?
                J. YORK - Direct Examination                                   135


04:35:21    1   A.   This is what you are -- is this a different question?

04:35:24    2   Q.   Yes, it is.

04:35:25    3   A.   Okay.    So -- I asked you to repeat the question before.

04:35:29    4   Q.   You did.   I don't remember the question before.    So I'm

04:35:31    5   going to have to do my best.       Try again.

04:35:34    6   A.   Okay.

04:35:35    7   Q.   Isn't it true that, if William Lester is going to become

04:35:39    8   your suspect and Jonathan's story to you is, I don't know

04:35:43    9   anything about this crime, then it's critical that you write

04:35:47   10   down that Jonathan doesn't know anything about this crime so

04:35:50   11   that later he can't change his story?

04:35:54   12   A.   No.   I don't -- I don't see the relevance in that if he

04:35:59   13   says he don't know anything about it.

04:36:07   14   Q.   If there was a police report of Jonathan's interrogation

04:36:11   15   and it got destroyed, that would be a criminal act, correct?

04:36:18   16   A.   If there was a report and it got destroyed, your -- how

04:36:26   17   did it get destroyed?

04:36:27   18   Q.   I'm saying, if someone intentionally destroyed a police

04:36:30   19   report, that's a felony right?

04:36:32   20   A.   I don't know that.     I mean, I don't know the KRS behind

04:36:38   21   that.

04:36:38   22   Q.   Police reports are evidence, correct?

04:36:40   23              MR. MILLER:   Object.

04:36:41   24              MR. LOEVY:    His subjective understanding is relevant,

04:36:44   25   Your Honor.
                J. YORK - Direct Examination                                       136


04:36:44    1               THE COURT:    What's the objection?   Let's talk.

04:36:51    2        (Sidebar conference.)

04:36:51    3               THE COURT:    Okay.   What's the objection?

04:36:54    4               MR. MILLER:    Your Honor, it's mischaracterization.     I

04:36:58    5   know that Detective York can clean it up in the answer, but

04:37:01    6   it's becoming so repetitive that he's mischaracterizing

04:37:05    7   statements as evidence when reports are not evidence.       I'm

04:37:10    8   just -- answer -- ask the question the right way and be

04:37:14    9   simple.

04:37:14   10               THE COURT:    It depends on the proceeding whether

04:37:16   11   reports are evidence.      I mean, he's asking whether they are

04:37:19   12   evidence.    This guy is a KSP detective, he can handle that

04:37:23   13   question.    I think it's a legitimate question.     So overruled.

04:37:27   14               MR. MILLER:    Thank you, Your Honor.

04:37:32   15               MR. LOEVY:    All right.   Can we have the last question

04:37:35   16   read back so we don't get it wrong?

04:37:43   17               THE COURT:    Police reports are evidence, correct?

04:37:50   18               THE WITNESS:   I am not saying they are not.   That's

04:37:52   19   not the terminology, I understand, as far as the supplement.

04:37:55   20        What I consider evidence is, you know, fingerprints.

04:37:57   21   BY MR. LOEVY:

04:37:58   22   Q.   All right.    So you thought you could maybe throw away a

04:38:00   23   police report?

04:38:01   24   A.   I did not say that.

04:38:04   25   Q.   All right.    Did you, in talking to Jonathan, try to
                J. YORK - Direct Examination                                      137


04:38:06    1   pressure him into giving you information about William Lester?

04:38:11    2   A.   Again, I have answered this.

04:38:16    3        Jonathan Taylor never gave me a statement.       I don't know

04:38:18    4   how else you want me to answer that.

04:38:21    5               THE COURT:    Hang on.   It's a different question.

04:38:23    6   He's asking if you pressured him.

04:38:26    7               THE WITNESS:    No, I did not pressure him.   There was

04:38:29    8   never no interview, no interrogation to pressure him.

04:38:32    9   BY MR. LOEVY:

04:38:33   10   Q.   Well, when you said, Hey, I want to talk to you, you had

04:38:34   11   to tell him what you want to talk to him about, right?

04:38:37   12   A.   Yes.

04:38:37   13   Q.   And he was present with you, right?

04:38:39   14   A.   Yes.

04:38:40   15   Q.   Did you start telling him, Hey, man, if you don't

04:38:42   16   cooperate, I got the goods on you; you are going to go down

04:38:46   17   with William Lester?       Did you say anything like that to him?

04:38:49   18   A.   I don't remember saying anything like that.

04:38:52   19   Q.   All right.    You believed he had spoken to William Lester

04:38:54   20   on the day that your suspect, William Lester, may have

04:38:58   21   committed the murder, right?

04:39:00   22   A.   I don't know.       What's the date on this?

04:39:04   23   Q.   On which?    The search warrant?

04:39:09   24   A.   Yeah, the time I got -- because I'm getting confused on

04:39:12   25   the dates.
                J. YORK - Direct Examination                                   138


04:39:12    1        So this is an affidavit for the phone records.   Does it

04:39:16    2   say when I actually got them?

04:39:18    3   Q.   The affidavit is dated 2-4.   Of course, we don't have any

04:39:21    4   record of when you talked to Jonathan.   We have established

04:39:24    5   that.

04:39:25    6        I'm now just asking about the content of the

04:39:27    7   conversation.

04:39:30    8   A.   I was under the understanding that you were trying to

04:39:31    9   refer to in February.

04:39:36   10   Q.   All we know --

04:39:37   11   A.   That's what you are trying to do.

04:39:39   12   Q.   -- you sought the phone records in February and it's lost

04:39:41   13   to time when you talked to Jonathan because there's no report,

           14   correct?

04:39:45   15   A.   That's true.

04:39:46   16   Q.   All right.   When you talked to Jonathan and he said he

04:39:49   17   wasn't inclined to talk to you, did you pressure him that, if

04:39:52   18   he doesn't start talking, he's going to jail?

04:39:54   19   A.   No.   There was never -- no interrogation.   He never did

04:40:02   20   give a statement.

04:40:03   21   Q.   Of course, you did that to plenty of other witnesses,

           22   right?

04:40:06   23   A.   Can you be more specific?

04:40:07   24   Q.   You told Allen Helton, if he doesn't cooperate, he's

04:40:09   25   going to prison; you told Jesse Lawson, if he doesn't
                J. YORK - Direct Examination                                    139


04:40:11    1   cooperate, he's going to prison.

04:40:13    2        Did you say that to Jonathan Taylor?

04:40:14    3   A.   No.    And I hope you see the key difference here.    I

04:40:18    4   actually interviewed Allen Helton and Jesse Lawson.       Again, I

04:40:26    5   did not interview Jonathan Taylor.

04:40:35    6   Q.   When you do interview people, you use tactics sometimes,

            7   right?

04:40:40    8   A.   Yes.

04:40:41    9   Q.   Sometimes you yell at people?

04:40:42   10   A.   Yes.

04:40:44   11   Q.   During the interrogation of witnesses, sometimes you say,

04:40:47   12   Hey, you know -- you are trying to intimidate them, right?

04:40:51   13   A.   Can you say that again?

04:40:52   14   Q.   Sometimes you raise your voice and try to scare people as

04:40:56   15   a tactic?

04:40:56   16   A.   Again, I asked you what you said before, and you said

04:41:01   17   something totally different, I believe.

04:41:03   18   Q.   Sorry.   I'm trying to say sometimes don't you yell at

04:41:06   19   witnesses to try to intimidate them to say what you want them

04:41:10   20   to say?

04:41:10   21   A.   Sometimes I yell at witnesses to try to get the truth out

04:41:16   22   of them.

04:41:17   23   Q.   All right.    Did you do that to Jonathan?

04:41:20   24   A.   Again, I did not take a statement from Jonathan Taylor.

04:41:25   25   Q.   No.    I'm saying, when you said to Jonathan, I need you to
                J. YORK - Direct Examination                                  140


04:41:28    1   talk to me, he said, I don't want to talk to you, did you then

04:41:33    2   try other tactics?

04:41:35    3              MR. MILLER:    Asked and answered.

04:41:37    4              THE COURT:    Overruled.   Answer that question.

04:41:39    5              THE WITNESS:   What was the question again?

04:41:40    6   BY MR. LOEVY:

04:41:41    7   Q.   When you tried to get him to talk and you are saying he

04:41:43    8   wouldn't talk, did you resort to other tactics to try to get

04:41:47    9   him to talk?

04:41:48   10   A.   No, and let me clarify.

04:41:51   11        When I'm using tactics, that's because somebody is -- I'm

04:41:54   12   actually interviewing somebody.

04:41:57   13   Q.   All right.   When you were done interviewing Jonathan, did

04:41:59   14   you have probable cause to arrest him for murder?

           15   A.   (No verbal answer.)

           16        (Reporter clarification.)

04:42:05   17              THE COURT:    What was your answer?

04:42:07   18              THE WITNESS:   I didn't interview him and -- at which

04:42:11   19   one are you talking about as far as probable cause?

04:42:14   20   BY MR. LOEVY:

04:42:14   21   Q.   At any time when you were finished trying to get or

04:42:18   22   having interactions with Mr. Taylor, did he say anything that

04:42:23   23   was incriminating?

04:42:24   24   A.   No.

04:42:26   25   Q.   Okay.   Let's talk about Amanda.
                J. YORK - Direct Examination                                  141


04:42:28    1        Now, you had Lester who was your suspect, right?

04:42:31    2   A.   He was one of them, yes.

04:42:34    3   Q.   And you figured Jonathan could put pressure on Lester if

04:42:38    4   he'd talk, right?

04:42:39    5   A.   Again, if Jonathan would have said a statement and it,

04:42:47    6   you know, could be used, you know, in conjunction with this

04:42:49    7   murder.

04:42:49    8   Q.   Yes.

04:42:49    9   A.   Yes, but the way you are saying that, I'm not going to go

04:42:53   10   along with it.

04:42:54   11   Q.   What's objectionable about that?

04:42:56   12        You are trying to get Lester, and you thought Jonathan --

04:42:59   13               THE COURT:    That's argumentative.

04:43:02   14   BY MR. LOEVY:

04:43:03   15   Q.   All right.    And then another person who might be able to

04:43:04   16   put pressure on Lester was Amanda, right?

04:43:07   17   A.   We suspected that Amanda possibly had information, and I

04:43:13   18   believe at the time -- you know, I think at that time it was

04:43:15   19   already developed that Mr. Roark had told us about Lester

04:43:23   20   going around talking about Katherine having money and joking

04:43:28   21   about robbing her.       And so, yes.

04:43:33   22   Q.   All right.    Your objective walking into that room was to

04:43:35   23   get Amanda to confirm that, correct?

04:43:41   24   A.   That would be a fair and accurate statement.

04:43:43   25   Q.   All right.    And you were able to accomplish that, right?
                J. YORK - Direct Examination                                   142


04:43:46    1   A.   Yes.   She stated that --

04:43:49    2   Q.   That was a yes-no question.

04:43:51    3   A.   Yes.

04:43:51    4   Q.   You were able to accomplish that.

04:43:53    5        And there was a lot of conversation you had before the

04:43:56    6   tape recorder got on, right?

04:43:58    7   A.   I'm not going to say a lot.   But, yes, there was a time

04:44:02    8   before we recorded it, yes.

04:44:04    9   Q.   And this thing that you were able to confirm for

04:44:07   10   Mr. Roark, is that in another police report, that -- this

04:44:11   11   outhouse comment?

04:44:11   12   A.   And I'm going to answer that, and I think I understand

04:44:14   13   your question.    William Lester told us that he told Wesley

04:44:20   14   Roark.

04:44:21   15   Q.   But is that in any police report?

04:44:23   16   A.   I don't know if that's a supplement, but that's in a

04:44:25   17   recording of Will Lester with his attorney.

04:44:28   18   Q.   I'm saying you confronted Will Lester with it, but why is

04:44:31   19   there no report about this rumor that you heard that Lester

04:44:35   20   said it from Roark?   Why is there no report about that?

04:44:39   21   A.   If there's not -- I thought there was, but if there's

04:44:45   22   not, then obviously there should have been, but, again, with

04:44:50   23   Wesley Roark, I didn't talk to him, and again Amanda stated it

04:44:55   24   and Will did.    There was never an issue whether or not William

04:44:59   25   Lester said it.
                J. YORK - Direct Examination                                    143


04:45:00    1   Q.   Did you put pressure on Amanda to try to get her

04:45:03    2   statement?

04:45:04    3   A.   No.

04:45:04    4   Q.   You heard her testify about the gun case, right?

04:45:06    5   A.   The gun case?

04:45:07    6   Q.   You were in court when Amanda testified that you arrested

04:45:11    7   her for a gun that she says she never touched, saw, or knew

04:45:16    8   anything about.    You were in court when she described that,

04:45:19    9   right?

04:45:20   10   A.   I was in court, but I was not the case officer on that

04:45:22   11   case.

04:45:22   12   Q.   All right.   Did you show up at her door while she was

04:45:25   13   holding her four-year-old Lexi, put a gun on her forehead and

04:45:29   14   move her head backwards to arrest her for that crime?

04:45:33   15   A.   That is absolutely not true.

04:45:35   16   Q.   Did you arrest her at all?

04:45:35   17   A.   Yes.    There was times I arrested her.

04:45:38   18   Q.   On this gun case and the probation that followed,

           19   correct?

04:45:43   20   A.   I don't remember the warrant.

04:45:44   21   Q.   Well, I thought you said you weren't involved in the

04:45:47   22   criminal stuff against Amanda.    You were or you weren't?

04:45:50   23   A.   What I said was I don't remember.   You know, she was

04:45:54   24   arrested.    I don't remember what the warrant was for.

04:45:57   25   Q.   Did you ever tell Amanda that, you know, Hey, I got you
                J. YORK - Direct Examination                                    144


04:46:01    1   in this, I got witnesses who say you are going -- that you did

04:46:04    2   it.   You better give me Will Lester, or you are going down for

04:46:09    3   it?

04:46:09    4   A.    I think when -- you are referring to her statement, sir?

04:46:13    5   Q.    Well, I'm saying did you ever, ever, say to Amanda, I got

04:46:19    6   witnesses who said you did it.    If you don't tell me what I

04:46:22    7   want to hear against William Lester, you are going down for

04:46:25    8   this murder?   It's really a yes-no question.   Did you ever say

04:46:28    9   words to this effective to her?

04:46:29   10   A.    I could have said that, but, again, if you want to give a

04:46:36   11   specific day -- the reason I ask that, because at one point,

04:46:40   12   you know, when I first -- when Amanda gave her statement, she

04:46:46   13   gave a statement against William Lester, but at one point we

04:46:49   14   got statements against Amanda.

04:46:54   15   Q.    And those statements against Amanda came after she was

04:46:59   16   unwilling to say that William Lester -- she had any real

04:47:01   17   knowledge about William Lester being involved in the crime,

           18   right?

04:47:04   19   A.    No.

04:47:04   20   Q.    Who -- before Amanda told you she didn't have any

04:47:08   21   knowledge of the crime, who told you that Amanda had something

04:47:11   22   to do with this?

04:47:11   23   A.    Say that again now.

04:47:15   24   Q.    All right.   It is confusing; so we'll take it slow.

04:47:17   25         Amanda told you, I can't help you with William Lester.
                J. YORK - Direct Examination                                     145


04:47:21    1   That's the first thing that happened, right?

04:47:22    2   A.   No.

04:47:23    3   Q.   Who told you -- who put -- who put pressure on Amanda?

04:47:28    4   A.   She told us that -- just confirmed what Will told us,

04:47:32    5   that he, in fact, did say that.

04:47:34    6   Q.   Right.   So you put her in a room.   She was a young woman.

04:47:37    7   And she was scared, right?

04:47:38    8   A.   I can't speculate how she feels.

04:47:40    9   Q.   And you confronted her with, Hey, I got Mr. York --

04:47:46   10   Mr. Roark -- excuse me -- saying he heard this comment about

04:47:48   11   the outhouse, and you better -- you better tell me that's what

04:47:52   12   happened, or you are in real trouble.     That's what you said

04:47:54   13   off the tape, right?

04:47:56   14   A.   That is not what I would have said because at the time

04:47:59   15   that's not -- that is nowhere near that.

04:48:01   16   Q.   Can be we clear that Amanda said she knew nothing about

04:48:06   17   the murder?

04:48:06   18   A.   No.    She gave a statement saying that she heard Will talk

04:48:10   19   about, you know, robbing her.

04:48:13   20   Q.   She confirmed for you what you were asking her about?

04:48:15   21   She confirmed Roark's story that she had overheard Lester say

04:48:20   22   something about an outhouse, right?

04:48:22   23   A.   Yes.   She confirmed that that's what Will Lester said.

04:48:27   24   Q.   All right.   And before she confirmed it, did you ask her

04:48:30   25   if it was true, or she volunteered it to you?
                J. YORK - Direct Examination                                   146


04:48:33    1   A.   I don't remember.

04:48:34    2   Q.   Well, you went in there with this Will [sic] Roark

04:48:37    3   information, right?

04:48:38    4   A.   Yes.

04:48:41    5   Q.   And she was scared, right?

04:48:45    6   A.   Again, I can't speculate on how she felt.

04:48:48    7   Q.   All right.   And isn't it true, sir, what you said to her

04:48:51    8   is, You are in real trouble unless you remember this --

04:48:53    9   this -- you know, did this happen with Lester?   Did he make

04:48:56   10   this comment to Roark?

04:48:58   11        Did you say something like that?

04:48:59   12   A.   At that time, no.

04:49:01   13   Q.   Okay.    Who brought it up first?

04:49:03   14        Were you trying to get her to confirm the Roark comment,

04:49:05   15   or did Amanda say, I would like to tell you something.    I

04:49:08   16   overheard this comment and matched Roark?   Who brought it up

04:49:12   17   you or her?

04:49:13   18   A.   I don't remember, but at that point in the investigation,

04:49:15   19   I would not have said, If you don't say that, then this is

04:49:19   20   going to happen, at that point, no.

04:49:22   21        Let me -- because that was poor choice of words on my

04:49:25   22   part.

04:49:26   23        I would have never said -- what I want to say -- I would

04:49:29   24   have said, If you have knowledge or the truth about something

04:49:33   25   and you lie about it and you're connected with a -- a criminal
                J. YORK - Direct Examination                                   147


04:49:40    1   act, then you could have been charged.   That should have been

04:49:43    2   a better way of saying it.

04:49:44    3   Q.   All right.   How about with -- before we -- did you do the

04:49:49    4   same thing to Kayla?

04:49:50    5   A.   Can you be more specific then?

04:49:53    6   Q.   That's fair.

04:49:54    7        Did you say to Kayla, Hey, listen, if you don't remember

04:49:56    8   that Will Lester did this crime, then you are going to go down

04:49:59    9   for murder?

04:50:00   10   A.   No.

04:50:03   11   Q.   And --

04:50:07   12   A.   I have answered the question.

04:50:10   13   Q.   Kayla is the young girl who's mother was in court today,

           14   right?

04:50:14   15   A.   Yes.

04:50:14   16   Q.   You accused her of murder, right?

04:50:16   17   A.   Yes.

04:50:17   18   Q.   And you told her, Kayla, if you don't tell me Will Lester

04:50:22   19   and Amanda did it, then you are going away, right?

04:50:25   20   A.   I think it's important at this point to let you know

04:50:29   21   what -- what Kayla said.

04:50:32   22        Kayla did not implicate Amanda or Will.   The only person

04:50:38   23   she implicated at that statement that he's talking about is

04:50:42   24   Jonathan.

04:50:42   25   Q.   All right.   But did you say to her, You are going away
                J. YORK - Direct Examination                                  148


04:50:45    1   for life unless you point the finger at your old boyfriend,

04:50:50    2   Jonathan?

04:50:50    3   A.   That's not true.    You just said earlier that I said that

04:50:59    4   against William, and that is not accurate.

04:51:02    5   Q.   Let me ask it -- back to Amanda -- and I'm sorry to jump

04:51:06    6   around.    So I'll give you a second to orient yourself.

04:51:09    7        Back to Amanda.    If Amanda really did the crime -- okay?

04:51:12    8   She was involved with Will Lester.     I want you to put on your

04:51:16    9   investigator hat.

04:51:17   10        If she knew that Lester did it with her, when you said to

04:51:21   11   her, Hey, did Will Lester say she was going to commit this

04:51:25   12   crime, then why would someone say to you, Yeah, you know, he

04:51:27   13   once told me, he made a joke, he made a comment he was going

04:51:30   14   to tie her up -- if she was involved, why would she tell the

04:51:34   15   police that?

04:51:34   16   A.   Say that first person again.

04:51:37   17   Q.   Sure.    Why would someone who really had something to

04:51:39   18   hide --

04:51:39   19   A.   Before that.

04:51:41   20   Q.   You were trying to get her to say she had heard Lester

04:51:44   21   say something suspicious and guilty, right?

04:51:46   22   A.   No.     I was just trying to find out what she knew.

04:51:49   23   Q.   And you wanted her to confirm the Roark statement that

04:51:53   24   Lester had said he had -- he was going to try up the victim

04:51:56   25   and steal her money, right?
                J. YORK - Direct Examination                                  149


04:51:58    1   A.   Yes.   That would have been one of the questions.

04:52:00    2   Q.   So did you say to yourself, as an investigator, Boy, if

04:52:04    3   Amanda really was guilty, why would she confirm that the guy

04:52:07    4   she did it with was going to go do this?

04:52:11    5   A.   I can give you, as an investigator --

04:52:16    6   Q.   That's what I'm asking.

04:52:18    7   A.   It could --

04:52:19    8   Q.   I'm saying that's what I was asking.

04:52:21    9   A.   Sorry to interrupt you.

04:52:22   10        So an investigator, if I understand the question, he's

04:52:26   11   asking, if Amanda was involved, why would she give that

04:52:32   12   statement against Will Lester.   Am I understanding that

04:52:36   13   correct?

04:52:37   14   Q.   Right.

04:52:37   15   A.   That's very easy.

04:52:40   16        She didn't want to get caught herself and tell on

04:52:43   17   somebody else.

04:52:43   18   Q.   But if she knew she and Lester did the crime together,

04:52:47   19   then getting you after Lester is the dumbest thing a human

04:52:52   20   being could do, right?

04:52:54   21   A.   What's the question on that?

04:52:56   22   Q.   If she knew that her and Lester committed this crime, why

04:53:00   23   would she be telling the police to go catch Lester if that's

04:53:05   24   going to take her down?

04:53:06   25   A.   I'll say the same thing again.   As an investigator, you
                J. YORK - Direct Examination                                   150


04:53:13    1   know -- I apologize for this.    If -- one reason that I can

04:53:18    2   think of is just what I said before, is if Amanda was involved

04:53:26    3   in -- with it with him, what would motivate somebody who was

04:53:30    4   involved with somebody in a murder to tell the other person.

04:53:35    5   Hey -- if she cooperated and gave a statement against him,

04:53:42    6   then -- and he was eventually charged for it and her statement

04:53:47    7   stood against him, she could -- he could turn around, you

04:53:50    8   know, and potentially say, Hey, she was involved with me, and

04:53:53    9   then she could turn around and say, No, I didn't; he's just

04:53:56   10   mad because I told on him.

04:53:58   11        Am I making myself clear?   Yeah.

04:54:01   12   Q.   You are not allowed to do that.

04:54:03   13             THE COURT:   You don't get to ask the jury questions.

04:54:05   14   BY MR. LOEVY:

04:54:06   15   Q.   All right.   I want to shift you to Kayla.   You heard

04:54:10   16   Ms. Mills testify in court today, correct?

04:54:12   17   A.   Do what now?

04:54:16   18   Q.   You heard Ms. Mills, Kayla's mom, testify?

04:54:17   19   A.   Yes, sir.

04:54:18   20   Q.   She said, look, Kayla has got an alibi; she was with her

04:54:19   21   boyfriend.   And you didn't want to hear that.    Did that

04:54:23   22   happen?

04:54:26   23   A.   Did I not want to hear what now from Kayla's mom?

04:54:29   24   Q.   Kayla's mom described you bothering Kayla, saying, If you

04:54:31   25   don't point your finger at these two with Lester, you are
                J. YORK - Direct Examination                                  151


04:54:35    1   going down for murder.    Did that happen?

04:54:37    2   A.   No.   And again I'll -- Kayla did not give a statement

04:54:43    3   saying that Amanda and Will Lester had anything to do with it.

04:54:48    4   Q.   No, but that doesn't mean you weren't pressuring her to

04:54:51    5   say that, right?

04:54:52    6   A.   No.   I was wanting her to tell me what she knew and the

04:54:56    7   truth.

04:54:57    8   Q.   All right.    Her mother says they gave you her alibi, this

04:55:00    9   guy Derrick Waters, and you didn't write that down.     Did that

04:55:06   10   happen?

04:55:06   11   A.   No, because one thing about this morning is that, her

04:55:13   12   attorney was present, and, like I said, her attorney reached

04:55:16   13   out to me and --

04:55:17   14   Q.   Just the Waters thing.    Did that happen?

04:55:20   15   A.   I don't remember it happening.    I just remember what, you

04:55:22   16   know, was relevant to what the attorney was telling me.

04:55:26   17   Q.   All right.    Before you ever met the attorney, if the

04:55:28   18   mother would have given you her alibi witness, would you have

04:55:31   19   checked it out?

04:55:31   20   A.   Once that Kayla became a person of interest, yes.

04:55:40   21   Q.   All right.    How about she said she told you, Get the

04:55:43   22   video from the Walmart; you'll see my daughter was in Walmart,

04:55:46   23   did that happen?

04:55:47   24   A.   I don't remember that.

04:55:47   25   Q.   All right.    Did you do that?   Did you try to check out if
                J. YORK - Direct Examination                                   152


04:55:51    1   Kayla had an alibi?

04:55:52    2   A.   I don't remember nothing about no Walmart video.

04:55:55    3   Q.   You believe 18- or 19-year-old Kayla was involved in this

04:55:58    4   crime?

04:55:58    5   A.   I had at one point suspicion and reason to believe that.

04:56:06    6   Q.   You sure you weren't using it to try to point the finger

04:56:10    7   at somebody else?

04:56:12    8   A.   No.

04:56:13    9   Q.   All right.   Did you play Amber's statement for Kayla

04:56:16   10   where Amber says, Oh, I know who did it.   Lester did it;

04:56:20   11   Amanda did it; Taylor did it; Kayla did it?      Did you play that

04:56:24   12   for Kayla?

04:56:25   13   A.   There was several, and I don't remember which ones I

04:56:28   14   played.

04:56:29   15   Q.   All right.   So that wouldn't have been proper at all,

04:56:31   16   would it have?

04:56:33   17   A.   I think it is.

04:56:36   18   Q.   Kayla is a witness.   She's feeling heat.    You played her

04:56:40   19   another witness claiming that these people did the crime, and

04:56:43   20   you think that's okay?

04:56:45   21   A.   I played a statement that said that she was involved.

04:56:49   22   Q.   All right.   But Amber accused her, him, Lester, Kayla.

04:56:54   23   She accused everybody, right?

04:56:56   24   A.   I'm not saying everybody.   I can't remember exactly, but

04:57:00   25   Kayla was one of them.
                J. YORK - Direct Examination                                       153


04:57:02    1   Q.   So when you played the statement for Kayla saying, Hey,

04:57:05    2   this person, Amber, she's saying all four of you did it, then

04:57:09    3   you were telling Kayla what you wanted to hear?        You wanted to

04:57:13    4   hear the other people, weren't you?

04:57:15    5   A.   I'll go back to Kayla's statement.       Kayla never did give

04:57:21    6   me a statement on Will Lester or Amanda Hoskins even after she

04:57:30    7   heard that.    That was one reason that I believe she was

04:57:32    8   telling me the truth, because this notion that I was

04:57:35    9   pressuring her into getting her to say what I wanted her to

04:57:41   10   say is, to me, just absolutely insane because she never did at

04:57:48   11   this say anything about those two.        Whatever I put -- they

04:57:53   12   told me is what I put down.

04:57:55   13   Q.   All right.    You did put a murder warrant in front of

04:57:58   14   Kayla, correct?

04:57:59   15   A.   That is correct.

04:58:03   16               MR. LOEVY:    Can we show PL1?

04:58:06   17               MR. SLOSAR:    PL1 and 109.

04:58:11   18               THE COURT:    We are pretty close to the end today,

04:58:15   19   Mr. Loevy.

04:58:15   20               MR. LOEVY:    Yes, I will definitely be done in five

04:58:18   21   minutes.

04:58:19   22   BY MR. LOEVY:

04:58:19   23   Q.   Can you identify this document?

04:58:21   24   A.   Yes.    You want me to go into detail?

04:58:25   25               MR. LOEVY:    May we publish it, Your Honor?
                J. YORK - Direct Examination                                        154


04:58:26    1              THE COURT:    That's part of Exhibit 1?

04:58:28    2              MR. SLOSAR:    Yes, Your Honor.

04:58:29    3              MR. LOEVY:    Yes.

04:58:30    4              THE COURT:    Yes.   That's in the record.   It can be

04:58:32    5   published.

04:58:33    6   BY MR. LOEVY:

04:58:34    7   Q.   Showing you the next page, this is the murder warrant you

04:58:38    8   got for Kayla Mills, correct?

04:58:41    9   A.   Yes, sir.

04:58:42   10   Q.   And you set a million-dollar bond for murder and robbery

04:58:47   11   first degree?

04:58:48   12   A.   That's what it says.

04:58:49   13   Q.   And you showed up at Kayla's house, and you said, I have

04:58:52   14   a warrant for your arrest for murder, right?

04:58:58   15   A.   Yes, but I did not -- which time are you talking about?

04:59:02   16   Q.   How about the time you showed up at her house with the

04:59:06   17   murder warrant?

04:59:06   18   A.   Yes, but Kayla wasn't there.

04:59:08   19   Q.   Excuse me?

04:59:09   20        So now you remember that you didn't show her the murder

04:59:12   21   warrant?

04:59:12   22   A.   No, I just -- at the interview, she was -- she saw the

04:59:18   23   warrant.   What I'm saying is I never physically remember

04:59:22   24   seeing Kayla until at that -- when we met.

04:59:28   25   Q.   Just a couple minutes left, but I'm trying to establish
                J. YORK - Direct Examination                                    155


04:59:31    1   you did tell Kayla, I got a million-dollar bond; you are going

04:59:34    2   to prison for murder unless you start cooperating, right?

04:59:40    3   A.   What I said was, I want to know the truth.     If you --

04:59:46    4   because I had information that would implicate Kayla.     And I

04:59:54    5   think it's important to say that I believed her.      I believed

04:59:59    6   Kayla when I left there that -- because, number one, she

05:00:05    7   didn't implicate the two we are talking -- the two that's

05:00:08    8   sitting here.     She implicated -- correction.   She didn't

05:00:11    9   implicate Amanda or Will Lester.    And I believed her that she

05:00:16   10   was -- what she said, without getting into it.

05:00:20   11        And it is also important to say, at any time after that,

05:00:27   12   she could have been charged at any time if it -- if the

05:00:33   13   Commonwealth attorney deemed or believed so that she should

05:00:37   14   have been.

05:00:38   15   Q.   Just a few more questions.

05:00:39   16        Of course, the Commonwealth attorney claims that you

05:00:41   17   never told him that you had sought this arrest warrant; is

           18   that true?

05:00:47   19   A.   All I can say is that that warrant is obviously in front

05:00:53   20   of us and that was in the case file.

05:00:55   21   Q.   All right.

05:00:56   22   A.   Now, whether or not Jackie Steele had it or not, I can't

05:01:01   23   speculate.

05:01:01   24   Q.   He says you didn't tell him.    Do you deny that?

05:01:05   25   A.   I'm not denying that he's telling you that.
                J. YORK - Direct Examination                                      156


05:01:08    1          What I'm saying is I did not intentionally keep nothing

05:01:11    2   from Jackie Steele, and I'm also telling you that at any time

05:01:14    3   Jackie Steele could have charged Kayla Mills because

05:01:18    4   everything -- her statements -- statements against her were in

05:01:22    5   the case file.

05:01:22    6   Q.     All right, sir.   You would agree with me that, if Kayla

05:01:26    7   really knew nothing about the murder -- and I want you to

05:01:29    8   assume that hypothetical.     Assume she told you many times,

05:01:32    9   Look, man I don't know who killed her, and then you put a

05:01:36   10   murder warrant in front of her and say, You are going to

05:01:39   11   prison, and then you play a tape of exactly what you want her

05:01:42   12   to say, that you create the risk of creating bad evidence.

05:01:46   13          Do you agree with me that creates the risk of bad

05:01:49   14   evidence?

05:01:50   15   A.     I don't agree with nothing that you said.

05:01:52   16          Again, I played the tape.   What she told me was nothing

05:01:57   17   what the recording was saying.

05:02:00   18          If I did not think that she was -- when -- I'm telling

05:02:05   19   you all I did not think after talking to her and her attorney

05:02:09   20   that she was guilty.     If I did, I would have charged her.

05:02:14   21   And, again, if Jackie Steele -- Jackie Steele, the

05:02:19   22   Commonwealth attorney, had in the case file everything that I

05:02:24   23   had.

05:02:25   24               MR. LOEVY:   I don't have any other questions, Your

05:02:27   25   Honor.    I mean, I have more questions but --
                                                                             157


05:02:29    1            THE COURT:   Very good.   All right.

            2       [End of excerpt of testimony of Jason York.]

            3                         REPORTER'S CERTIFICATE

            4            I certify that the foregoing is a correct transcript
                from the record of proceedings in the above-entitled matter.
            5

            6                                                   Date:   3/20/22
                    /s/ Kathleen Maloney, RMR, FCRR
            7           United States Court Reporter

            8

            9

           10

           11

           12

           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25
